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                                                                         Page 1
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 19-CV-22303-KMW

               Florida Carry, Inc., a Florida
               not-for-profit corporation, et al.

                                               Plaintiffs,

               vs.

               City of Miami Beach, et al.,

                                         Defendants.
               --------------------------------------/


                                   1700 Convention Center Drive
                                   Miami Beach, Florida 33139
                                   Wednesday, January 29, 2020
                                   9:18 a.m. - 2:14 p.m.




                                Video Deposition
                                of Michael Taylor


                      Taken before Sonnia Martinez, Notary
               Public in and for the State of Florida at
               Large, pursuant to Notice of Taking Deposition
               filed in the above cause.
                                 - - - - - - -




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                                                                         Page 2
          1    APPEARANCES:
          2     ON BEHALF OF THE PLAINTIFFS:
          3           Kingry & Friday
                      1919 Atlantic Boulevard
          4           Jacksonville, Florida 32207
                      By: Eric Friday, Esquire
          5
                ON BEHALF OF THE CITY OF MIAMI BEACH:
          6
                      City of Miami Beach,
          7           1700 Convention Center Drive
                      4th Floor
          8           Miami Beach, Florida 33139
                      By: Robert F. Rosenwald,
          9               Assistant City Attorney
        10      ON BEHALF OF THE OFFICERS:
        11            Switkes & Zappala, P.A.
                      407 Lincoln Road
        12            Penthouse SE
                      Miami Beach, Florida 33139
        13            By: Robert Switkes, Esquire
        14     Also present:
        15            Oliver Lee, Videographer
                      Video Court Reporting
        16                     - - - - - - -
        17                       I N D E X
        18     Witness:    Michael Taylor
        19                          Direct/Redirect Cross/ReCross
        20     By Mr. Switkes             4, 234
        21     By Mr. Rosenwald                              228, 239
        22
        23
        24
        25


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          1                      (The following was had.)
          2               THE VIDEOGRAPHER:       Okay.   In the case
          3         styled Florida Carry, Inc., versus City of
          4         Miami Beach, et al.
          5               Case Number 19-CV-22303-KMW.
          6               This is the videotaped deposition of
          7         Michael Taylor.
          8               This deposition is taking place at
          9         1700 Convention Center Drive, Miami Beach,
        10          Florida on January 29, 2020.
        11                The time is now 9:18 a.m.
        12                Our videographer is Oliver Lee.
        13                Counsel will state their appearances
        14          for the record, after which our court
        15          reporter, Sonnia Martinez, will then swear
        16          in the witness.
        17                MR. FRIDAY:     Eric Friday, counsel for
        18          the Plaintiffs.
        19                MR. SWITKES:     Bob Switkes on behalf
        20          of the officers.
        21                Rob.
        22                MR. ROSENBERG:      Rob Rosenwald on
        23          behalf of the City of Miami Beach, sorry.
        24                THE WITNESS:     Michael -- Michael
        25          Taylor.


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          1                THE COURT REPORTER:      Sir, raise your
          2         right hand, please.
          3                Do you swear the testimony you will
          4         give will be the truth, the whole truth
          5         and nothing but the truth, so help you
          6         God?
          7                THE WITNESS:    I do.
          8                THE COURT REPORTER:      Thank you.
          9                       DIRECT EXAMINATION
        10     BY MR. SWITKES:
        11          Q.     Sir, could you please state your full
        12     name.
        13          A.     Michael David Taylor.
        14          Q.     And have you ever been known by any
        15     other name?
        16          A.     Yes.    Soloyaker.
        17          Q.     Excuse me?
        18          A.     Solo, S-O-L-O-Y-A-K-E-R.
        19          Q.     And where does that name -- what does
        20     that name derive from?
        21          A.     YouTube.
        22          Q.     And when did you start using that
        23     name?
        24          A.     Probably about four years ago when I
        25     was a kayak fisherman.


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          1         Q.    Have you used any other names?
          2         A.    Other than Mike, simple, like
          3    Michael, Mike.
          4         Q.    Okay.    And what is your address, sir?
          5         A.    Currently it's 1558 Southeast Royal
          6    Green Circle, R203.
          7         Q.    And what the city is that?
          8         A.    Port St. Lucie, Florida.
          9         Q.    And with whom do you reside at that
        10     address?
        11          A.    My wife.
        12          Q.    And what is her name?
        13          A.    Eric?
        14                MR. FRIDAY:     Yeah.
        15                THE WITNESS:     Okay.    Shawna Taylor,
        16          and that's S-H-A-W-N-A.
        17     BY MR. SWITKES:
        18          Q.    And what is your place of birth, sir?
        19          A.    Phoenix, Arizona.
        20          Q.    And your date of birth?
        21          A.               .
        22          Q.    Sir, have you had your deposition
        23     taken before?
        24          A.    Never -- ah, never.
        25                I had it -- something when I was 18,


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          1    but I never took a deposition.          It was more
          2    like I went through a court process and
          3    whatever.
          4         Q.     But your deposition was not taken --
          5         A.     I've never -- I've never been in this
          6    process, ever.
          7         Q.     Okay.   For the purpose of this
          8    deposition, the court reporter sitting to your
          9    right is going to take down everything that's
        10     said in this room, so it's important that you
        11     give your answers orally.
        12          A.     Okay.
        13          Q.     That is to not shake your head or
        14     point to your shoulder, cause the court
        15     reporter can't take that down.
        16          A.     So yes and nos and things of that
        17     nature.
        18          Q.     Yes.    Try not to say uh-huh --
        19          A.     Uh-huh, yes and nos.
        20          Q.     -- which many of us do, because we
        21     can't understand what that means in a
        22     transcript.
        23                 During the course of the deposition,
        24     if you don't understand any of my questions
        25     please ask me to rephrase it and I'll be glad


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          1    to do so.
          2         A.     Okay.
          3         Q.     Are you under the influence of any
          4    medication, alcohol or drugs that would
          5    prevent you from giving truthful testimony
          6    today?
          7         A.     No.
          8         Q.     And if during the course of the
          9    deposition you need a break, just let me know,
        10     okay?
        11          A.     Got it.
        12          Q.     Okay.    Is Shawna your wife?
        13          A.     Yes.
        14          Q.     And when were you married?
        15          A.     July 30, 2016.
        16          Q.     Have you ever been married before?
        17          A.     Never.
        18          Q.     Do you have any children?
        19          A.     Yes.
        20          Q.     And what are their names and ages?
        21          A.                      and then -- she's nine
        22     months old.        She keeps me awake at night.
        23          Q.     That's her job.
        24          A.     Yeah.
        25          Q.     Any other children?


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          1         A.    A stepson.
          2         Q.    And what is his name?
          3         A.    Did you I need to refer that?
          4               MR. FRIDAY:     Uh-huh.
          5               THE WITNESS:     Okay.                    .
          6    BY MR. SWITKES:
          7         Q.    And I didn't hear the last name.
          8         A.            .
          9         Q.    And how old is he?
        10          A.    15.
        11          Q.    Okay.    Could you give me the benefit
        12     of your educational background?
        13          A.    About two years of college -- high
        14     school diploma, and two years of college,
        15     didn't graduate.
        16          Q.    Where did you go to high school?
        17          A.    Atlantic High School.
        18          Q.    And where is that located?
        19          A.    Port Orange, Florida.
        20          Q.    And what year did you graduate?
        21          A.    1998.
        22          Q.    And you said two years of post-high
        23     school college, where was that?
        24          A.    Daytona State College.
        25          Q.    And when were you there?


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          1         A.    I believe it was in 2010.
          2         Q.    And you were there from 2010 to --
          3         A.    I believe 2012.
          4         Q.    But you did not obtain a degree?
          5         A.    No, I did not.
          6         Q.    Any other educational training?
          7         A.    No.
          8         Q.    Have you ever been party to a
          9    lawsuit?
        10          A.    No.
        11          Q.    This is the first lawsuit you've been
        12     involved in?
        13          A.    Ever.
        14          Q.    And have you ever been a party to a
        15     workmen's compensation claim?
        16          A.    No.
        17          Q.    Have you ever been arrested?
        18          A.    Yes.
        19          Q.    When were you arrested?
        20          A.    1998 or -- I think it was 1998, '94
        21     -- '97, I'm sorry, I was arrested then.
        22                And then I was arrested for -- I want
        23     to say in 2000, maybe 2001/2002.
        24          Q.    Okay.    What was the arrest for
        25     2097[sic] for?


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        1         A.    '97 was for cocaine.        It was a list
        2    of charges, I don't remember all the charges.
        3         Q.    Give me the ones you do remember.
        4         A.    It was cocaine and marijuana.
        5         Q.    And was it possession or --
        6         A.    Possession.
        7         Q.    -- possession with the intent to
        8    sell?
        9         A.    I honestly don't remember, because I
       10    went through so many court -- like my lawyer
       11    took care of most of that, so I don't remember
       12    much of it.     It was --
       13         Q.    Well, what were amounts of drugs you
       14    were had in possession of?
       15               MR. FRIDAY:      Objection, relevance.
       16    BY MR. SWITKES:
       17         Q.    Go ahead.
       18               MR. FRIDAY:      Object to form.
       19               Go ahead and answer.
       20               THE WITNESS:      Small amounts, under 20
       21         grams of marijuana and less than a gram of
       22         -- or probably under a half a gram of
       23         cocaine.
       24    BY MR. SWITKES:
       25         Q.    And what the disposition of that


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        1    case?
        2         A.    Pretrial intervention.        I did my
        3    probation, completed my term or whatever, and
        4    everything was expunged.
        5         Q.    Expunged?
        6         A.    I believe it was expunged.         To my
        7    knowledge, everything was expunged.
        8         Q.    And where was that arrest, in what
        9    county?
       10         A.    Port Orange, in Volusia County.
       11         Q.    And you said you were arrested again
       12    in either 2001 or '02?
       13         A.    Yeah, marijuana charges.
       14         Q.    And what was the quantity?
       15         A.    Under -- under five grams.
       16         Q.    And what was the disposition of that
       17    case?
       18         A.    I settled it.      I went to court and I
       19    just said, yeah, I want to end it today.            I'm
       20    not sure what that's called.
       21         Q.    Did you plead nolo?
       22         A.    Yeah, no contest or whatever.
       23         Q.    And was that a misdemeanor --
       24         A.    Yes.
       25         Q.    -- or a felony?


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        1          A.    All misdemeanors.
        2          Q.    Those are the only two arrests you've
        3    had in your lifetime?
        4          A.    No.   I got caught with a undersized
        5    grouper, and that was probably about five
        6    years ago.
        7          Q.    So approximately 2015?
        8          A.    Ish, yeah.
        9          Q.    And in what county was that?
       10          A.    St. Lucie.
       11          Q.    And what was the disposition of that
       12    case?
       13          A.    Paid a fine.
       14          Q.    How big was the grouper?
       15          A.    And once again, it wasn't an arrest.
       16    It was more -- it was -- I had to go to court
       17    for it.     It wasn't -- FWC doesn't arrest for
       18    it.     They give you a citation to show up for
       19    court.
       20          Q.    Okay.
       21          A.    So that would be a court --
       22          Q.    What was the size of the grouper?
       23          A.    Twenty -- just under twenty inches.
       24          Q.    And what was the legal size?
       25          A.    24.   It was -- in two years prior the


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                                                                      Page 13
        1    fish would have been legal.         I didn't check up
        2    on the --
        3         Q.     Okay.
        4         A.     -- size limits.
        5         Q.     Now you've given me three arrests.
        6    Are any our arrest during your lifetime?
        7         A.     No, not that I can remember.
        8         Q.     During the arrest in two -- 1997 or
        9    '08, were you arrested at gunpoint?
       10         A.     No.
       11         Q.     2001/'02, were you arrested at
       12    gunpoint?
       13         A.     No.
       14         Q.     2015, were you arrested at gunpoint?
       15         A.     No.
       16         Q.     You suffer any emotional damage from
       17    any of those arrests?
       18         A.     Let me go back, I do have another
       19    one, it was 2000, maybe, eight or nine.
       20                It was for disorderly conduct, I
       21    believe it was called.        I don't remember the
       22    exact one.     And that's when I sustained a
       23    right shoulder injury then.
       24         Q.     And that arrest was in what county?
       25         A.     Volusia.


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        1         Q.    And what was the allegation of your
        2    disorderly conduct, what were you doing?
        3         A.    I was walking across a crosswalk and
        4    a taxi driver almost hit us.         There was an
        5    altercation, he got out, he attacked me, I
        6    defended myself, but because I had been
        7    drinking I was arrested for it.
        8         Q.    And you said he attacked you, did you
        9    defend yourself?
       10         A.    Yes.
       11         Q.    And how long did the altercation
       12    last?
       13         A.    Less than 30, 40 seconds, and then --
       14         Q.    Okay.    Did he punch you?
       15         A.    He had tackled me.       He tried to
       16    tackle me.
       17         Q.    And during that time you injured your
       18    right shoulder?
       19         A.    It was when the police showed up,
       20    when they put me in cuffs.         Because they --
       21    they were trying to put me in the car and my
       22    head went to the top of the door and they were
       23    pushing on my hands trying to push me into the
       24    car and because my hands, you know, kind of
       25    pushed it up and that's how I sustained the


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        1    right -- right shoulder injury.
        2         Q.     Okay.    We have the videographer
        3    taking down what you did but the court
        4    reporter couldn't --
        5         A.     Right.
        6         Q.     -- do that as well.      You were
        7    indicating that you were handcuffed in the
        8    back and as the officers were putting you in
        9    the car they were lifting your --
       10         A.     My right --
       11         Q.     -- hands and arms up behind your back
       12    which caused an injury to your right shoulder?
       13         A.     Correct.
       14         Q.     And did you go to a doctor after that
       15    incident?
       16         A.     Yes, I did.
       17         Q.     And which doctor did you go to?
       18         A.     It's going to be an urgent care in
       19    Ormond Beach.        I tried to look up the name.       I
       20    don't believe that place is still up in
       21    business.     To my knowledge -- I don't live
       22    there, I haven't been there for over six
       23    years, so I don't -- I tried to Google it,
       24    tried to get the information but I could not.
       25         Q.     And what did they do for you at


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        1    urgent care?
        2         A.     They put me in an arm sling and gave
        3    me some pain medication for the pain.
        4         Q.     Did they take an x-ray?
        5         A.     No, they did not.
        6         Q.     Did they taken an MRI?
        7         A.     No, they did not.
        8         Q.     When was the next time you sought any
        9    care for your right shoulder injury?
       10         A.     That would be in 2018.
       11         Q.     So --
       12         A.     And this is prior to Miami Beach.
       13         Q.     Okay.   So between 2008 or '09 and
       14    2018 you didn't see any other doctors for your
       15    right are -- shoulder injury?
       16         A.     From almost -- for at least eight to
       17    ten years I did not see a doctor for my
       18    shoulder.
       19         Q.     And tell me what symptoms you had in
       20    the interim from the time of the injury all
       21    the way through the time you did seek some
       22    treatment.
       23         A.     State again.
       24         Q.     What kind of symptoms did you have,
       25    what problems did you have with your right


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        1    shoulder?
        2         A.     A lot of it has to do with being able
        3    to lift above my head, you know, simple
        4    motions like trying to lift -- as a chef I
        5    lift plates.       And if I have to lift them above
        6    my head it -- that's where I see it.           And any
        7    time that my arms go behind my shoulder or
        8    behind my back there's -- it's just -- it's
        9    just stress.       Stress on the shoulder itself.
       10         Q.     When you say stress, it would put you
       11    in pain?
       12         A.     Yes.
       13         Q.     And explain the level of pain to me
       14    that you were in -- was it mild, was it
       15    moderate, was it severe?
       16                MR. FRIDAY:     Object to form.
       17                You can go ahead and answer.
       18                THE WITNESS:     The -- when it's not
       19         hurting it's mild, but when it's
       20         aggravated it's probably at least a seven
       21         or an eight.
       22    BY MR. SWITKES:
       23         Q.     And the aggravation would be whenever
       24    you were lifting or doing any activity over
       25    your shoulder level, correct?


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        1         A.     Correct, as it -- it got inflamed,
        2    yes.
        3         Q.     Did anybody advise you that you had a
        4    rotator cuff tear?
        5         A.     No, that's what some of the diagnosis
        6    was in 2018 when they first looked at it.             And
        7    then when I went back they diagnosed it as
        8    shoulder impingement syndrome.
        9         Q.     And when you went to get treatment
       10    before the date of the incident in Miami
       11    Beach, who did you go to, what's the name of
       12    the physician?
       13         A.     It's another urgent care that's near
       14    -- it's in Port St. Lucie.         I am in the
       15    process of getting the address and name of the
       16    doctor.
       17         Q.     And how many times did you go there?
       18         A.     Once for my right shoulder prior to
       19    Miami Beach and then once after the incident
       20    with Miami Beach.
       21         Q.     So --
       22         A.     Two -- one was for the right
       23    shoulder.     After Miami Beach was for the left
       24    shoulder.
       25         Q.     And tell me what they said about your


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        1    right shoulder before the arrest here Miami --
        2    or the detaining of you in Miami Beach.
        3         A.    They diagnosed it as more of a
        4    rotator cuff problem.
        5         Q.    Okay.    Did they do an x-ray or MRI?
        6         A.    No.
        7         Q.    Did they tell you you needed to have
        8    an x-ray or an MRI?
        9         A.    Yes.
       10         Q.    And other than the urgent care center
       11    in Port St. Lucie and the doctor you saw, did
       12    you see any other physicians or go to any
       13    other facility?
       14         A.    No.
       15         Q.    Since the time of the incident in
       16    Miami Beach have you gone to any other
       17    doctors?
       18         A.    For unrelated symptoms or issues,
       19    yes.    But for nothing -- I had a -- a gash in
       20    my leg that I had to go look at -- get looked
       21    at, but nothing related to my shoulder.
       22         Q.    So you haven't gone to any doctors or
       23    facilities since the incident in Miami Beach?
       24         A.    Cannot afford MRI.
       25         Q.    Okay.    And how would you characterize


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        1    the symptoms you're having before the city of
        2    Miami Beach and after the city of Miami Beach
        3    incident?
        4                MR. FRIDAY:     Object to form.
        5                Go ahead and answer.
        6                THE WITNESS:     Mild to moderate,
        7         depending on situations in situational
        8         things that happen.       Once again, it's a
        9         aggravation thing.       If it gets aggravated,
       10         that when the pain level goes up.
       11                The more I try to condition it and
       12         strengthen it, it gets better, but it's --
       13         it's a never-ending battle.
       14    BY MR. SWITKES:
       15         Q.     And what's the symptoms in your left
       16    shoulder?
       17         A.     Now?
       18         Q.     Yes.
       19         A.     Still it's -- there's still a little
       20    bit of pain.       And, once again, it's more or
       21    less as I start to reach above my head, as I
       22    get to about head level, not so bad, but
       23    beyond my head level the pain goes up.
       24         Q.     Give me, on the scale of zero to ten,
       25    the pain you have in your left shoulder?


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        1         A.    Right now, probably a two to -- two.
        2         Q.    Okay.    Give me your educational --
        3    excuse me, your employment history, sir, from
        4    the time you graduated high school thereafter;
        5    who have you worked for?
        6         A.    I've worked for multiple restaurants,
        7    probably too many to name.
        8         Q.    There is no such thing as too many.
        9         A.    Oh, there is.
       10         Q.    Give me the names of your employers.
       11         A.    Prior to that it's going to be The
       12    Shores Resort and Spa in Port St. Lucie.
       13         Q.    And when did you work there?
       14         A.    During the -- prior -- I worked there
       15    for almost a year and a half, from August to
       16    August or September-ish.
       17         Q.    You have --
       18         A.    Of 2018.
       19         Q.    And why did you leave there?
       20         A.    Personal reasons.
       21         Q.    What reasons?
       22         A.    Not happy with working conditions.
       23         Q.    Which were?
       24               MR. FRIDAY:      Object to form.
       25               Go ahead and answer.


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        1               THE WITNESS:      Management was failing
        2         at their job.
        3    BY MR. SWITKES:
        4         Q.    And before that where did you work?
        5         A.    Before there?
        6         Q.    The Shores Resort and Spa, which you
        7    gave me, yes, sir.
        8         A.    It was probably going to be Pietros
        9    on the Ocean.
       10         Q.    And where is that located?
       11         A.    Jensen Beach.
       12         Q.    And how long did you work there?
       13         A.    Year, year and a half.
       14         Q.    And from when to when?
       15         A.    A year and a half prior to The
       16    Shores.    It was kind of a transition between
       17    the two.
       18         Q.    So your approximate years, sir.
       19         A.    2017 -- from 2016 to 2017, in that
       20    area.
       21         Q.    And why did you leave there?
       22         A.    The owner was stealing my money.
       23         Q.    And before that where did you work?
       24         A.    It's probably gonna be The Landing
       25    and Mark's Corner Grill.         It was the same


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        1    owner and I just transferred between the two
        2    jobs.
        3         Q.    And where are they located?
        4         A.    One was in Fort Pierce, the other one
        5    was in Hutchinson Island.
        6         Q.    And when did you work there, from
        7    when to when?
        8         A.    2016 to 2015.
        9         Q.    And why did you leave those two
       10    locations?
       11         A.    Me and the owner didn't -- we failed
       12    to get along at that point.
       13         Q.    What was the nature of the dispute
       14    between the two of you?
       15               MR. FRIDAY:      Object to form.
       16               You can go ahead and answer.
       17               THE WITNESS:      I was -- we were making
       18         changes and the changes weren't accepted,
       19         so I had decided to leave because of those
       20         reasons.     It was -- there was food quality
       21         issues.
       22    BY MR. SWITKES:
       23         Q.    And where did you work before that?
       24         A.    Probably Club Med.
       25         Q.    Where was that located?


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        1         A.    Port St. Lucie.
        2         Q.    And you were a chef?
        3         A.    Yes.
        4         Q.    And how long were you there?
        5         A.    I was there for about a year.
        6         Q.    And why did you leave?
        7         A.    I got offered a -- an executive ch --
        8    executive chef position at The Landing in
        9    the --
       10         Q.    So you worked there from when to
       11    when?
       12         A.    2014 and 2015-ish.
       13         Q.    And where did you work before there?
       14         A.    I want to say it was 27 Fathoms in
       15    Daytona -- Port Orange, Florida.
       16         Q.    And you worked there from when to
       17    when?
       18         A.    2013 to 2014, like all a transition
       19    between me moving from there to here.
       20         Q.    And why did you leave there?
       21         A.    I was moving.
       22         Q.    And where did you work before that?
       23         A.    The Plaza Ocean -- the Plaza Ocean
       24    Hotel, I believe it's called.
       25         Q.    In what city?


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        1         A.    Daytona Beach.
        2         Q.    And why did you leave there?
        3         A.    Had a better position offered.
        4         Q.    So you worked there from when to
        5    when?
        6         A.    2013 to 2014.
        7         Q.    And before that?
        8         A.    The Shores -- or the restaurant is
        9    called Azure, A-Z-U-R-E.
       10         Q.    From when to when?
       11         A.    2012 to 2013-ish, 2014.        I worked
       12    there for almost two years.
       13         Q.    And why did you leave?
       14         A.    Was offered a better position because
       15    I wasn't moving up through management.
       16         Q.    And before that?
       17         A.    Outback Steakhouse, I think.
       18         Q.    What city?
       19         A.    Daytona Beach.
       20         Q.    From when to when?
       21         A.    2012 to 2011.
       22         Q.    And why did you leave there?
       23         A.    I was going through culinary school
       24    and I took up a job at The Shores.
       25         Q.    And before that?


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        1         A.    Chili's.
        2         Q.    What city?
        3         A.    Port Orange.
        4         Q.    How long were you there?
        5         A.    Six months.
        6         Q.    Why did you leave there?
        7         A.    Management issues.
        8         Q.    What does that mean?
        9         A.    Management was giving me more than
       10    what my job entailed.
       11         Q.    Seems like you didn't hold a job for
       12    more than a year at any one place, would that
       13    be fair to say?
       14               MR. FRIDAY:      Object to form.
       15               THE WITNESS:      Yeah.   Yes.
       16    BY MR. SWITKES:
       17         Q.    Okay.    Are you a member of any social
       18    or other groups at the present time?
       19               MR. FRIDAY:      Objection to form.
       20               THE WITNESS:      What was that?
       21    BY MR. SWITKES:
       22         Q.    Are you a member of any social groups
       23    or other groups?
       24         A.    What groups, I'm not...
       25         Q.    I don't know.      You'd have to tell me.


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        1         A.    On Florida Carry.
        2         Q.    What else?
        3         A.    Snook Lives Matters.
        4         Q.    Excuse me?
        5         A.    Snook Lives Matter.
        6         Q.    Any others?
        7         A.    My political page.
        8         Q.    Your political page?
        9         A.    Correct.
       10         Q.    And what is your political page?
       11         A.    Vote for Soloyaker for state
       12    representative.
       13         Q.    Any other groups or organizations?
       14         A.    No.
       15         Q.    When did you join Florida Carry?
       16               MR. FRIDAY:      Object to form, and I'm
       17         going to instruct him not to answer.
       18               We have an associational right of
       19         privacy as to his membership in that
       20         organization, when he joined it, that he's
       21         a member.     I should have instructed him
       22         not to even answer the question that he
       23         was a member.      NR -- NRA versus City of
       24         South Miami dealt with that issue, so he
       25         is not going to answer that -- any


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        1         questions regarding any membership he may
        2         have with Florida Carry.
        3               MR. SWITKES:      In light of the lawsuit
        4         I think that's an inappropriate
        5         instruction --
        6               MR. FRIDAY:      Certify the question
        7         and --
        8               MR. SWITKES:      -- but we'll deal with
        9         that at a later time.
       10               MR. FRIDAY:      Okay.
       11    BY MR. SWITKES:
       12         Q.    Have you ever served on any official
       13    board or senior position with Florida Carry?
       14         A.    No.
       15         Q.    How do you know the other members
       16    that appeared on the pier with you in Miami
       17    Beach?
       18               MR. FRIDAY:      Object to form.
       19               Are you asking --
       20    BY MR. SWITKES:
       21         Q.    I think it's pretty clear.         How do
       22    you know them?
       23               MR. FRIDAY:      How does -- I'm going to
       24         object to form and ask you to rephrase the
       25         question.


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        1               MR. SWITKES:      Your objection is on
        2         the record.
        3    BY MR. SWITKES:
        4         Q.    Answer the question, please.
        5         A.    Just through the -- just through what
        6    --- how we organize or how we get together to
        7    go fishing together.
        8         Q.    Have you ever been to a demonstration
        9    with Steven Jenkins before the demonstration
       10    in Miami Beach?
       11               MR. FRIDAY:      Object to form.
       12               THE WITNESS:      Yes.
       13    BY MR. SWITKES:
       14         Q.    And when and where?
       15         A.    I believe it was Lake Worth pier.
       16         Q.    And that was when?
       17         A.    In March of -- or maybe March or
       18    February of 2018.       I'd have to look at my --
       19    I'd have to see the -- my records to see it
       20    for the date, but I have -- I know I can pull
       21    that up, but I can't -- a specific date.
       22         Q.    That's okay.      Any other
       23    demonstrations with him?
       24               MR. FRIDAY:      Object to form.
       25               THE WITNESS:      Not that I can recall.


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        1    BY MR. SWITKES:
        2         Q.     Same question for Sean Devine.
        3                MR. FRIDAY:     Object to form.
        4                THE WITNESS:     Sean is -- no.
        5    BY MR. SWITKES:
        6         Q.     Same question for Mr. Philpot.
        7                MR. FRIDAY:     Object to form.
        8                THE WITNESS:     I believe so.     I
        9         believe it was Lake Worth.
       10    BY MR. SWITKES:
       11         Q.     Any others?
       12         A.     That day?
       13         Q.     Obviously not that day.
       14                MR. FRIDAY:     Object to form.
       15    BY MR. SWITKES:
       16         Q.     At any time.
       17         A.     Like at any -- how many members and
       18    how many people I've ever met before the
       19    incident or during or, like, I'm lost on the
       20    question.
       21         Q.     Question was:     Any other
       22    demonstrations that you appeared with the
       23    individuals who are Plaintiffs in this
       24    lawsuit.
       25                MR. FRIDAY:     Object to form.


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        1                THE WITNESS:       Yes.
        2    BY MR. SWITKES:
        3         Q.     Okay.   What other ones?
        4         A.     October 24th, I believe, and then
        5    January -- June 28th, or -- it was a year
        6    later.
        7         Q.     Both of those were in 2019?
        8         A.     Yes.    Correct.
        9         Q.     Any others that you appeared
       10    before --
       11         A.     We're in 2018 --
       12         Q.     -- the Miami Beach incident?
       13         A.     Correct, we're in 2018, prior to the
       14    incident.
       15         Q.     Those were prior to the incident here
       16    in Miami Beach?
       17                MR. FRIDAY:     Object to form.
       18                THE WITNESS:       There were -- there
       19         were the first times I ever meet Keith --
       20         Keith Jenkins was prior to the incident
       21         and it was in Lake Worth.
       22                After the accident I've met him at a
       23         -- the October 24th, I believe it was, and
       24         June -- it was in June -- sometime in
       25         June in 2019.


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        1    BY MR. SWITKES:
        2         Q.    My question -- we were up to Philpot,
        3    any others with Philpot?
        4         A.    Yeah.
        5         Q.    Those three --
        6         A.    Correct.
        7         Q.    -- only?
        8         A.    Yes.
        9         Q.    How about Carlos Gutierrez?
       10         A.    I believe it was the same days after.
       11               MR. FRIDAY:      Object to form.
       12               THE WITNESS:      -- after the incident.
       13    BY MR. SWITKES:
       14         Q.    And Jonah Weiss?
       15               MR. FRIDAY:      Object to form.
       16               THE WITNESS:      Only up to October.       He
       17         was -- it was the incident, the day of the
       18         incident happened, and October.
       19    BY MR. SWITKES:
       20         Q.    Have you participated in any other
       21    demonstrations other than the one in Miami
       22    Beach, Lake Worth?
       23               MR. FRIDAY:      Object to form.
       24               THE WITNESS:      Yes.
       25    BY MR. SWITKES:


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        1         Q.    And when was your first one?
        2         A.    I can't even, like -- like I can
        3    legitimately can't even -- I can't -- I can
        4    try to answer it but there's too -- there's
        5    probably too many.
        6         Q.    Okay.
        7         A.    It's for almost two years I've been
        8    doing it almost once a month -- once a month
        9    or every other -- every couple months.
       10         Q.    Okay.    Start with the first one that
       11    you recall and then move forward towards the
       12    Miami Beach incident.
       13         A.    Or before or after the incident?
       14         Q.    Before.
       15         A.    Before the incident it was only Lake
       16    Worth and I think it was Riviera Beach or Juno
       17    Pier or something like that.
       18         Q.    Who appeared with you at the Lake
       19    Worth?
       20         A.    It was, I believe --
       21               MR. FRIDAY:      Object to form.
       22               And you can go ahead and answer.
       23               THE WITNESS:      I know Philpot --
       24         Philpot, Keith Jenkins and Jonah Weiss,
       25         but the other ones don't -- I can't recall


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        1         their names.
        2    BY MR. SWITKES:
        3         Q.    Approximately how many members of
        4    Florida Carry were there at that
        5    demonstration?
        6               MR. FRIDAY:      Object to form.
        7               Don't answer that question because
        8         you don't know if they were members of
        9         Florida Carry or not.
       10               MR. SWITKES:      Counsel, that's a
       11         speaking objection, an improper
       12         instruction and we're going to obviously
       13         have to do this again if you continue to
       14         do that.
       15               MR. FRIDAY:      Well, you're asking -- I
       16         mean --
       17               MR. SWITKES:      I'm allowed to ask him
       18         any question.      You're allowed to instruct
       19         him not to answer if there's a privilege
       20         and you haven't assert a privilege.
       21               MR. FRIDAY:      Okay.
       22               MR. SWITKES:      And you're allowed to
       23         not make speaking objections, which you
       24         just did.
       25    BY MR. SWITKES:


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        1         Q.    Who else was present at the Lake
        2    Worth --
        3         A.    Present?
        4         Q.    -- demonstration with you that you
        5    recall?
        6         A.    Names, couldn't tell you.
        7         Q.    How many, approximately?
        8         A.    Anywhere between six to ten.
        9         Q.    And when you went to Lake Worth was
       10    it a fishing pier?
       11         A.    Correct.
       12         Q.    And did you notify the Lake Worth
       13    government entity that you were going to
       14    appear?
       15         A.    Yes.    I personally did not.       It was
       16    -- it was not my -- it was not something I was
       17    organizing.
       18         Q.    Who organized it?
       19         A.    I do not know.
       20         Q.    And how was the municipality
       21    notified, to the best of your knowledge?
       22         A.    Either a phone call or an email, one
       23    of the two.
       24         Q.    Okay.    And did you bring a weapon to
       25    that demonstration?


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        1               MR. FRIDAY:      Object to form.
        2               THE WITNESS:      Yes.
        3    BY MR. SWITKES:
        4         Q.    Did the other people that attended
        5    bring weapons?      And by that weapon I mean a
        6    gun.
        7         A.    Yes.
        8         Q.    And did the police arrive?
        9         A.    Yes.
       10         Q.    And what police agency was it, to the
       11    best of your knowledge?
       12         A.    I'm going to say more than likely
       13    local PD, local police department.
       14         Q.    And when they arrived did they have
       15    their guns drawn?
       16         A.    No.
       17         Q.    Did they ever draw their guns?
       18         A.    No.    They were actually in the
       19    parking lot handling everything very cordially
       20    and respecting our rights.
       21         Q.    Were you detained for any period of
       22    time?
       23         A.    Zero.    Zero minutes.
       24         Q.    Okay.    And how long did you stay at
       25    that pier?


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        1         A.    Probably about three to four hours.
        2         Q.    And did you do any fishing?
        3         A.    Absolutely.
        4         Q.    Did you catch any fish?
        5         A.    I did not.
        6         Q.    Did anybody in your group catch any
        7    fish?
        8         A.    I can't speak for them because I
        9    wasn't paying attention to their fishing
       10    poles.
       11         Q.    Well, if you're on the pier with them
       12    fishing, did you recognize any of them take a
       13    fish out of the water?        That wouldn't be --
       14         A.    No.
       15         Q.    -- too hard to see if you were there.
       16               MR. FRIDAY:      Object to form.
       17               THE WITNESS:      I was -- I was sitting
       18         there talking with my friends and fishing
       19         and if somebody brought something up while
       20         I wasn't there, I couldn't -- I couldn't
       21         speak to that, because --
       22    BY MR. SWITKES:
       23         Q.    When you weren't there.        I'm talking
       24    about when you were there.
       25         A.    Not while I was there.


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        1         Q.     Okay.   And the next time you said you
        2    also did one in Riviera Beach, when was that,
        3    approximately?
        4         A.     I want to say it was September of
        5    maybe 2017, maybe.       Like, once again, I'd have
        6    to look at records and videos, because I can't
        7    -- I can't recall all -- all of the -- the
        8    demonstrations that I've been to.
        9         Q.     How many have you been to?
       10         A.     Probably close to -- over a hundred,
       11    hundred plus.
       12         Q.     Starting when?
       13         A.     I'd say prior to the incident in
       14    June.     So in probably like the beginning parts
       15    of 2007 -- or the end of 2017 and then for
       16    those few months leading up to the Miami Beach
       17    incident.
       18         Q.     So more than a hundred.       In each one
       19    of those hundred occasions you don't remember
       20    any of the other names of the locations where
       21    you met?
       22         A.     I can remember certain locations.
       23    Dates, I can't remember dates.
       24         Q.     Give me the locations.
       25         A.     Orlando, Tampa, Naples, Riviera


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        1    Beach, Port Orange, Florida, Ft. Pierce, Port
        2    St. Lucie, Stuart, Florida, Jupiter inlet --
        3    or Jupiter, Lake Worth, Juno, Ocala.
        4         Q.    Tallahassee?
        5         A.    I've never open carried there.
        6         Q.    FSU?
        7         A.    I've never open carried up in
        8    Tallahassee.
        9         Q.    Where in Tampa?
       10         A.    Amway -- I think it's called the
       11    Amalie Arena, downtown -- downtown Tampa.
       12         Q.    At any of those other locations did
       13    the police arrive with guns drawn?
       14         A.    I've only had guns drawn on me one
       15    other time.
       16         Q.    When was that?
       17         A.    Lantana.
       18         Q.    And where did you demonstrate in
       19    Lantana?
       20               MR. FRIDAY:      Object to form.
       21               Go ahead and answer.
       22               THE WITNESS:      I was by myself.      I par
       23         -- I parked on the public -- on the public
       24         street, not in their paid parking, and I
       25         walked from -- it was just off of US1


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        1         towards, I believe it's called Ocean
        2         Boulevard, and walked to a bridge right
        3         there to fish.
        4    BY MR. SWITKES:
        5         Q.    And the police stopped you?
        6         A.    Correct.
        7         Q.    And then you had a gun drawn on you?
        8         A.    Correct.
        9         Q.    And how long were the guns drawn?
       10         A.    It was one gun drawn, maybe 15 -- the
       11    gun was drawn probably about five minutes.
       12    And then he holstered it and then detained me
       13    and put me in handcuffs and all that.
       14         Q.    How long were you detained?
       15         A.    Close to 30 minutes.
       16         Q.    Any of these other 100 demonstrations
       17    were you handcuffed?
       18               MR. FRIDAY:      Object to form.
       19               THE WITNESS:      Yes.
       20    BY MR. SWITKES:
       21         Q.    How many?
       22         A.    Port St. Lucie, I was handcuffed
       23    there, probably about 30 minutes.
       24         Q.    Behind your back?
       25         A.    Correct.


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        1         Q.    Did it hurt your shoulder or
        2    shoulders?
        3         A.    Yes.
        4         Q.    You see any doctors after that?
        5         A.    Did not, because I could not afford
        6    the MRI and that's -- that's what the doctors
        7    had already told me, so I couldn't do anything
        8    but try to rehab it.
        9         Q.    Was it your right and left shoulder
       10    in Port St. Lucie that hurt?
       11         A.    Port St. Lucie was my right shoulder.
       12         Q.    Okay.    Any of the other hundred plus
       13    demonstrations you appeared and were you
       14    placed in handcuffs?
       15               MR. FRIDAY:      Object to form.
       16               THE WITNESS:      No, not -- not that I
       17         can recall.
       18    BY MR. SWITKES:
       19         Q.    In each of these demonstrations, what
       20    were you demonstrating?
       21               MR. FRIDAY:      Object to form.
       22               THE WITNESS:      My second amendment
       23         right and the right to bear arms.
       24    BY MR. SWITKES:
       25         Q.    In most of those did you have a


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        1    fishing pole with you?
        2         A.    Every -- every time I fished, yes.
        3               Every time I've been to anything that
        4    I've ever done I've always had a fishing pole.
        5         Q.    Okay.    How often do you go fishing or
        6    did you go fishing from approximately 2015 to
        7    the present?
        8         A.    I've -- I was fishing almost five
        9    days a week.      I was a semiprofessional
       10    fisherman for the IFA Kayak -- Kayak Tour.
       11         Q.    And you fished in tournaments --
       12         A.    Correct.
       13         Q.    -- for what kind of fish?
       14         A.    Red fish, trout.       Primarily red fish
       15    and trout, but I've -- I fish for anything.
       16    And that's -- I'm a fisherman.          I've been a
       17    fisherman since I was eight years old.
       18         Q.    Do you have a boat?
       19         A.    Yes, a kayak, it's -- well, we call
       20    it a boat, but it's a kayak.
       21         Q.    How long have you had a kayak?
       22         A.    Five years plus.
       23         Q.    And where do you typically fish?
       24         A.    Throughout the state of Florida.
       25         Q.    Do you fish with anybody on a regular


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        1    basis?
        2         A.    No, that's why I have the name
        3    Soloyaker.     Solo kayaker, that's kind of how I
        4    got my name.
        5         Q.    And when was the first time you
        6    discussed coming to South Pointe Park prior to
        7    the event?
        8         A.    I didn't ever -- I never discussed
        9    about going there.       It was -- it was something
       10    that was discussed through our group and I
       11    decided I wanted to go.
       12         Q.    Okay.    When did you decide to go?
       13         A.    Probably a couple of weeks, three or
       14    four weeks, like, I can't remember when the --
       15    when -- we usually have like a -- like a
       16    little flyer, I guess it's called, a flyer
       17    that comes out and says, on this day.            I can't
       18    remember when that flyer came out.
       19         Q.    And who authored the flyer, to your
       20    knowledge?
       21         A.    I'm going to say Chris Philpot.
       22         Q.    And what did the flyer say?
       23         A.    June 24, 2018, open carry at Miami
       24    Beach South Pointe Pier.
       25         Q.    And that was sent to you by email?


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        1         A.      No, it was on our public forum, or
        2    our Florida Carry forum.
        3         Q.      And the Florida Carry forum is in
        4    what form?     Is it an email, is it text?
        5         A.      It's a -- it's a Facebook group.
        6         Q.      Facebook?
        7         A.      Correct.
        8         Q.      And for these other hundred plus
        9    events that you went to, did it always or did
       10    most of the time you have notices similar to
       11    one you just discussed?
       12         A.      Um, Eric, I'm going to have to refer
       13    to you because I don't know when we -- when
       14    that happened.       You know what I'm discussing,
       15    about when --
       16                 MR. FRIDAY:    I can't answer the
       17         question.       You have to answer what you
       18         know.
       19                 THE WITNESS:    Okay.   To -- to my
       20         knowledge, I don't know -- there was a
       21         point when -- when we stopped contacting
       22         law enforcement for a constitutional right
       23         here in Florida.
       24    BY MR. SWITKES:
       25         Q.      Okay.   My question was, do you


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        1    usually receive a flyer about these hundred
        2    plus demonstrations you went to?
        3         A.    I either created them or went by
        4    myself.    A lot -- a lot of those places that
        5    you're listing are places I've gone where it
        6    was just me.
        7         Q.    So you said you created flyers in the
        8    past?
        9         A.    Correct.
       10         Q.    Have you produced the flyer in your
       11    response to request for production in this
       12    case?
       13         A.    What -- rephrase that.
       14         Q.    You received not only answers --
       15    questions in interrogatories, which we'll go
       16    over in a little while, but you also received
       17    a request for production and it requested all
       18    documents relevant to the demonstration in
       19    Miami Beach.
       20               Did you produce the flyer --
       21         A.    For Miami Beach?
       22         Q.    -- in your responses?
       23               Yes, sir.
       24         A.    No.
       25         Q.    Why not?


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        1         A.     Because it was not my -- I did not
        2    create -- I didn't make that one.           I didn't go
        3    to Miami Beach.      Somebody else created it to
        4    go to Miami Beach.       I've done my --
        5         Q.     You said you didn't go to Miami
        6    Beach.    You did go to Miami Beach.
        7         A.     I went to Miami Beach but I didn't
        8    create the flyer.
        9         Q.     But you received the flyer.
       10         A.     I saw the flyer.
       11         Q.     Where did you see the flyer?
       12         A.     Florida Carry, on the face group --
       13    Facebook group.
       14         Q.     So you have it on your computer, why
       15    didn't you produce it?
       16         A.     I didn't -- I don't have it on my
       17    computer.     It was something that was put on
       18    Facebook that I saw on Facebook.          It was not
       19    something that I took and downloaded to my
       20    phone or something.       It wasn't something that
       21    I -- it was something that -- it was a -- it
       22    was like a picture on social media.
       23         Q.     And it said what?
       24         A.     June 4 -- 24th, 2018, open carry
       25    going to South Pointe Pier.


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        1         Q.     Anything else?
        2         A.     Time, date, carrying your holstered
        3    handgun and that's -- that was about it.            It
        4    was just the normal stuff that we normally put
        5    out on flyers, where, when and how.
        6         Q.     Okay.   And did you speak to any of
        7    the other members of Florida Carry that
        8    appeared with you on Miami Beach before the
        9    date of the incident?
       10                MR. FRIDAY:     Object to form.
       11                THE WITNESS:     Directly, no.     Maybe
       12         through, you know, when the flyer came up
       13         and you're typing in comments, we might
       14         have been talking back and forth through
       15         the comment section, but I never picked up
       16         the phone and called them directly.
       17    BY MR. SWITKES:
       18         Q.     Okay.   Do you know what you --
       19         A.     No.
       20         Q.     -- without using the phone wrote back
       21    to them?
       22         A.     Hope to see you there, that would
       23    probably be the general gist of it.           I can't
       24    wait.     It's going to be a good time.        Just
       25    like all the other times that we ever done,


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        1    is, you know, it's, like, we're excited about
        2    it.
        3          Q.   And you didn't produce any of those
        4    communications back and forth in your response
        5    to request for production?
        6               MR. FRIDAY:      Objection to form.
        7               You can answer.
        8               THE WITNESS:      I never -- I never
        9          said, hey -- like it was never my -- my
       10          event.   It was -- or gathering or
       11          whatever, it was never mine.        So it was
       12          just me communicating with people that
       13          would be there.
       14    BY MR. SWITKES:
       15          Q.   And you haven't produced those
       16    communications, correct?
       17          A.   I've --
       18               MR. FRIDAY:      Object to form.      Go
       19          ahead and answer.
       20               THE WITNESS:      If it's on -- if it's
       21          on a group that I'm not -- it's a -- it's
       22          a, you know, a private group that I -- we
       23          just talk back and forth.        So if I'm -- if
       24          I have to produce that I can -- I guess I
       25          can try, but I don't know of any way to


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        1         get all that information.
        2               (Background noise.)
        3    BY MR. SWITKES:
        4         Q.    What do you mean you don't know how
        5    to get that communication?
        6               Any way you can --
        7               MR. ROSENWALD:      I doubt it.
        8               MR. FRIDAY:      I can tell the
        9         videographer was having -- was
       10         communicating an issue, so I wanted to
       11         stop your question while --
       12               MR. SWITKES:      I appreciate it.
       13               MR. FRIDAY:      -- while we're waiting.
       14               THE VIDEOGRAPHER:       Off the record?
       15               Off the record at 10:03.
       16               (Recess taken.)
       17               THE VIDEOGRAPHER:       Okay.    We're back
       18         on the record at 10:16.
       19               (The question:      You haven't produced
       20         those communications, correct?
       21               I've --
       22               Objection to the form.
       23               Go ahead and answer.
       24               If it's on -- if it's on a group that
       25         I'm not -- it's a -- it's a, you know, a


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        1         private group that I -- we just talk back
        2         and forth.     So if I'm -- if I have to
        3         produce that I can -- I guess I can try,
        4         but I don't know of any way to get all
        5         that information.
        6               Question:     What do you mean you don't
        7         know how to get that communication, was
        8         read by the reporter.)
        9               THE WITNESS:      Once again, this is all
       10         -- it's something that I would have to
       11         really research on how -- where we've
       12         posted it and how we've posted it.           But I
       13         can try -- I guess I can look in to see
       14         how many of these I do have.         Because it's
       15         something that's not written by hand.
       16         It's not written on a computer.          It's
       17         written through the Facebook group itself.
       18               Like you -- if you go to Facebook,
       19         they have what they call their events and
       20         then you create and it's -- it's like
       21         creating an event.       We don't -- it's not
       22         an event for Florida Carry, but it's how
       23         Facebook labels it, is as an event.
       24    BY MR. SWITKES:
       25         Q.    Okay.    Did you personally send any


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        1    communications to anybody at the City of Miami
        2    Beach regarding the event?
        3         A.    I've never contacted Miami Beach
        4    about anything about open carry.          I do have a
        5    video about Miami but not about Miami Beach.
        6         Q.    When you say "a video of Miami," what
        7    do you mean by that?
        8         A.    I contacted Miami about when --
        9    because I fish -- I fish all over the state of
       10    Florida, like I said, and I called Miami to
       11    make sure that they understood the open carry
       12    fishing, hunting and camping, and they told me
       13    that they -- that there was no open carry.
       14         Q.    And who at the City of Miami did you
       15    notify?
       16         A.    It was the police department.
       17         Q.    Did you ever notify anybody at the
       18    City of Miami Beach?
       19         A.    No.    I've never talked to Miami
       20    Beach.
       21         Q.    Do you know of anybody, in regard to
       22    that demonstration at Miami Beach, that
       23    contacted the City of Miami Beach or any of
       24    its officers?
       25               MR. FRIDAY:      Object to form.


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        1                 MR. SWITKES:     What's wrong with the
        2         form?
        3                 MR. FRIDAY:    You keep referring to it
        4         as a demonstration.        Every time you refer
        5         to a demonstration I'm going to object to
        6         form.
        7                 MR. SWITKES:     Okay.
        8    BY MR. SWITKES:
        9         Q.      You can answer the question.
       10         A.      It's a gathering.     We gather together
       11    to go fishing to express a second amendment
       12    right that we have.         It's not a demonstration.
       13                 When I do things by myself it may be
       14    considered a demonstration, but as a group it
       15    is a gathering of us going fishing.
       16         Q.      So it's a gathering of a group going
       17    fishing to demonstrate the Florida Carry,
       18    correct?
       19         A.      We're going to express our second
       20    amendment rights while fishing.
       21         Q.      Okay.   And as a fisherman of some
       22    experience who goes fishing five days a week,
       23    how many times do you go to fishing off piers
       24    regarding your normal fishing experience?             Not
       25    when you're doing a demonstration.


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        1               MR. FRIDAY:      Objection to form.
        2               THE WITNESS:      If -- if I fish and I
        3         have to go fish off a pier, I will fish
        4         off a pier, a bridge, a seawall, wherever
        5         -- wherever I can access water where I can
        6         go fishing, yes, I will go fishing,
        7         whether it's a pier or a dock or whatever.
        8    BY MR. SWITKES:
        9         Q.    The question was how often --
       10         A.    Quite often.
       11         Q.    -- do you go fishing off piers as
       12    opposed to your kayak or in a boat?
       13         A.    Off of land?
       14         Q.    Off of a pier I said, if you didn't
       15    understand it the first few times.
       16               MR. FRIDAY:      Object to form.
       17               Go ahead and answer.
       18               THE WITNESS:      Fishing off piers is
       19         very sporadic.      Maybe once a month, maybe,
       20         compared to fishing off a bridge or other
       21         places, because I don't have -- where I
       22         live, I don't have a fishing pier, per se.
       23    BY MR. SWITKES:
       24         Q.    Okay.    What other piers have you
       25    fished off of in the last year?


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        1         A.    Juno, Juno Pier.
        2         Q.    Are those during the demonstration
        3    you're talking about?
        4         A.    After --
        5               MR. FRIDAY:      Object to form.
        6               THE WITNESS:      After the
        7         demonstration.
        8    BY MR. SWITKES:
        9         Q.    Okay.    While you were there at the
       10    demonstration but afterwards?
       11         A.    After the demonstration, before the
       12    demonstration, I have -- I have fished off of
       13    piers, whether I was carrying or not.
       14         Q.    Okay.    And what time would you
       15    typically arrive to fish off a pier?
       16         A.    The earlier the better.
       17         Q.    Okay.    Sunrise, basically, would be
       18    the best time?
       19         A.    Sunrise.     Anywhere between sunrise,
       20    eight, nine o'clock.
       21         Q.    And what about dusk, would that be
       22    another time you would go?
       23         A.    Yes.
       24         Q.    You certainly wouldn't want to do
       25    that fishing off a pier at noon, would you?


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        1               MR. FRIDAY:      Object to form.
        2               THE WITNESS:      Yes, I would fish off
        3         that -- any pier, any pier because fish
        4         don't care about the time.         Like fish --
        5    BY MR. SWITKES:
        6         Q.    What do you mean fish don't care
        7    about time?
        8         A.    They -- they'll eat -- if you've got
        9    the right bait they'll eat at anytime of the
       10    day.
       11         Q.    But there are better times to fish
       12    and that's sunrise and sunset, correct?
       13               MR. FRIDAY:      Object --
       14               THE WITNESS:      No.
       15    BY MR. SWITKES:
       16         Q.    No, that's not correct?
       17         A.    That is not correct.
       18         Q.    Okay.
       19         A.    I mean, unless -- if you know the
       20    secret I would love to hear it, but I've
       21    caughten fish mid -- midday, two o'clock in
       22    the morning, seven o'clock in the morning,
       23    five o'clock in the afternoon.          I've caughten
       24    fish in every hour of every part of the day,
       25    so there's no --


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        1         Q.     But you would say as a fisherman it's
        2    better early in the morning and late in the
        3    afternoon?
        4         A.     No, I can't say that the morning is
        5    better than the afternoon.         I can't say the
        6    mid part of the day is better than the late
        7    evening, like --
        8         Q.     Okay.
        9         A.     -- it definitely varies.        Fishing is
       10    fishing, it's not catching.
       11         Q.     Fishing is fishing, it's not
       12    catching.
       13         A.     Correct.    When you go fishing, you
       14    don't know if you're going to catch a fish.
       15         Q.     That's an interesting concept.
       16         A.     It's fishing, it's not catching, that
       17    why I call it fishing.
       18         Q.     So you're not trying to catch fish.
       19    You're just out there fishing to enjoy the
       20    experience is what you're saying.
       21                MR. FRIDAY:     Object to form.
       22                THE WITNESS:     I'm trying to fish to
       23         catch fish but that's -- I don't have
       24         control of what the fish want to do.
       25    BY MR. SWITKES:


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        1         Q.    Okay.    How long was your fishing
        2    experience the day of the demonstration going
        3    to last?     How many hours did you intend to say
        4    there?
        5               MR. FRIDAY:      Object to form.
        6               THE WITNESS:      Our -- the entire day
        7         was maybe three to four hours at most, but
        8         we didn't get to fish but maybe 30 minutes
        9         of the day.
       10    BY MR. SWITKES:
       11         Q.    Okay.    So you were intending to stay
       12    three to four hours?
       13         A.    Most -- most of when we go to gather
       14    to go to these fishing gatherings it is for
       15    about three to four hours.
       16         Q.    And during these fishing gathering
       17    demonstrations with Florida Carry --
       18               MR. FRIDAY:      Object to form.
       19    BY MR. SWITKES:
       20         Q.    -- were the other members of your
       21    demonstration fishermen as well, experienced
       22    like yourself?
       23               MR. FRIDAY:      Object to form.
       24               THE WITNESS:      I can't -- I can't
       25         vouch for other people's experience, when


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        1         I don't know them all personally and know
        2         their back stories.       I've been a fisherman
        3         my -- since I was eight years old.           I can
        4         vouch for me.      I can't vouch for how
        5         experienced those other people are.
        6    BY MR. SWITKES:
        7         Q.    Had you ever been fishing with any of
        8    them before the date on Miami Beach?
        9         A.    Maybe Chris and Steven Jenkins,
       10    occasionally, other than that, but in my
       11    personal life it was mostly just me going out
       12    mostly by myself fishing.
       13         Q.    And the exception was this was going
       14    to be a Florida Carry event, correct?
       15         A.    This was going to be Florida Carry
       16    gathering where we all got together to express
       17    our second amendment rights.
       18         Q.    And when you say "express your second
       19    amendment rights," you mean that all of you
       20    would come to South Point Pier armed, correct?
       21         A.    That was their choice.        If they
       22    wanted to come unarmed and -- that was their
       23    choice.    If they wanted to come armed, they
       24    had to follow within the statute.
       25         Q.    And when you went to South Pointe


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        1    Park that day, your intent was to demonstrate
        2    your right to bear arms while fishing,
        3    correct?
        4         A.    Correct.
        5         Q.    And your intent was that you expected
        6    to see authorities from the City of Miami
        7    Beach meet your there, correct?
        8               MR. FRIDAY:      Objection to form.
        9               THE WITNESS:      No.   We don't expect
       10         police to show up, especially after you
       11         contact them.
       12    BY MR. SWITKES:
       13         Q.    And did you contact them?         I thought
       14    you said you did not.
       15         A.    I didn't personally.        I -- I know
       16    that Chris did.
       17         Q.    And how do you know that?
       18         A.    It was -- because it was something
       19    that we always do, we always, prior -- I can't
       20    speak to after that, but that day and
       21    everything prior to that, we had always
       22    contacted law enforcement.
       23         Q.    Okay.    You said someone contacted the
       24    City of Miami --
       25         A.    Yeah, it was --


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        1         Q.    Did anybody contact the City of Miami
        2    Beach, to your knowledge?
        3         A.    Or it was -- it was the City of Miami
        4    Beach, I'm -- sorry about that.          I'm -- I'm --
        5    I keep referring to Miami because I think of
        6    Miami as Miami Beach as well.          But it was
        7    Miami Beach, the chief of police, City
        8    Attorney and FWC were all contacted.
        9         Q.    Well, FWC is not part of Miami Beach,
       10    you --
       11         A.    No, but they are a state oriented
       12    entity that would check fishing licenses as
       13    well.
       14         Q.    And you said you're sure Chris
       15    contacted the City of Miami Beach, how are you
       16    sure about that?
       17         A.    There was a -- I believe there was a
       18    post on Florida Carry about it.
       19         Q.    Okay.    And do you know when he did
       20    that?
       21         A.    I have no -- no recollection of the
       22    day.    I just know I -- I remember seeing it.
       23         Q.    Do you know how he did it?
       24         A.    I believe it was through email.
       25         Q.    And do you know if there was an


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        1    encrypted email that was unable to be opened
        2    by anybody at the City of Miami Beach?
        3          A.     I have no -- no recollection -- I
        4    have no -- I've never spoken to Miami Beach
        5    about any -- any -- anything other than what
        6    I've seen on Facebook.
        7          Q.     Okay.   So you aren't sure that the
        8    City of Miami Beach was contacted.
        9          A.     No, they were contacted.
       10          Q.     By Chris by way of email encrypted
       11    that couldn't be opened, you're aware of that?
       12                 MR. FRIDAY:    Object to form.
       13                 THE WITNESS:    It was -- the email
       14          wasn't directly stated to me but it was
       15          from Chris it was stated it was sent to
       16          the City Attorney, the chief of police and
       17          FWC.
       18    BY MR. SWITKES:
       19          Q.     And have you seen it?
       20          A.     I saw the letter that was written up.
       21          Q.     Did you --
       22          A.     Or the email or whatever -- whatever
       23    photo that he took was posted and I did see
       24    it.
       25          Q.     Did you send it to the City of Miami


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        1    Beach?
        2         A.    I have never sent anything to Miami
        3    Beach.
        4         Q.    Did you send it in response to the
        5    request for production that was sent to you in
        6    regard to this litigation?
        7               MR. FRIDAY:      Object to form.
        8               THE WITNESS:      No, I --
        9    BY MR. SWITKES:
       10         Q.    Why not?
       11         A.    I -- I don't have that -- that
       12    letter.    I didn't collect that letter.           It
       13    wasn't like a letter.        It was a picture of a
       14    letter.
       15         Q.    That you received, why couldn't
       16    you --
       17         A.    I didn't receive it.         I didn't
       18    receive it.     It was not sent to me directly.
       19    It was something I saw on Facebook through the
       20    Florida Carry page.
       21         Q.    And why can't you produce it from the
       22    Facebook page that you saw it from?
       23         A.    We're talking about thousands and
       24    thousands of posts that -- I mean, I could try
       25    to find it, but it was never directly sent to


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        1    me.
        2          Q.     Why didn't you try to find it before
        3    today?
        4          A.     I didn't know I needed to produce
        5    that.      I thought it was already in your hands.
        6          Q.     You're unaware that the -- you filed
        7    a lawsuit in this matter?
        8          A.     What was that?
        9          Q.     You're unaware of the fact that you
       10    filed a lawsuit in this matter?
       11          A.     I understand the lawsuit, but --
       12          Q.     You understand your obligation to
       13    produce all physical evidence or all verbal --
       14          A.     That I have.
       15          Q.     -- or posts or you have access to,
       16    yes, sir.
       17          A.     Oh, if I have to get access to all
       18    that then, yes, I'll -- I guess I'll do my
       19    best to get all that information.
       20          Q.     You didn't understand that until
       21    today?
       22          A.     I did not.
       23          Q.     Okay.   What kind of rod and reel did
       24    you bring on the date of Miami Beach?
       25          A.     I want to say it was a Shimano 5000


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        1    series reel on an ugly stick seven-foot rod.
        2          Q.   And what kind of line did you have?
        3          A.   50 or -- I want to say it was 40
        4    pound braid and probably about 40 pound leader
        5    monofilament.
        6          Q.   And what kind of weight were you
        7    using?
        8          A.   Probably about an ounce.
        9          Q.   And was it your intent to bottom
       10    fish?
       11          A.   Correct.     I had shrimp and squid with
       12    me.
       13          Q.   And would it be fair to say that you
       14    didn't catch anything on the day on Miami
       15    Beach?
       16          A.   Yeah, I was too busy in handcuffs.
       17          Q.   Did you see any traffic in Government
       18    Cut while you were there?
       19          A.   Other than the park ranger.         When I
       20    walked up the only law enforcement or somebody
       21    I thought was law enforcement was the park
       22    ranger.
       23          Q.   Government Cut is the waterway that
       24    you were supposedly fishing in.
       25          A.   Oh.


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        1          Q.    Did you see any traffic on the
        2    waterway?
        3          A.    Boats.
        4          Q.    And what kind of boats?
        5          A.    Average.    Maybe fishing boats.
        6          Q.    How about cruise ships?
        7          A.    No, I didn't see cruise -- there may
        8    have been a cruise ship but I don't -- I don't
        9    -- my -- I was facing the beach side or where
       10    the people are on the beach, so I don't -- I
       11    couldn't tell you if there were any boats
       12    passing me behind.
       13          Q.    Do you see any Coast Guard cutters?
       14          A.    I do not recall.      My face -- I was
       15    faced in a different direction.
       16          Q.    Did you see any pleasure craft,
       17    boats, passing by Government Cut?
       18          A.    I don't know what pleasure boats are.
       19          Q.    You don't know what a pleasure boat
       20    is?    Then let's just make it boats, did you
       21    see any boats?
       22          A.    I did see some boats.
       23          Q.    Did you see any skidoos?
       24          A.    A few, yeah.
       25          Q.    Okay.    How far were you from the --


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        1    where the beach was when you were fishing?
        2         A.    We were on the pier, but in the
        3    direction that I was sitting, lower -- sitting
        4    on the pier, I was facing the beach where the,
        5    you know, people are on the beach.
        6         Q.    I said how far from the beach?
        7         A.    I -- 50 yards, a hundred yards, I
        8    don't know.     I couldn't tell you how far I
        9    was.
       10         Q.    Did you do a video of driving down
       11    from where you were coming from on the date of
       12    the incident?
       13         A.    I started my video out, yes, that's
       14    how I started my video.
       15         Q.    You started the video in what city?
       16         A.    It was probably Port St. Lucie or
       17    Stuart area.
       18         Q.    And it took you approximately how
       19    long to get to Miami Beach?
       20         A.    About two, two and a half hours.
       21         Q.    And you continuously videotaped and
       22    commentated on your way down?
       23         A.    Partially, yes.       I was videotaping
       24    specific -- like as I was going through, you
       25    know, as I hit Jupiter I would take a video of


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        1    the Jupiter sign as I passed it showing people
        2    my direction, kind of.
        3         Q.    And besides showing people a
        4    direction, what were you saying about arriving
        5    on Miami Beach and what were you going to do
        6    there?
        7         A.    We were going to go out and open
        8    carry while we were fishing.
        9         Q.    And you're going out and open carry
       10    hoping that you would meet some people that
       11    would confront you about carrying, correct?
       12         A.    No.    We go out to educate the public
       13    about their gun rights and open carry rights
       14    here in Florida.       We don't go out looking for
       15    police interactions.
       16         Q.    And how were you going to educate
       17    people about your open gun rights?           Did you
       18    have any signs with you that you were carrying
       19    to show people about gun rights?
       20         A.    We did have a flyer that had the
       21    Florida statute stated on it at -- at that --
       22    our fishing gathering.
       23         Q.    You did make copies of it to hand out
       24    to people on the beach?
       25         A.    Yes, we did.


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        1         Q.     Did you hand it out to anybody?
        2         A.     We were unfortunately detained.         We
        3    tried to hand it to the park ranger but he did
        4    not care about the words that were written on
        5    the paper.
        6         Q.     Did you hand it out to anybody that
        7    was walking up and down the beach beside the
        8    park ranger?
        9         A.     I want to say we handed out a couple
       10    prior to us being detailed.
       11         Q.     Okay.   In the other 100
       12    demonstrations that you participated in with
       13    Florida Carry, were you confronted by police
       14    agencies?
       15                MR. FRIDAY:     Object to form.
       16                Go ahead and answer.
       17                THE WITNESS:     Yes, I've been
       18         confronted by police on numerous
       19         occasions.
       20    BY MR. SWITKES:
       21         Q.     Okay.   When you say "numerous," of
       22    the hundred demonstrations you participated
       23    in, tell me approximately what percentage of
       24    the time you were confronted by police
       25    agencies?


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        1               MR. FRIDAY:      Object to form.
        2               THE WITNESS:      Probably maybe under
        3         three percent of my videos I've been --
        4         I've had police interactions probably
        5         about six to seven times, maybe.          Once
        6         again, I have to refer to my videos, but I
        7         think it was about six or seven times that
        8         I've had police interactions, including
        9         Miami Beach.
       10    BY MR. SWITKES:
       11         Q.    Okay.    And you said on video, I'm not
       12    talking about only on video.         How many times
       13    have you been confronted by any police agency
       14    when you're out on a fishing trip with Florida
       15    Carry?
       16               MR. FRIDAY:      Object to form.
       17               THE WITNESS:      Every time I go out and
       18         open carry I carry a GoPro with me.           So
       19         every time that I've -- anything that you
       20         -- all my videos are -- there's probably
       21         not too many instances where there's not a
       22         video out.     So I'm saying six to seven
       23         times and they're all on video.          There's
       24         not -- I'd almost say there's maybe been
       25         three or four times I didn't -- either


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        1         didn't record or didn't post the video.
        2    BY MR. SWITKES:
        3         Q.    So you have approximately how many
        4    videos of your interaction with police during
        5    your hundred demonstrations?
        6         A.    Out of the --
        7               MR. FRIDAY:      Object to form.
        8               THE WITNESS:      -- six times -- I'd say
        9         six to seven times out of a hundred, a
       10         hundred videos.
       11               Approximately.      It could be -- it
       12         could be less, it could be more, but I'm
       13         not -- it's not going to be much more than
       14         six or seven.
       15    BY MR. SWITKES:
       16         Q.    And you have all those videos?
       17         A.    They're all on YouTube, yes.
       18         Q.    Okay.    So you can produce them,
       19    correct?
       20         A.    Yes.
       21         Q.    And during your arrests that you
       22    described previously, did you suffer any
       23    emotional trauma while being arrested?
       24         A.    Emotional, only on the -- the first
       25    one when I was 18, and that was only because I


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        1    was young and I didn't understand the gravity
        2    of what I've gotten into or the problems that
        3    I ran into that day.
        4         Q.    When you say you didn't understand
        5    the gravity, when you're in possession of
        6    cocaine and marijuana --
        7         A.    Yeah.
        8         Q.    -- what in that possession didn't you
        9    understand was the gravity of possession of
       10    drugs?
       11         A.    I just didn't understand how much
       12    trouble that came along with -- with the
       13    possession of that.       I thought --
       14         Q.    You didn't know before you got
       15    arrested that --
       16         A.    I knew that --
       17         Q.    -- you were breaking -- excuse me,
       18    you can't talk over me.
       19         A.    Sorry, buddy.
       20         Q.    I'll give you all the time you need
       21    to answer but don't talk over us, because the
       22    court reporter can't take us down at the same.
       23         A.    I got you, man.
       24         Q.    You didn't understand by being in
       25    possession of cocaine and marijuana, if you


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        1    were stopped you would be arrested and the
        2    consequences of carrying those drugs?
        3               MR. FRIDAY:      Object to form.
        4               THE WITNESS:      I had an idea, just
        5         didn't -- as being young, just didn't
        6         understand the severity of what I had done
        7         wrong.
        8    BY MR. SWITKES:
        9         Q.    And because you didn't understand the
       10    severity of what you had done wrong the first
       11    time you did it again some five or six years
       12    later when you did understand the gravity,
       13    correct?
       14         A.    Yeah.
       15               MR. FRIDAY:      Object to form.
       16               THE WITNESS:      I dealt with -- instead
       17         of messing with a felony I was -- I had
       18         smoked some weed.       I stopped doing -- I
       19         stop -- I tried to stop doing really bad
       20         stuff, you know, me, personally, it's,
       21         like, you know, I have a different outlook
       22         on how marijuana is.        I mean, I understand
       23         it's illegal, but...
       24    BY MR. SWITKES:
       25         Q.    And the disorderly conduct in 2008 or


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        1    '09, you were not concerned emotionally about
        2    that arrest?
        3         A.    No.    Because I defended myself.        I
        4    wasn't -- there -- I wasn't -- other than the
        5    pain, I was -- there was no emotional after
        6    that.
        7         Q.    Were you arrested and taken to jail?
        8         A.    Yes.
        9         Q.    And how long did you spend in jail?
       10         A.    I guess it -- they said I was --
       11    until they said -- I guess it was like the
       12    detox, like three or four hours or whatever.
       13    I sat in their holding tank for four hours and
       14    they released me.
       15         Q.    And that didn't affect you
       16    emotionally at all?
       17         A.    No.
       18         Q.    But somehow being detained in Miami
       19    Beach affected you emotionally?
       20               MR. FRIDAY:      Object to form.
       21               You can answer the question.
       22               THE WITNESS:      Absolutely.     When
       23         you're looking down the barrel of three
       24         firearms for doing a legal right, yes, it
       25         is emotionally disturbing that somebody


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        1         would end your life for doing nothing
        2         wrong.
        3    BY MR. SWITKES:
        4         Q.    But that's not unexpected, because --
        5         A.    It is unexpected -- sorry.
        6         Q.    -- that had happened to you multiple
        7    times before, correct?
        8         A.    To that day, no.       Before Miami Beach
        9    it had never happened.        The only -- I had one
       10    police interaction where they didn't draw
       11    guns, they came and talked to me like a human
       12    being.
       13         Q.    And you're saying the City of Miami
       14    police officer didn't talk to you like a human
       15    being?
       16         A.    They didn't talk.       They -- they
       17    wanted to talk with a weapon and tried to end
       18    my life.
       19         Q.    How long was the weapon drawn on you,
       20    let's -- give me some time frame, four hours
       21    five hours?
       22         A.    At least --
       23               MR. FRIDAY:      Object to form.
       24               THE WITNESS:      The gun was pointed at
       25         me for at least a minute as they walked


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        1         up.   And then I believe that the firearm
        2         was flagged behind me as well where they
        3         -- they kind of took the firearm and
        4         passed it along me, like along my backside
        5         as well.
        6    BY MR. SWITKES:
        7         Q.    What do you mean you believed it was
        8    flagged behind you?
        9         A.    Well, it was flagged.
       10         Q.    What do you mean by flagged?
       11         A.    I've seen the body cam footage and
       12    when they -- when we say flagging, when you
       13    bring your firearm up, the muzzle of the
       14    firearm grazed my back while it was loaded
       15    when they disarmed me.
       16         Q.    And who was it that did that?
       17         A.    I don't know the officer's name.
       18         Q.    Were you handcuffed?
       19         A.    I was handcuffed.
       20         Q.    And who were you handcuffed by?
       21         A.    I don't know the officer's name.
       22         Q.    Do you know if you filed a complaint
       23    which alleges the name of the officer that
       24    handcuffed you?
       25         A.    I did not file -- I, personally, did


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        1    not file a complaint.
        2         Q.    Have you read the complaint?
        3         A.    I have not read any complaints.
        4         Q.    And so if the officer held a gun on
        5    you for, let's say, a minute, were you
        6    intimidated by that?
        7         A.    Absolutely.
        8         Q.    And your intimidation was displayed
        9    in what manner?
       10         A.    My intimidation?
       11         Q.    Yeah.
       12         A.    The fear of my life.
       13         Q.    And you expressed that how?         What did
       14    you say in regard to your intimidation?
       15         A.    I don't even know what's going on.
       16         Q.    Okay.    Well, that's pretty --
       17         A.    That's -- that's --
       18         Q.    -- interesting.       You came down to the
       19    City of Miami Beach with Florida Carry --
       20         A.    Correct.
       21         Q.    -- to demonstrate your right to bear
       22    arms while you were fishing, correct?
       23         A.    Correct.
       24               MR. FRIDAY:      Object to form.
       25    BY MR. SWITKES:


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        1         Q.    And you've done that a hundred times
        2    and you did that for the sole purpose of being
        3    able to demonstrate your right to bear arms,
        4    correct?
        5               MR. FRIDAY:      Object to form.
        6               THE WITNESS:      Prior to Miami Beach,
        7         before you say a hundred, I had probably
        8         been out to three -- three of these open
        9         carry gatherings.       I had three -- I was --
       10         maybe three -- I had done three with a
       11         group and then I had done a couple by
       12         myself.
       13    BY MR. SWITKES:
       14         Q.    Excuse me, you told me you did a
       15    hundred plus demonstrations.
       16         A.    I have a hundred plus videos after
       17    the fact, after -- after Miami Beach on
       18    June 24, 2018, there is probably about a
       19    hundred more videos of me doing open carry
       20    throughout the State of Florida.
       21         Q.    So six or seven demonstrations before
       22    Miami Beach and then almost a hundred after?
       23         A.    It was about, I'd say, three with a
       24    group and maybe three by myself.
       25         Q.    Before Miami Beach?


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        1         A.     Correct.
        2         Q.     And then after Miami Beach a hundred?
        3         A.     Over the last two years, yes.
        4         Q.     Okay.
        5         A.     Or year and a half or however long.
        6         Q.     So you were so intimidated by the
        7    event that you did it a hundred times more,
        8    correct.
        9         A.     I was not --
       10                MR. FRIDAY:     Object to form.
       11                Go ahead and answer.
       12                THE WITNESS:     There's not -- it's not
       13         about the intimidation.        It was about
       14         trying to express the right and educating
       15         the public that it is a legal right.
       16    BY MR. SWITKES:
       17         Q.     So when the officers arrived because
       18    you were so upset and so emotionally
       19    distraught about it, what did you tell the
       20    officers?
       21         A.     Can you read that piece of paper, it
       22    has the Florida statute on it.
       23         Q.     What else did you say?
       24         A.     Um, I catch bigger fish than you are
       25    tall.


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        1         Q.    That's sound like someone that's very
        2    intimidated.
        3               MR. FRIDAY:      Object to form.
        4    BY MR. SWITKES:
        5         Q.    That comment was made in what regard?
        6               MR. FRIDAY:      Object to form.
        7    BY MR. SWITKES:
        8         Q.    Go ahead, answer the question.
        9               MR. FRIDAY:      I do not appreciate,
       10         Mr. Switkes, the argumentative nature of
       11         the questions you are asking.
       12               Go ahead and answer the question.
       13    BY MR. SWITKES:
       14         Q.    Answer the question.
       15         A.    I said numerous things.        I mean, it
       16    was between this is a bunch of BS.
       17         Q.    Wait a second.      You didn't say BS.
       18    You said bullshit.
       19         A.    Okay.    Yeah, I don't -- bullshit,
       20    yeah.
       21         Q.    So you were so intimidated by the
       22    presence of the police officers that you said,
       23    This is bullshit, in a very loud tone,
       24    correct?
       25               MR. FRIDAY:      Object to form.


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        1               THE WITNESS:      I did say "This is bull
        2         shit," because I had never been treated
        3         like that ever out of the six times that
        4         I've been out before.
        5    BY MR. SWITKES:
        6         Q.    Is that what you said on the video or
        7    did you say, This is bullshit, without, "I've
        8    never been treated" six or seven times before?
        9               MR. FRIDAY:      Object to form.      The
       10         video speaks for itself.
       11               MR. SWITKES:      Counsel, that's a
       12         speaking objection.       Make your objections
       13         to the form or a privilege.         Don't make
       14         speaking objections.
       15    BY MR. SWITKES:
       16         Q.    Do you remember my question?
       17         A.    Yeah.
       18         Q.    Okay.
       19         A.    I said, This is bullshit.         I didn't
       20    say this is --
       21         Q.    So I'm asking you what you said.            So
       22    I'd ask you not to make commentary on what you
       23    said now in the deposition.         When I ask you
       24    what you said at the time, I want you to tell
       25    me what you said, okay.        Do you understand the


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        1    question?
        2         A.     Yeah, I understand it.
        3         Q.     Okay.
        4         A.     And, once again, I'd have to really
        5    refer back to it because the video speaks for
        6    itself.
        7         Q.     Okay.   Did you --     see, that's why we
        8    don't have speaking objections, because then
        9    you're going to mimic what your attorney said.
       10                So you have to answer my questions.
       11         A.     I'm trying to answer them --
       12         Q.     Okay.
       13         A.     -- but it's been a year and a half.
       14         Q.     Did you in a loud voice say to the
       15    officers, You are nuts?
       16         A.     Yeah, I said, This is crazy -- or I
       17    think it was crazy, but it could be nuts.
       18         Q.     Does that in anyway, in your opinion,
       19    show you were intimidated by the officers?
       20                MR. FRIDAY:     Object to form.
       21                THE WITNESS:     Yes, that is
       22         intimidation.      When you come and show up
       23         with guns and I think it's crazy that you
       24         would show up and point a gun at somebody
       25         that's following the law.


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        1    BY MR. SWITKES:
        2         Q.    Okay.    But, sir, we're talking about
        3    you're intimidated and your emotional upset.
        4               Typically when people are emotionally
        5    upset and intimidated they either don't talk
        6    or they display some kind of emotion
        7    indicating they're upset.
        8         A.    Yeah.
        9         Q.    You were actually egging on the
       10    police by yelling at them continuously during
       11    the whole time you're on video, weren't you?
       12               MR. FRIDAY:      Object to form.
       13               Go ahead and answer.
       14               THE WITNESS:      I was angry and that
       15         was me showing my -- my frustrations about
       16         what was going on, because it was not
       17         acceptable.
       18    BY MR. SWITKES:
       19         Q.    What else were you saying to them, do
       20    you remember?      You're going to make me rich?
       21         A.    No, never said that.
       22         Q.    Weren't the other members of your
       23    demonstration essentially trying to calm you
       24    down by saying --
       25               MR. FRIDAY:      Object to form.


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        1    BY MR. SWITKES:
        2         Q.     -- Mr. Friday is going to take care
        3    of this, repeatedly?
        4                MR. FRIDAY:     Object to form.
        5    BY MR. SWITKES:
        6         Q.     Didn't you hear that from your other
        7    members?
        8         A.     They might have said it.        But, once
        9    again, I -- if they said it, obviously I
       10    wasn't listening to what they were saying.
       11         Q.     You weren't going to stop yelling at
       12    the officers even if your fellow members were
       13    trying to calm you down, correct?
       14         A.     I was frustrated with the officers
       15    and what I personally, how I felt.           I wanted
       16    to let them know how -- my frustrations, yes.
       17         Q.     Okay.   That doesn't sound like
       18    intimidation, yelling at the officers sounds
       19    like you're trying to provoke the officers,
       20    doesn't it?
       21                MR. FRIDAY:     Object to form.
       22                THE WITNESS:     I think it's
       23         intimidation for law enforcement to point
       24         a gun at somebody that's not breaking the
       25         law.


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        1    BY MR. SWITKES:
        2         Q.    Okay.    But this is long after the
        3    guns were put back in their holsters, right?
        4    You're saying in your complaint, and we'll go
        5    through that, that you were there for some two
        6    hours plus.
        7         A.    Uh-huh.
        8         Q.    Correct?       You can't say uh-huh.
        9         A.    Yes.    Yes.
       10         Q.    And during that time this one
       11    person's voice is continuing to harangue the
       12    officers and that's your voice, correct?
       13               MR. FRIDAY:      Object to form.
       14               THE WITNESS:       Do I not have a first
       15         amendment right to speak how I want?
       16    BY MR. SWITKES:
       17         Q.    The question is not whether you have
       18    a right.     The question is you continually were
       19    yelling at the officers, correct?
       20               MR. FRIDAY:      Object to form.
       21               THE WITNESS:       I won't say it was
       22         yelling but it was definitely --
       23    BY MR. SWITKES:
       24         Q.    What would you characterize it as?
       25         A.    It was voicing my opinion.


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        1         Q.    In a very loud voice?
        2         A.    It was -- it was loud enough for me
        3    to speak to my -- my microphone could hear it.
        4         Q.    So your what could hear it?
        5         A.    The microphone on my camera.
        6         Q.    So you were, in essence,
        7    broadcasting --
        8         A.    No.
        9         Q.    -- for future reference the comments
       10    and making it loud enough for your video feed
       11    to pick it up?
       12               MR. FRIDAY:      Object to form.
       13               THE WITNESS:      No.
       14    BY MR. SWITKES:
       15         Q.    What do you mean, no?        You just said
       16    that?
       17         A.    No.    I make sure that, because of
       18    documentation, I don't know if your officers'
       19    body cams or anything like that would have
       20    shown up or would have been accessible, so my
       21    video is my protection against things like
       22    that.
       23         Q.    Okay.    Your constantly yelling at the
       24    officers is protection from what?
       25               MR. FRIDAY:      Object to form.


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        1                  THE WITNESS:    That was my frustration
        2          with the officers for doing what they had
        3          done.
        4    BY MR. SWITKES:
        5          Q.      Okay.   Were the other members of your
        6    demonstration yelling at the officers like you
        7    were?
        8                  MR. FRIDAY:    Object to form.
        9                  THE WITNESS:    Don't know.
       10    BY MR. SWITKES:
       11          Q.      Okay.
       12          A.      I can't speak for all of them.       I can
       13    only speak for myself.         I can't -- I can't
       14    remember hearing any of them about anything.
       15    I can't remember if they said anything.
       16          Q.      Well, you have heard and watched the
       17    video, haven't you, since the time you took
       18    it?
       19          A.      I haven't watched that video for
       20    almost a year and a half.
       21          Q.      Okay.   But you watched it since the
       22    incident how many times?
       23          A.      Prior -- after the incident?
       24          Q.      Yes, sir.
       25          A.      I watched it for a good, maybe, three


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        1    days after the fact and posted the video and
        2    tried not to watch it because it always
        3    brought back that -- the -- when they pulled
        4    the guns on us that I was that close to my
        5    life being taken.
        6         Q.    When you say that close to your life
        7    being taken --
        8         A.    Correct.
        9         Q.    -- are you serious?
       10         A.    Yes.    That was -- I was a trigger
       11    pull, I was four and a half pounds away from
       12    losing my life.
       13         Q.    You're a gunman, correct?
       14         A.    I'm a -- I know about guns.
       15               MR. FRIDAY:      Object to form.
       16    BY MR. SWITKES:
       17         Q.    How long have you had a gun?
       18         A.    Probably just over two years, two or
       19    three years.
       20         Q.    So the first time you bought a gun
       21    was in what year?
       22         A.    2017-ish, I think.
       23         Q.    Have you had any training in guns?
       24         A.    Yes.
       25         Q.    And where did you do your training?


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        1         A.    At the gun range.
        2         Q.    The gun range is located where,
        3    what's its name?
        4         A.    Lotus Gunworks.
        5         Q.    Lotus?
        6         A.    Lotus Gunworks.
        7         Q.    And where is that located?
        8         A.    Jensen Beach.
        9         Q.    And how often do you go there?
       10         A.    At least maybe twice to three times a
       11    month.
       12         Q.    And what kind of guns do you own?
       13               MR. FRIDAY:      Object to form.      I'm
       14         instructing you do not answer that
       15         question.
       16    BY MR. SWITKES:
       17         Q.    Okay.    What kind of gun did you have
       18    on your person on the day of the
       19    demonstration?
       20         A.    I had a Glock 23.
       21         Q.    And how familiar are you with that
       22    weapon?
       23               MR. FRIDAY:      Object to form.
       24               THE WITNESS:      Very -- very capable
       25         and understanding of my firearm.


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        1    BY MR. SWITKES:
        2          Q.   Have you ever fired that firearm?
        3          A.   Only at targets.
        4          Q.   And what kind of ammunition did you
        5    have on the day?
        6          A.   Forty caliber ammunition.
        7          Q.   How many --
        8          A.   I believe it was --
        9          Q.   -- in the clip.
       10          A.   I don't -- I don't know what a clip
       11    is.
       12          Q.   Do you know what a magazine is?
       13          A.   I do know what a magazine is.          I
       14    don't know what a clip is.         But I -- I believe
       15    I had 27 rounds with me that day.
       16          Q.   And your magazine on that weapon when
       17    it was holstered had how many bullets?
       18          A.   It was 13 in the magazine.
       19          Q.   And one in the chamber?
       20          A.   Yes.
       21          Q.   Have you ever shot your gun during a
       22    fishing event?
       23          A.   Never.
       24          Q.   Have you ever shot your gun in other
       25    than at a range?


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        1         A.    No.
        2         Q.    Do you ever go hunting?
        3         A.    No.
        4         Q.    Do you ever go camping?
        5         A.    Yes.
        6         Q.    Do you take your gun with you on
        7    camping trips?
        8         A.    Yes.
        9         Q.    When was the last time you went
       10    camping?
       11         A.    2019, and I want to say it was in
       12    March.
       13         Q.    And where did you go?
       14         A.    February or March.       I can't remember
       15    the exact month.
       16         Q.    Where did you go camping?
       17         A.    Dunnellon Springs.
       18         Q.    Before the date of the demonstration
       19    had you ever been to South Pointe Park?
       20               MR. FRIDAY:      Object to form.
       21               THE WITNESS:      Yes.
       22    BY MR. SWITKES:
       23         Q.    When prior to the demonstration had
       24    you been at South Pointe Park?
       25               MR. FRIDAY:      Object to form.


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        1                 THE WITNESS:    I'm going to -- I want
        2         to say in 2016 on our way down to the
        3         Keys.
        4    BY MR. SWITKES:
        5         Q.      And you said on "our way down," who
        6    was with you?
        7         A.      My wife.
        8         Q.      And what did you do at South Pointe
        9    Park?
       10         A.      We just came to South Beach for,
       11    like, I'd say five hours, four or five hours
       12    just to kind of take in some sites and hang
       13    out in South Beach for -- before our final
       14    trip all the way down to the Keys.
       15         Q.      Okay.   You didn't fish?
       16         A.      Didn't fish.    Just came down to take
       17    in -- you know, I was on our honeymoon.
       18         Q.      Had you ever fished in Dade County
       19    before the date of the demonstration?
       20         A.      Yes.
       21         Q.      And where did you fish?
       22         A.      I can't even -- it was a retention
       23    pond in -- it's gonna go back in 2000 -- I
       24    want to say 2012.
       25         Q.      So --


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        1         A.    But it -- that one's been so long, so
        2    I can't -- I can't even be really specific,
        3    and it was just a retention pond at a buddy's
        4    house.
        5         Q.    Okay.    And that's the only other time
        6    you've fished in Miami?
        7         A.    In Miami, yes.
        8         Q.    So you personally did not advise
        9    anyone at the City of Miami Beach that you
       10    were coming to demonstrate before the
       11    demonstration, correct?
       12               MR. FRIDAY:      Object to form.
       13               Asked and answered.
       14               THE WITNESS:      I have never -- I had
       15         -- I've never contacted anybody about
       16         coming, other than through our Facebook
       17         group, other than saying I'm going, hope
       18         to see you there.
       19    BY MR. SWITKES:
       20         Q.    Okay.    You were asked in
       21    interrogatories what you did in the 24 hours
       22    before coming to Miami Beach, can you answer
       23    that question for me now?
       24         A.    I had worked from three -- I want to
       25    say about three o'clock until 11 p.m.            I got


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        1    home, started charging GoPros, packing fishing
        2    gear, getting the fishing poles ready, and I
        3    had been drinking some beers as well.
        4         Q.    How many?
        5         A.    I think I had maybe five to six
        6    beers.
        7         Q.    Between what hours?
        8         A.    From eleven o'clock until two,
        9    three o'clock in the morning.
       10         Q.    And then you got up at what time?
       11         A.    6:00.    Six-ish.     6:00, 6:30.
       12         Q.    And what time did you leave your
       13    home?
       14         A.    Right around that same time, 6:00 --
       15    when I woke up my wife was getting ready for
       16    -- for work and then when she woke me up my
       17    stuff was already packed and I loaded my
       18    stuff, took her to work, and then drove
       19    directly to Miami Beach.
       20         Q.    How long did it take you to get to
       21    Miami Beach?
       22         A.    Two, two and a half hours.
       23         Q.    And so you arrived approximately what
       24    time?
       25         A.    Around 9:00, 9:15ish, I think.


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        1         Q.     And you were videotaping on your way
        2    down?
        3         A.     I did videotape on the -- on parts of
        4    the way down, yes.       Not the whole way down but
        5    parts.
        6         Q.     And what were you videotaping?         What
        7    were you commenting about?
        8         A.     Signage.    I didn't so much comment on
        9    anything.     It was me kind of starting out.          On
       10    my YouTube videos I always start out with,
       11    hey, this is Soloyaker, I'm heading to Miami
       12    Beach, and just kind of letting -- kind of
       13    narrating the video.
       14         Q.     You were asked in your
       15    interrogatories your employment history, the
       16    last ten years before this, you gave Lusa,
       17    L-U-S-A.
       18         A.     That's current.      Right, that's
       19    current.
       20         Q.     That's your current employer?
       21         A.     Correct.
       22         Q.     And then you said you worked at
       23    Hoodz, H-O-O-D-Z.
       24         A.     Correct.
       25         Q.     You didn't mention that when I asked


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        1    you previously.
        2         A.    Yeah, sorry about that.        Like I said,
        3    I was trying to recall all the jobs prior.
        4    And Hoodz was a cleaning -- exhaust fan
        5    cleaning job that I did.
        6         Q.    Why did you leave there?
        7         A.    Just wasn't my cup of tea.
        8         Q.    Okay.    So you worked at Lusa,
        9    according these sworn answers, from
       10    January 7th to the present.         And before that
       11    you worked at Hoodz from July to September of
       12    '19 and then before that you worked at Sam
       13    Sneads this says.
       14         A.    Oh yeah.
       15         Q.    You didn't mention that when I asked
       16    you.
       17               MR. FRIDAY:      Object to form.
       18    BY MR. SWITKES:
       19         Q.    Why?
       20         A.    Once again, I've -- you were asking
       21    about a lot of jobs and...
       22         Q.    You would certainly remember the last
       23    few, wouldn't you?
       24         A.    Yeah, I definitely don't -- once
       25    again, a lot of jobs and some of them I wish I


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        1    had never worked at, so I kind of forget about
        2    them.
        3         Q.    When you say you wished you never
        4    worked at, what do you mean by that?
        5         A.    That place, Sam Sneads was serving
        6    food that was almost ten days old.           I had said
        7    something to management numerous times and
        8    they failed to listen and I wish I'd never
        9    worked there.
       10         Q.    You certainly gave me a lot more
       11    names than you gave under oath in these
       12    answers.     You stopped at 2017 in this.         Why
       13    couldn't you remember those dates when you
       14    answered these under oath but remembered them
       15    today?
       16         A.    Once again, you were asking for a
       17    bunch of stuff and I'm sitting here trying to
       18    remember everything, so --
       19         Q.    When --
       20         A.    And like you said, there's a lot
       21    of --
       22         Q.    Not when you're sitting here.          This
       23    is when you had the ability to go over your
       24    records and meet with your attorney and answer
       25    them under oath.       How was it that you forgot


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        1    all of the jobs before August of 2017 under
        2    oath?
        3         A.    Because I thought you were only
        4    asking about jobs prior to the incident.
        5         Q.    So you didn't read the question that
        6    said for the ten years before the incident?
        7         A.    Must have just -- nah, I guess not.
        8         Q.    When I asked you in Question 7, did
        9    you consume any alcoholic beverages or take
       10    any drugs, medication or other substances that
       11    might affect your physical or mental ability
       12    within 72 hours, you didn't say under oath
       13    that you had five or six beers within that
       14    period of time, did you?
       15               MR. FRIDAY:      Object to form.      I'm
       16         going to instruct him not to answer until
       17         I have a chance to review exactly what
       18         that answer is myself.
       19               MR. SWITKES:      It has nothing to do
       20         with your client answering.
       21    BY MR. SWITKES:
       22         Q.    Answer the question.
       23               MR. FRIDAY:      No, he's not going to
       24         answer the question.        I'm looking -- I'm
       25         looking up the answer that was provided.


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        1               MR. SWITKES:      Okay.   Counsel, that's
        2         totally inappropriate.        I have no idea how
        3         you think you can tell the witness not to
        4         answer a question until you look up his
        5         answers.
        6               MR. FRIDAY:      Mr. Switkes, I'm not
        7         going to coach him on his answer.           I am
        8         trying to review something.         I'm asking
        9         for a minute to review my records, it's
       10         all I'm asking for.
       11               THE WITNESS:      Can I use the restroom?
       12               MR. SWITKES:      We'll take a
       13         five-minute break.
       14               THE VIDEOGRAPHER:       Off the record at
       15         10:59.
       16               (Recess was taken.)
       17               THE VIDEOGRAPHER:       Back on the record
       18         at 11:02.
       19               MR. FRIDAY:      Madam Court Reporter,
       20         could you read back the last question for
       21         me.
       22               (The question:      When I asked in
       23         Question 7 did you consume any alcoholic
       24         beverages or take any drugs, medication or
       25         other substances that might affect your


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        1         physical or mental ability within 72
        2         hours, you didn't say under oath that you
        3         had five or six beers within that period
        4         of time, did you, was read by the court
        5         reporter.)
        6               MR. FRIDAY:      Object to the form.
        7    BY MR. SWITKES:
        8         Q.    Answer the question.
        9               MR. FRIDAY:      I'm going to object to
       10         the form of the question.
       11               MR. SWITKES:      Don't make a speaking
       12         objection, Counsel.
       13               You can object to the form.         I think
       14         you've done that.
       15               MR. FRIDAY:      I'm going to object to
       16         the form of the question and I am going to
       17         ask that if you are going to ask him about
       18         the interrogatories, that you either
       19         provide him with a copy or accurately
       20         quote both the objection and what was said
       21         in response to that interrogatory,
       22         Mr. Switkes.
       23    BY MR. SWITKES:
       24         Q.    Go ahead, answer the question, sir.
       25         A.    Before -- I didn't know it was


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         1    72 hours.
         2         Q.     What do you mean you didn't know?         I
         3    just read the question to you, it specifically
         4    says within 72 hours preceding the incident
         5    described in your complaint.
         6         A.     Yeah, I took no drugs or anything,
         7    but the alcohol, I drank five beers prior to
         8    that --
         9         Q.     Five to six you said.
        10         A.     Five to six, yes.
        11         Q.     Okay.   Why didn't you put that down
        12    under oath when you answered these?
        13                MR. FRIDAY:    Object to form.
        14         Mr. Switkes it discloses on there he drank
        15         alcohol.    I don't know why --
        16                MR. SWITKES:     Counsel, you are making
        17         speaking objections.
        18                MR. FRIDAY:    You're mischaracterizing
        19         what his answer says, sir.
        20                MR. SWITKES:     Excuse me, you're in
        21         federal court in this lawsuit and the
        22         rules specifically provide there are no
        23         speaking objections.       You've done it
        24         multiple times.       I don't want to terminate
        25         the deposition and ask the judge to


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         1         instruct you that you can't do that, you
         2         should know that.
         3               You can't -- making speaking
         4         objections.     You have a chance to
         5         cross-examine the witness when I finish
         6         and you can then do whatever you'd like to
         7         do.
         8               During my examination you can object
         9         to the form, you can instruct him if
        10         there's a privilege, other than that
        11         you're not supposed to make speaking
        12         objections.
        13               MR. FRIDAY:     If you're going to sit
        14         here and mischaracterize what the answer
        15         in the interrogatory is, then I'm going to
        16         -- I'm going to object to it.
        17               MR. SWITKES:     You can object, but you
        18         can't do so with a speaking objection.
        19    BY MR. SWITKES:
        20         Q.    In fact, in these answers to
        21    interrogatories you dealt with -- you did that
        22    with the assistance of your counsel, didn't
        23    you?
        24         A.    What's that?
        25         Q.    Answer these questions under oath.


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         1         A.    I answered the questions in -- in the
         2    way I was supposed -- like when I was asked
         3    the questions I answered the questions to the
         4    best --
         5         Q.    Did you answer them with the
         6    assistance of your counsel, yes or no?
         7         A.    No.   I -- I was -- he didn't tell me
         8    what to say, if that's what you're asking.
         9         Q.    I didn't ask you that.        I said with
        10    the assistance of your counsel.
        11         A.    He asked the questions, I answered
        12    them.
        13         Q.    Question Number 10, I asked you:          Did
        14    you have or were you suffering from any
        15    physical, mental or other medical infirmity,
        16    condition, injury, disorder, disability, pain,
        17    sickness or other limitation at or around the
        18    time of the incidents described in your
        19    complaint or at any time in the ten years
        20    prior to the incidents described in your
        21    complaint?
        22               If yes, please describe with
        23    specificity (including the nature of the
        24    infirmity, the diagnosis and prognosis, the
        25    full name and address of the treating


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         1    physician and/or mental health provider,
         2    facility, and the dates of treatment).
         3                Do you remember that question, sir?
         4         A.     Vaguely.     I do remember it, because I
         5    explained that I had shoulder impingement
         6    syndrome, I had gone to the urgent care in
         7    Port St. Lucie, and that's -- and I didn't
         8    know I had shoulder impingement.          I thought it
         9    was a rotator cuff issue until they
        10    rediagnosed it as shoulder impingement
        11    syndrome.
        12         Q.     But you specifically went to treat
        13    for physical, mental or other medical
        14    infirmities, correct?
        15         A.     Yes, I went to --
        16         Q.     And your answer was:      Plaintiff had a
        17    prior shoulder impingement syndrome to the
        18    right shoulder.        Plaintiff was not currently
        19    under treatment and does not recall the last
        20    treatment date or location.
        21                Today you gave us you that you had an
        22    urgent care visit or two, correct?
        23         A.     There was an urgent care in Port
        24    St. Lucie for the right shoulder and there was
        25    -- there was an incident in Daytona Beach.


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         1         Q.     So why did you say that you not
         2    recall the location?
         3         A.     Because I don't know -- because I
         4    can't find it.
         5         Q.     You just told us the location, you
         6    gave us two cities --
         7         A.     Well, I gave you the city --
         8         Q.     Excuse me, you're interrupting my
         9    question.     Take a breath, let me finish my
        10    question and you can answer.
        11                You just give us the cities where you
        12    visited the urgent care centers, why didn't
        13    you do that under oath?
        14         A.     I thought I did.     I -- to my
        15    knowledge I thought I said I went to one in
        16    Ormond for the incident that happened that I
        17    explained about --
        18         Q.     I just read word for word your
        19    answer, would you like to look at it?
        20         A.     Sure.
        21         Q.     See if you put down Ormond -- Number
        22    10 there, sir.      Did you put down out any
        23    locations there?
        24         A.     Once again, I don't -- I didn't have
        25    the addresses.


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         1         Q.    The question was:      Did you put down
         2    any locations?
         3         A.    I thought I had did.
         4         Q.    But the answer is you didn't,
         5    correct?
         6         A.    Correct.
         7         Q.    But you have records of those,
         8    correct?
         9         A.    I don't have personal -- they're not
        10    in my possession.      I can get them from the --
        11    one -- one of the urgent cares I can't.            I
        12    don't know if it's still open, but the other
        13    one is right around the corner from my house.
        14         Q.    And the next question, Number 11, is:
        15    Identify and provide the name, address and
        16    phone number for each and every healthcare
        17    provider, including, but not limited to,
        18    medical doctors, physicians, psychiatrists,
        19    dentist, psychologists, therapists, licensed
        20    social workers, faith healers, hospitals,
        21    clinics, substance abuse treatment centers and
        22    other institutional providers of health care
        23    who have treated, council or examined you at
        24    any time within the last ten years preceding
        25    the date of your response and state as to


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         1    each, the dates of examination or treatment,
         2    the nature of the care or treatment, the
         3    condition or injury for which you were
         4    examined or treated and the
         5    diagnosis/prognosis for each condition or
         6    injury (or disability if applicable, for which
         7    you were examined or treated.
         8               You were objected to that, correct?
         9         A.    I don't know.
        10         Q.    This interrogatory is overbroad and
        11    unduly burdensome and is subject to privilege.
        12               Now you put down, Defendant
        13    previously treated at an, A-N, urgent care
        14    facility in Daytona Beach.        It doesn't list
        15    the name and address, the phone number, the
        16    names of the healthcare providers or anything
        17    else that you had the ability to obtain before
        18    you answered these under oath, correct?
        19         A.    I could not obtain the ones from
        20    Daytona Beach because, once again, it was -- I
        21    looked for it and I could not find it.
        22         Q.    So the other one you gave us?
        23         A.    Was Port St. Lucie.
        24         Q.    And you couldn't locate it but you
        25    could say it today?


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         1         A.     I -- yes.
         2         Q.     Number 13 is:     Do you contend you
         3    have lost any income, and it goes into great
         4    length.
         5                And your answer to that question,
         6    without saying the whole question, was:            Yes,
         7    the amount of lost wages is still being
         8    determined.     I'm awaiting information from a
         9    prior employer.      Will supplement this
        10    response.
        11                Number 1, who were you working for
        12    that you claim you lost income from?
        13         A.     The Shores Resort and Spa.
        14         Q.     And why couldn't you determine how
        15    much time you missed from work?
        16         A.     Because I have not -- I haven't
        17    worked there in over -- almost a year and a
        18    half.
        19         Q.     So you worked there from when to
        20    when?
        21         A.     I worked there up until, I believe,
        22    in July.    I believe it was July of that year.
        23         Q.     Of that year being 2018?
        24         A.     2018, correct.
        25         Q.     And the incident in Miami Beach was


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         1    June 24, 2018?
         2         A.     Correct.
         3         Q.     Are you contending that you missed
         4    any time whatsoever after that incident as a
         5    result of the incident?
         6         A.     Yes, I'm just waiting on the -- the
         7    -- from the general manager there.
         8         Q.     You're waiting for what?
         9         A.     I'm trying to see if I -- how many
        10    days I missed after the incident, because I
        11    had gone to the doctor and I was -- I believe
        12    I was put in a sling, you know, was on
        13    steroids.
        14         Q.     You had gone to what doctor?
        15         A.     To that urgent care in Port
        16    St. Lucie.
        17         Q.     And it's your best recollection that
        18    you missed how much time?
        19         A.     It might have been a few days.         I --
        20    I don't want to state how many.          It just -- it
        21    was probably a few days until my shoulder felt
        22    a little bit better so I can -- and, once
        23    again, I was on limited duty, I believe, as
        24    well.
        25         Q.     A few days is how many days?


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         1         A.      Maybe two.
         2                 MR. FRIDAY:    Object to form.
         3                 THE WITNESS:    I -- I really don't
         4         know.     Three days -- three to five days.
         5         I don't -- I don't know.
         6    BY MR. SWITKES:
         7         Q.      Two to three to five?
         8         A.      Yeah.   It's somewhere in there.       I
         9    don't -- I don't know.
        10         Q.      How much were you earning at that
        11    time?
        12         A.      Fourteen an hour.
        13         Q.      And how many days a week were you
        14    working before the incident?
        15         A.      I was working five days a week 40
        16    hours plus a week.
        17         Q.      And what days of the week were you
        18    working?
        19         A.      They were -- they were -- they
        20    varied.      Mostly through the -- mostly through
        21    weekends, but, then again, that's, you know,
        22    it was --
        23         Q.      And June 24, 2018 was what day of the
        24    week?
        25         A.      I believe it was a Saturday.


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         1         Q.    So you weren't going to work?
         2         A.    I requested the day off.
         3         Q.    What hours were you working?
         4         A.    I was working at night.
         5         Q.    From what hours to what hours?
         6         A.    Three to -- three to 11, three to
         7    10:30, three to 11:00-ish.
         8         Q.    So three p.m. to 11:00 p.m.-ish?
         9         A.    Yeah, it -- it varied, depending on
        10    how quick we got our -- our station cleaned
        11    and cleaned the kitchen.
        12         Q.    And your requested Saturday off, so
        13    the next day you would have been working would
        14    have been Sunday?
        15         A.    Correct.
        16               MR. FRIDAY:     Object to form.
        17    BY MR. SWITKES:
        18         Q.    And then you would have been off what
        19    days of the week thereafter normally?
        20               MR. FRIDAY:     Object to form.
        21    BY MR. SWITKES:
        22         Q.    Is the restaurant closed on Monday?
        23         A.    No, it -- my schedule varied
        24    depending on -- on what days.         I didn't have
        25    like you're working Monday through Friday,


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         1    that wasn't my schedule.        My schedule -- I
         2    could have had Tuesday and Saturday off or
         3    Wednesday and Thursday off.         It varied.     I
         4    couldn't -- there was no set schedule.
         5         Q.     And who set your schedule, you or
         6    your --
         7         A.     The chef.
         8         Q.     The chef.    And your position was
         9    what?
        10         A.     Line chef.
        11         Q.     Who was the chef?
        12         A.     I believe his name was Mike Vogler.
        13         Q.     V-O-G-L-E-R?
        14         A.     I believe so, yes.
        15         Q.     And he was the one who set your
        16    schedule?
        17         A.     Correct.     He was the chef, he was in
        18    control of scheduling and everything.            He's
        19    the manager, basically.
        20         Q.     Did you have a problem with him?
        21         A.     Not at the beginning.
        22         Q.     How about at the end?
        23         A.     When -- yes.
        24         Q.     What was your problem?
        25         A.     False -- he told me that I would be


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         1    -- I would be getting a promotion and -- and
         2    ended up giving the promotion to somebody
         3    else.
         4         Q.    And you thought that was unfair?
         5         A.    That was one of the reasons why I
         6    left.
         7         Q.    Okay.    So your total sum of lost
         8    wages would be the number of days immediately
         9    pri -- subsequent to the incident in Miami
        10    Beach for as many days as you're off, you
        11    think it's two or three up to a maximum five?
        12               MR. FRIDAY:     Object to form.
        13               THE WITNESS:     Possibly.     Once
        14         again --
        15    BY MR. SWITKES:
        16         Q.    What do you mean possibly?
        17         A.    I just have to get -- I'm trying to
        18    still get that information.
        19         Q.    But the maximum would be five?
        20         A.    At most, yeah.
        21         Q.    Okay.
        22         A.    Max.
        23         Q.    And after you left there where did
        24    you go work?
        25         A.    I want to say -- I want to say it was


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         1    -- I want to say it was Spotos.
         2         Q.    Can you spell that for me?
         3         A.    S-P-O-T-O-S, I believe it was.
         4         Q.    And that's located where?
         5         A.    In Stuart, Florida.
         6         Q.    And what was your job there?
         7         A.    Line chef -- or a sous chef.
         8         Q.    And when you applied there did you
         9    tell them that you had any physical
        10    limitations whatsoever?
        11         A.    No.
        12         Q.    How long were you there?
        13         A.    I was there nine months.
        14         Q.    And after that?
        15         A.    Oh, man, I'm trying -- I'm really
        16    trying to think.
        17         Q.    We're talking the most recent jobs,
        18    this shouldn't be too hard for you.
        19               MR. FRIDAY:     Object to form.
        20               THE WITNESS:     The one directly after
        21         that I -- I honestly, like, I'm trying to
        22         think of what job I had after that, after
        23         Spotos.
        24    BY MR. SWITKES:
        25         Q.    You left Spotos in 2018?


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         1         A.     I think so.
         2         Q.     You don't remember where you worked
         3    after that?
         4         A.     To be perfectly honest, I don't
         5    remember.     Like once I leave a job I kind of
         6    forget of when I've worked there.          It's
         7    something I put in the past.         It's not
         8    something I just recall, you know, it's not
         9    like I have a --
        10         Q.     You're talking about last year,
        11    right?
        12         A.     Yeah.
        13         Q.     You can't remember where you worked
        14    last year?
        15         A.     I've had several jobs over the last
        16    couple of, like --
        17         Q.     Give me the jobs you had over the
        18    last year or so.
        19         A.     We got Luso's, we got Hoodz, we got
        20    Spotos.
        21         Q.     At any of those jobs did you tell
        22    them you had any physical limitations
        23    whatsoever?
        24         A.     No.
        25         Q.     Did you tell them that you had any


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         1    mental limitations whatsoever?
         2         A.    No.
         3         Q.    Were you able to perform your jobs at
         4    those locations?
         5         A.    Absolutely.
         6         Q.    Now, Question Number 14 in those same
         7    interrogatories stated:        State in full detail
         8    the entire factual basis for your claims
         9    against each Defendant officer in your
        10    complaint, including all facts, actions or
        11    omissions that you allege form the basis for
        12    each of your claims against each Defendant
        13    officer in this lawsuit and upon which you
        14    rely in support of your contentions that each
        15    or any of these officers unlawfully stopped,
        16    searched, detained, arrested, battered or
        17    assaulted you and/or lawful -- unlawfully
        18    searched and seized your property and
        19    committed any other wrongdoing or improper act
        20    or omission that has harmed you in any way.
        21               Do you recall that question?
        22         A.    Yes.
        23         Q.    Okay.    Let's start with the officers,
        24    what officer do you claim in any way violated
        25    your individual rights?


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         1         A.    Every one of them.
         2         Q.    Okay.
         3         A.    The fact that none of them knew the
         4    law and they were all -- they're all comp --
         5    compliant in violating my rights because they
         6    could've stopped it at any point.
         7         Q.    Okay.    But how many individual
         8    officers did you sue, sir?
         9         A.    I believe it's twelve plus the city
        10    manager and the chief.
        11         Q.    Okay.    I want you to start with
        12    Officer Michael Garcia.        I want you to tell me
        13    what, in any way, did Michael Garcia do to you
        14    that violated your rights in any way.
        15         A.    Failure to understand the law,
        16    violating my second amendment right.
        17         Q.    How did he do that?
        18         A.    By not knowing the law.
        19         Q.    Well, tell me what he did to you.
        20    Don't tell me what he didn't know.          I want to
        21    know what Officer Michael Garcia did to you
        22    that you claim violated the law.
        23         A.    He didn't stop the other officers
        24    from detaining me unlawfully.
        25         Q.    When did he arrive?


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         1          A.   I don't know.      I don't know -- the
         2    first four officers that showed up, those are
         3    the ones that basically pointed guns at me, or
         4    us.
         5          Q.   All four of them?
         6          A.   I believe it was -- it was definitely
         7    three of them.      The other one had his gun to
         8    his side and I don't know if he had pointed it
         9    at anybody.
        10          Q.   Did he point -- did he, being Officer
        11    Michael Garcia, point the gun at you?
        12          A.   I don't know the officers' names that
        13    pointed the guns at me.
        14          Q.   Did Officer Kenneth Bolduc point his
        15    weapon at you?
        16          A.   I don't know any of the officers'
        17    names that day because they -- none of them
        18    ID'ed themselves, except for Officer Mitchell.
        19    That was the one officer that I -- that
        20    actually engaged with me and gave me his name
        21    -- or actually I saw his name.
        22          Q.   Did you have an opportunity to look
        23    at the uniforms while you were there?
        24          A.   Even if I can read their names, I
        25    didn't -- I don't, per se, remember it because


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         1    I was sitting on the ground.
         2         Q.    So as you sit here today you have no
         3    idea how Office Kenneth Bolduc --
         4         A.    I don't know --
         5         Q.    -- violated your rights; is that
         6    correct?
         7         A.    I don't know any of the officers'
         8    names that were -- I can't ver -- determine
         9    who was who that day.       I still don't.      Like
        10    the only way I knew any of their names was if
        11    they were in my -- within eyes, like, five
        12    feet away from me where I could see their
        13    name.
        14         Q.    Did you see any of their names?
        15         A.    I saw Officer Mitchell and I think it
        16    was Vilamon or Villa something.
        17         Q.    Villamil?     Gustavo Villamil?
        18         A.    Yeah, I guess that was --
        19         Q.    And what, if in anyway, did Officer
        20    Villamil do to, in any way, violate your
        21    rights in your opinion?
        22         A.    I believe he was one of the officers
        23    that pointed a gun at me.
        24         Q.    Anything else he did at that day?
        25         A.    I can't recall because my back was


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         1    turned when I got put in handcuffs and after
         2    that I don't really know directly who...
         3         Q.    Were you blindfolded?
         4         A.    I wasn't blindfolded.
         5               MR. FRIDAY:     Object to form.
         6    BY MR. SWITKES:
         7         Q.    So what do you mean you couldn't see
         8    anything after you were handcuffed --
         9         A.    Well, once I was --
        10         Q.    After you were handcuffed you were
        11    still able to visually observe what was
        12    transpiring on the pier, correct?
        13         A.    Correct, I could see what was going
        14    on but I could not see their names and I could
        15    not see their -- I couldn't see their names.
        16         Q.    Can you tell me what, if in any way,
        17    Officer Brian Rivera did to violate your
        18    rights?
        19         A.    I have no clue who -- I have no clue
        20    -- I couldn't see his name and I don't know
        21    when he showed up.
        22         Q.    Can you tell me what in any way
        23    Lieutenant Eduardo Garcia did to violate your
        24    rights?
        25         A.    Once again, all the officers that


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         1    showed up that were there, I do not have a
         2    recollection of any of their names that day.
         3    I did not look at their names.         I didn't even
         4    know their names until after the fact.
         5          Q.   Do you know what Officer Errol Vidal
         6    did to violate your rights in any way?
         7          A.   Again, don't know when he showed up.
         8          Q.   Can you tell me what Officer Manuel
         9    Cano did to violate your rights?
        10          A.   I have no clue when he showed up.
        11          Q.   Can you tell me what Officer Jessica
        12    Salabarria did to violate your rights?
        13          A.   All these officers all violated my
        14    second amendment right and I don't know when
        15    they showed up.
        16          Q.   Can you tell me how Officer Robert
        17    Mitchell violated any of your rights?
        18          A.   He, once again, violated my second
        19    amendment right and stood there and accepted
        20    it.
        21          Q.   Do you know how Officer Nahami
        22    Bicelis violated your rights in any way?
        23          A.   They all violated my second amendment
        24    right.
        25          Q.   You say I -- all, I'm asking you


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         1    individually one at a time --
         2         A.    Right.    They're all -- yes.
         3         Q.    -- and if you know what that
         4    individual did, you can tell me, that's the
         5    question I'm asking.
         6               Do you know how Lavaniel Hicks
         7    violated your rights in any way?
         8         A.    They violated my second amendment
         9    right.
        10         Q.    In what way?
        11         A.    By detaining me and holding me at
        12    gunpoint I -- once again, I don't know when he
        13    showed up.     I don't know.
        14         Q.    So you said he held you at gunpoint,
        15    though, are you telling me you know that
        16    Officer Lavaniel Hicks --
        17         A.    I don't know --
        18         Q.    -- held you at gunpoint, yes or no?
        19         A.    I don't know.
        20         Q.    Okay.    Do you know if Officer
        21    Elizabeth Vidal in any way violated your
        22    rights?
        23         A.    I don't know.      I know they violated
        24    my second amendment right.
        25         Q.    Okay.    Now, in your answer to that


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         1    question, Number 14, the factual basis for
         2    your claim, the first letter you've put down
         3    is A, states:     Defendant officers detained
         4    individuals on the pier without reasonable
         5    suspicion of any criminal activity, in
         6    violation of clearly established statutory law
         7    and Florida case law precedent.
         8               What do you mean by that?
         9         A.    That is you can't violate -- without
        10    a crime they have -- they can't do what they
        11    did.
        12         Q.    When you say "without a crime," the
        13    question is where they had reasonable
        14    suspicion of criminal activity.          You
        15    understand that's your answer you gave?
        16         A.    We -- there was no criminal -- we had
        17    -- didn't do anything wrong.
        18         Q.    Well, were you on a pier overlooking
        19    Government Cut where thousands, if not tens of
        20    thousands, of passengers on cruise ships go on
        21    a regular basis out of that port?
        22               MR. FRIDAY:     Object to form.
        23               THE WITNESS:     I don't know why
        24         expressing -- like for me to express a
        25         right, I don't understand there -- I don't


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         1         -- I don't understand that.         I don't
         2         understand your question.        I honestly --
         3    BY MR. SWITKES:
         4         Q.    Do you understand that through
         5    Government Cut --
         6         A.    There's thousands of people.
         7         Q.    -- thousands of passengers are on
         8    board cruise ships that leave from that port
         9    on virtually a daily basis; do you understand
        10    that?
        11               MR. FRIDAY:     Object to form.
        12               THE WITNESS:     Okay.
        13    BY MR. SWITKES:
        14         Q.    Okay.    Do you understand that Coast
        15    Guard ships use Government Cut to come in and
        16    out of port to the Coast Guard station which
        17    is located on Government Cut --
        18               MR. FRIDAY:     Object to form.
        19    BY MR. SWITKES:
        20         Q.    -- adjacent to where you were
        21    standing with a handgun?
        22               MR. FRIDAY:     Object to form.
        23               THE WITNESS:     I still -- I don't
        24         understand -- yes, if there's boats and
        25         stuff that pass through Government Cut...


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         1    BY MR. SWITKES:
         2         Q.    Do you understand there are cargo
         3    ships with hundreds of crew members that come
         4    in and out of the port of Miami every day
         5    adjacent to where you were standing with a
         6    handgun?
         7               MR. FRIDAY:     Object to form.
         8               THE WITNESS:     I -- I was expressing
         9         my rights as an American.
        10    BY MR. SWITKES:
        11         Q.    The question was, are you aware of
        12    the fact --
        13         A.    Sure.
        14         Q.    -- yes or no?
        15         A.    There is -- there was thousands of --
        16    probably thousands of onlookers that were all
        17    up and down the beach, yes, there's people
        18    there, yes.
        19         Q.    The question was not on the beach.
        20    The question was --
        21         A.    Or on the boats.
        22         Q.    -- on the boats, yes.
        23         A.    On the waters.
        24         Q.    On the side you were fishing off --
        25         A.    Yes.


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         1         Q.    -- according to your testimony,
         2    there'd be thousands of beach-goers on the
         3    beach at the time you were standing on the
         4    pier with a handgun in -- on your person,
         5    correct?
         6         A.    Yeah.    Yes, I was.
         7         Q.    You -- you understand that there are
         8    pleasure boats and fishing commercial boats
         9    that go out of Government Cut on a daily basis
        10    while you were standing on the pier with a
        11    loaded handgun, correct?
        12               MR. FRIDAY:     Object to form.
        13               THE WITNESS:     Yes, there...
        14    BY MR. SWITKES:
        15         Q.    Okay.    So when you say there was no
        16    reasonable suspicion, did the police officers
        17    know you prior to the date you went to that
        18    demonstration on Miami Beach --
        19               MR. FRIDAY:     Object to form.
        20    BY MR. SWITKES:
        21         Q.    -- on June 24, 2018?
        22               MR. FRIDAY:     Object to form.
        23               THE WITNESS:     Can you rephrase the
        24         question, please.
        25    BY MR. SWITKES:


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         1         Q.    Did any of the police officers know
         2    you before the date of your demonstration on
         3    Miami Beach?
         4         A.    No.
         5               MR. FRIDAY:     Object to form.
         6    BY MR. SWITKES:
         7         Q.    If people on the beach saw you with a
         8    handgun and complained about it, can you
         9    believe that that would cause an officer to
        10    have a reasonable suspicion about what your
        11    purpose was on the beach?
        12               MR. FRIDAY:     Object to form.
        13               THE WITNESS:     No.
        14    BY MR. SWITKES:
        15         Q.    If people passing you on the pier saw
        16    your handgun and were concerned about that,
        17    does that give you a basis to believe that a
        18    police officer might have reasonable suspicion
        19    of what you were doing there at the time?
        20               MR. FRIDAY:     Object to form.
        21               THE WITNESS:     No.
        22    BY MR. SWITKES:
        23         Q.    So an officer doesn't have a right to
        24    stop somebody in a situation where in this
        25    community -- are you aware of the shooting at


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         1    Parkland High School?
         2               MR. FRIDAY:     Object to form.
         3               THE WITNESS:     I am aware of what
         4         happened in Parkland.
         5    BY MR. SWITKES:
         6         Q.    Are you aware of what has happened in
         7    synagogues in South Florida where shooting of
         8    individuals have taken place?
         9               MR. FRIDAY:     Object to form.
        10               THE WITNESS:     Yes.
        11    BY MR. SWITKES:
        12         Q.    Are you aware of churches that have
        13    -- have been the subject of shootings --
        14               MR. FRIDAY:     Object to form.
        15    BY MR. SWITKES:
        16         Q.    -- in the recent past?
        17         A.    I've also seen churches the subject
        18    of saving hundreds of lives as well.
        19         Q.    Have you seen malls that have been
        20    the subject to mass shootings?
        21               MR. FRIDAY:     Object to form.
        22               THE WITNESS:     I've seen malls subject
        23         to one person saving a bunch of lives as
        24         well, yes.
        25    BY MR. SWITKES:


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         1         Q.    I didn't ask you about somebody
         2    saving lives.     My question was:       Have you --
         3    are you aware of and have you witnessed on the
         4    TV or in the media, individuals that have been
         5    the subject of mass shootings in shopping
         6    malls?
         7               MR. FRIDAY:     Object to form.
         8               THE WITNESS:     Yes.
         9    BY MR. SWITKES:
        10         Q.    Have you been aware of shootings at
        11    movie theaters?
        12               MR. FRIDAY:     Object to form.
        13               THE WITNESS:     Yes.
        14    BY MR. SWITKES:
        15         Q.    Are you aware of terrorist acts on
        16    military bases?
        17               MR. FRIDAY:     Object to form.
        18               THE WITNESS:     Yes.
        19    BY MR. SWITKES:
        20         Q.    So if a police officer were to
        21    encounter a number of individuals standing on
        22    the pier where tens of thousands of people are
        23    going to pass them, do you think that might
        24    raise a reasonable suspicion in an officer as
        25    to determine what those individuals had in


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         1    mind on the day you were detained?
         2               MR. FRIDAY:     Object to form.
         3               THE WITNESS:     No.
         4    BY MR. SWITKES:
         5         Q.    So they would know that you were not
         6    somebody that would potentially expose all of
         7    those people of the community that we've just
         8    described to potentially being in range of
         9    your shooting them?
        10               MR. FRIDAY:     Object to form.
        11               THE WITNESS:     Rephrase.
        12    BY MR. SWITKES:
        13         Q.    How would those officers know that
        14    your intent was to fish and not to commit an
        15    act, a criminal act or a terrorist act?
        16               MR. FRIDAY:     Object to form.
        17               THE WITNESS:     With the way other
        18         officers have treated us, I would expect
        19         that's how they would respond.
        20    BY MR. SWITKES:
        21         Q.    Okay.    My question was how would the
        22    officers know that you weren't there to
        23    comment a criminal act or a terrorist act?
        24               MR. FRIDAY:     Object to form.
        25               THE WITNESS:     With no -- with no


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         1         victim, there is no crime.
         2    BY MR. SWITKES:
         3         Q.     So you would first have to shoot
         4    somebody before an officer could have a
         5    reasonable suspicion that potential criminal
         6    activity is occurring?
         7                MR. FRIDAY:    Object to form.
         8    BY MR. SWITKES:
         9         Q.     Is that your testimony?
        10         A.     If -- unless somebody has done
        11    something criminal it -- law enforcement
        12    should have respect and dignity for the
        13    constitution.
        14         Q.     Okay.   My question is:      Reasonable
        15    suspicion does not require there to be a
        16    criminal and a victim of that criminal
        17    activity.
        18         A.     There has --
        19         Q.     Do you understand that concept?
        20         A.     Yeah --
        21                MR. FRIDAY:    Object to form and
        22         argumentative.
        23                THE WITNESS:    Yeah, reasonable
        24         suspicion of a crime, there has to be
        25         either I'm in the commission, I've already


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         1         committed, or I'm about to commit.          If I'm
         2         -- if we're sitting and fishing on a pier
         3         and we're not pointing guns, we're not --
         4         we didn't do anything to anybody.
         5    BY MR. SWITKES:
         6         Q.    When the officers arrived how many of
         7    the fi -- four, five or six of you, because it
         8    varied at times in your complaint, you've
         9    indicated different numbers of the members of
        10    Florida Carry were present, how many of them,
        11    when the police arrived, were actually
        12    physically in possession of their fishing
        13    rods?
        14               MR. FRIDAY:     Object to form.
        15               THE WITNESS:     All of us.
        16    BY MR. SWITKES:
        17         Q.    Every one of them was holding the
        18    fishing rod at the time?
        19         A.    You don't have to hold a fishing rod
        20    to be fishing.
        21         Q.    But that's my question.        See, don't
        22    rephrase my question.
        23               I asked you, not whether you have to.
        24    My question was, how many members of the
        25    Florida Carry group that were there on


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         1    June 24, 2018 were holding the fishing rods
         2    when the officers arrived --
         3               MR. FRIDAY:     Object to form.
         4    BY MR. SWITKES:
         5         Q.    -- do you understand the question?
         6         A.    I can only speak for myself and the
         7    gentleman that was, I believe, next to me, and
         8    we were both were standing next to our fishing
         9    rods, but we --
        10         Q.    But I didn't ask you that.
        11         A.    We did not have them in our hands but
        12    they were right next to us.
        13         Q.    Okay.    So why would an officer not
        14    have a reasonable suspicion that the five of
        15    you intended to commit an act of violence
        16    against the tens of thousands of people in
        17    close proximity to where you had a loaded
        18    handgun --
        19               MR. FRIDAY:     Object to form.
        20    BY MR. SWITKES:
        21         Q.    -- with one in the chamber?
        22               MR. FRIDAY:     Object to form.
        23               THE WITNESS:     Because the park ranger
        24         was the only one that was -- that started
        25         all of this.     It was the park ranger that


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         1         -- nobody -- nobody was -- we had already
         2         talked to multiple people that day and it
         3         was the park ranger that didn't care about
         4         the law.
         5    BY MR. SWITKES:
         6         Q.    Okay.    So what did the park ranger
         7    communicate to the police department, do you
         8    know?
         9         A.    I have -- I have no clue.        I have
        10    actually done a public records request to try
        11    to get that information and that information
        12    is yet to be disclosed to me.
        13         Q.    Okay.    So you don't know what the
        14    park ranger communicated to the officers?
        15         A.    Other than what I could hear as he
        16    was giving a des -- a description of who -- of
        17    me, because I did not have a concealed
        18    weapon's license at the time, he said the guy
        19    with the afro or the African American or
        20    something to that effect, he doesn't have a
        21    concealed weapon's license and he said it was
        22    going to be a problem.
        23         Q.    Who was "he"?
        24         A.    The park ranger.
        25         Q.    And did you ask him what he meant by


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         1    that?
         2         A.    I -- I tried to.
         3         Q.    Well, I asked you whether you asked
         4    him.
         5         A.    I did, I tried to tell him to refer
         6    to me as a white male instead of a African
         7    American or whatever he referred to me as, as
         8    he was giving a description of me.
         9         Q.    What does that have to do with what
        10    he told the police?
        11         A.    What -- what did -- why did he have
        12    to refer me as a black male.         Why couldn't he
        13    just refer to me as a person.
        14         Q.    What's your race?
        15         A.    White male.
        16         Q.    Okay.    You resent the fact that he
        17    called you a black male?
        18         A.    I resent the fact that anybody puts a
        19    color on anybody.
        20         Q.    Okay.    Are you dark complected?
        21         A.    I have a -- a darker skin tone, yes.
        22         Q.    Does anybody ever mistaken you for a
        23    blank individual?
        24         A.    Occasionally, yes.
        25         Q.    Okay.    Are you offended by that?


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         1         A.    I'm not offended by much, but I don't
         2    like labels like that.
         3         Q.    Did you correct him?
         4         A.    I tried to.
         5         Q.    What did you say?
         6         A.    I said, can you refer to me as a
         7    white male.
         8         Q.    And what did he respond?
         9         A.    Nothing.
        10         Q.    Okay.    Now, my original question was:
        11    Did you hear his communication over his
        12    hand-held --
        13         A.    Not his entire -- not his entire
        14    phone call.
        15         Q.    Okay.    Tell me what you recall
        16    hearing.
        17         A.    He was talking to somebody,
        18    explaining there is a few people out here, the
        19    African American male doesn't have a concealed
        20    weapon's license, something to that effect.
        21    Like I said, it -- he had distance between me
        22    and him and it's all on the audio or what
        23    little audio I do have of the video.
        24         Q.    Of what little audio I have of the
        25    video, you have the video and the audio.


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         1         A.     Of the talking.     With the audio,
         2    because he was eight to ten feet away from me,
         3    the audio on my camera doesn't pick up that
         4    well.     So it's not like I could, hey, speak
         5    louder, to him.      It was only whatever I could
         6    kind of -- and, once again, he was talking to
         7    somebody and I don't even know if it was the
         8    police.     I think it was either his boss or
         9    something to that effect.
        10         Q.     And I've asked a few times, to the
        11    best of your recollection, tell me what you
        12    remember him saying.
        13         A.     Him saying that the guy that had the
        14    -- the African -- or the afro or African
        15    American, I'm not sure how he said it, it was
        16    something afro, doesn't have a concealed
        17    weapon's license and that was -- that's what I
        18    heard.
        19         Q.     Did he mention anything about the
        20    other members of your demonstration having
        21    guns?
        22                MR. FRIDAY:    Object to form.
        23                THE WITNESS:    I do believe he did.
        24    BY MR. SWITKES:
        25         Q.     And do you recall what he said about


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         1    that?
         2         A.    There was other people out there.
         3         Q.    I don't understand what that --
         4         A.    He was saying there was other --
         5    there were other individuals with firearms,
         6    but then he went in to give a description of
         7    just me.
         8         Q.    Okay.    But he broadcast there are
         9    multiple people on South Pointe Pier with
        10    firearms, correct?
        11         A.    I believe it was there are people out
        12    here but the African or afro or whatever
        13    doesn't have a concealed weapon's license.
        14         Q.    Okay.    And how long after that did
        15    you first see a police presence?
        16         A.    It was -- I'm guessing 15 to 20
        17    minutes, maybe.
        18         Q.    Okay.    And in that 15 to 20 minutes
        19    what were you doing?
        20         A.    Fishing.
        21         Q.    Okay.    And when the officers arrived
        22    how many were there?
        23               MR. FRIDAY:     Object to form.
        24               THE WITNESS:     The initial was four.
        25    BY MR. SWITKES:


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         1          Q.   And you don't recall the names of
         2    those four?
         3          A.   No, I do not.
         4          Q.   And what was the first thing any of
         5    those four officers said upon arrival?
         6          A.   Hands up, hands down, don't touch
         7    your gun, while all guns were pointed at us.
         8          Q.   And how many of those officers
         9    pointed their gun at you?
        10          A.   Three.
        11          Q.   And were all of you sitting next to
        12    each other?
        13          A.   I was sitting next to -- I believe it
        14    was Carlos Gutierrez or I was standing next to
        15    him.    And then I can't say who was left of
        16    him.    I just remember it was Carlos next to
        17    me.    I was in the front and it was Carlos and
        18    then I can't remember who else was left of
        19    that or behind me.
        20          Q.   Well, were all of you fishing at that
        21    time off the north side of the pier?
        22          A.   The south side.
        23          Q.   You were fishing off the south side?
        24          A.   I'm guessing it's the south side.
        25    The one towards the channel of the -- that


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         1    pier.     So if the pier is like this, we were
         2    facing --
         3         Q.     I'm not going to tell you how to
         4    answer, but I don't want you to answer with
         5    your hands.
         6         A.     Right.
         7         Q.     Answer verbally.
         8         A.     I'm guessing it's the south side,
         9    because it was facing where the boats -- we
        10    were fishing on the boats -- where all the
        11    boats travel.
        12         Q.     Okay.    All five of you?
        13         A.     I -- I can't say.     I didn't -- I
        14    can't speak for them, but I definitely know
        15    that myself and Carlos were definitely -- our
        16    lines were in the water.        The others, they
        17    probably had theirs but I can't say for sure.
        18         Q.     When you "lines in the water," --
        19         A.     Fishing lines.
        20         Q.     -- I want you to use north/south.         On
        21    the south side, correct?
        22         A.     The fishing lines were on the south
        23    side in the water.
        24         Q.     Okay.    And if you don't even know
        25    where the other members of the demonstration


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         1    were, there are approximately four officers,
         2    do you know who was pointing at whom?
         3               MR. FRIDAY:     Object to form.
         4               THE WITNESS:     They -- after they
         5         dealt with me, they were definitely
         6         pointed at others, other individuals.
         7    BY MR. SWITKES:
         8         Q.    And when you say "they," were all
         9    four officers were pointing a gun at you?
        10         A.    Or -- no, three officers were
        11    pointing at me and the -- me, Carlos and I
        12    believe as they put me in cuffs their guns
        13    were still drawn at Chris and Keith Jenkins as
        14    well.
        15         Q.    How about Devine?
        16         A.    Who?
        17         Q.    Devine, Sean Devine, do you know who
        18    he is?
        19         A.    He was -- he was -- he was behind me,
        20    so I don't recall if he had a gun pointed at
        21    him.
        22         Q.    How long was it between the time the
        23    officers arrived and the time you were placed
        24    in handcuffs?
        25         A.    Instantaneously.      When they -- when


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         1    they were making their walk up the pier they
         2    started sending people away and that's when I
         3    started -- that's when I was record -- I
         4    started recording.       And as soon as they got
         5    within, I'd say, twenty something feet, thirty
         6    feet, that's when they drew their firearms,
         7    told us to put our hands up, hands down, don't
         8    touch the firearm, and then put us in cuffs.
         9         Q.    Okay.    Instantaneously?
        10         A.    Instant -- like from that 30 feet as
        11    they walked up guns drawn, our hands -- my
        12    hands were up.      I can't speak for others, but
        13    my hands were up in the air and they grabbed
        14    my arms, pulled them behind my back, which
        15    made my -- made me throw my phone on the
        16    ground and I was put in cuffs.
        17         Q.    Okay.    And you were handcuffed behind
        18    your back?
        19         A.    Correct.
        20         Q.    The other times that you've been
        21    arrested, were you handcuffed behind your
        22    back?
        23         A.    Yes.
        24         Q.    And do you know why police officers
        25    handcuff individuals behind their back?


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         1               MR. FRIDAY:     Object to form.
         2               THE WITNESS:     No.
         3    BY MR. SWITKES:
         4         Q.    Do you know if that's standard
         5    operating procedures when someone is
         6    handcuffed?
         7               MR. FRIDAY:     Object to form.
         8               THE WITNESS:     When they've done
         9         something criminal, possibly, but...
        10    BY MR. SWITKES:
        11         Q.    I didn't ask you that.        I said, do
        12    you understand that that's standard operating
        13    procedure, to handcuff --
        14         A.    No.
        15         Q.    -- arrestees or detainees behind
        16    their back, yes or no?
        17               MR. FRIDAY:     Object to form.
        18               THE WITNESS:     No.
        19               THE VIDEOGRAPHER:      We need to take a
        20         break to change the video.
        21               MR. SWITKES:     Sure.
        22               THE VIDEOGRAPHER:      Off the record at
        23         11:44.
        24               (A recess was taken.)
        25               THE VIDEOGRAPHER:      We're back on the


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         1         record at 12:05.
         2    BY MR. SWITKES:
         3         Q.    Sir, is there any way that you think
         4    physically an officer would be able to discern
         5    the difference of your group from criminals?
         6               MR. FRIDAY:     Object to form.
         7               THE WITNESS:     Yes.
         8    BY MR. SWITKES:
         9         Q.    Okay.    Explain how physically you
        10    think officers can tell when looking at you
        11    versus someone else that you and your group
        12    are not criminals versus what criminals look
        13    like?
        14         A.    They would be more or less what they
        15    are doing with their firearm compared to what
        16    -- that would be the number one thing that I
        17    would think that the officers would be able to
        18    discern, is to see what they're doing with
        19    their firearm.      If they -- obviously, if
        20    they're waving it around or pointing it, that
        21    -- that's criminal activity.         But when it's
        22    holstered, like it -- like it was that day and
        23    it was not in -- other than being out in the
        24    open, the gun wasn't in any way, shape or form
        25    hurting anybody.


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         1         Q.    What do you mean out in the open?
         2    You were all wearing guns --
         3         A.    Openly.
         4         Q.    -- in holsters, correct?
         5         A.    Correct.    Correct.
         6         Q.    And there were at least five or six
         7    of you, correct?
         8         A.    Correct.
         9         Q.    And we've gone through all of those
        10    thousands of people that use Government Cut
        11    and go through there on a daily basis,
        12    physically looking at you, forgetting about
        13    where the guns were, how would an officer be
        14    able to determine whether you're a criminal or
        15    you're not a criminal --
        16               MR. FRIDAY:     Object to form.
        17    BY MR. SWITKES:
        18         Q.    -- just by looking at you?
        19         A.    What has that person done?         That is
        20    how you discern a criminal from a law abiding
        21    citizen.
        22         Q.    Okay.    And would you think when
        23    somebody's in a movie theater and they have a
        24    gun, if they're not taking out the gun,
        25    someone wouldn't have suspicion that maybe


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         1    someone was doing something improper?
         2               MR. FRIDAY:     Object to form.
         3               THE WITNESS:     If they're in a movie
         4         theater, as you say, and they were to pull
         5         a gun or open carry a gun, that would be
         6         against the law.
         7    BY MR. SWITKES:
         8         Q.    You were open carrying a gun, right?
         9         A.    But we were following the law.
        10         Q.    I didn't ask you that.        I asked you
        11    if you were open carrying?
        12         A.    Yes, we were.
        13         Q.    Is open carrying in the state of
        14    Florida without fishing, hunting or camping
        15    legal?
        16         A.    No.
        17         Q.    Okay.    So you know the law is that
        18    open carrying in Florida is illegal.
        19         A.    With exceptions.
        20               MR. FRIDAY:     Object to form.
        21    BY MR. SWITKES:
        22         Q.    And officers, when they respond to a
        23    scene with six people that are standing on a
        24    pier next to a Government Cut which has tens
        25    of thousands of people going through it on a


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         1    daily basis, do you think maybe they might be
         2    suspicious of six people standing on a pier
         3    with gun?
         4                MR. FRIDAY:    Object to form.
         5                THE WITNESS:    There was -- no, there
         6         was 14 other officers that were open
         7         carrying that day.       And the same law that
         8         we have to follow is the same law that
         9         they have to follow.
        10    BY MR. SWITKES:
        11         Q.     Excuse me, I want to make sure I
        12    understood your answer.        There were 14 other
        13    officers that were open carrying?
        14         A.     Or twelve, sorry, twelve.
        15         Q.     Okay.
        16         A.     On that pier that day.
        17         Q.     Police officers.
        18         A.     They were people -- they're officers
        19    that --
        20         Q.     I want to make sure I understand you.
        21         A.     Yeah, police officers.
        22         Q.     Was there any other nonpolice officer
        23    on the pier with a gun other than members of
        24    your group?
        25         A.     I can't speak for other people there.


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         1         Q.    Did you see any -- I didn't ask you
         2    to speak for anybody.       I asked you from your
         3    observation, were there any other members of
         4    the public that were on the pier that weren't
         5    police officers that had guns that were
         6    visible to you?
         7         A.    No.
         8         Q.    Okay.    So it wouldn't be unusual for
         9    you to suspect that maybe the officers were
        10    going to look suspiciously at you, correct?
        11               MR. FRIDAY:     Object to form.
        12               THE WITNESS:     It's not suspicious to
        13         -- it's not.
        14    BY MR. SWITKES:
        15         Q.    Okay.    And the fact that -- you're
        16    aware of there's an exception at airports?
        17         A.    Are you -- pertaining to?
        18         Q.    Carrying a weapon near an airport, an
        19    open carry near an airport.
        20               MR. FRIDAY:     Object to form.
        21               THE WITNESS:     I can carry -- as long
        22         as -- as long as I'm not on airport
        23         property I'm good to go.
        24    BY MR. SWITKES:
        25         Q.    What about on airport property?


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         1         A.     I don't -- that -- I don't know the
         2    laws pertaining to being on airport property,
         3    because it -- once again, I don't know --
         4    that's going to be -- we don't go fishing at
         5    the airport.
         6                I've never gone fishing at the
         7    airport.
         8         Q.     Did anybody in your group say
         9    anything about being locked and loaded on the
        10    date of the incident?
        11         A.     I did.
        12                MR. FRIDAY:    Object to form.
        13    BY MR. SWITKES
        14         Q.     Did anybody in your group was the
        15    question.
        16         A.     Oh, I can't speak for them.        I can't
        17    recall anybody saying anything other than me.
        18         Q.     You don't recall any -- anybody
        19    saying anything that day except for what you
        20    said?
        21         A.     I -- I -- I may recall some of the
        22    things they said, but I can't recall them
        23    saying -- if they said if it was locked and
        24    loaded.     I know I said, when they were
        25    disarming me, that my firearm was locked and


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         1    loaded.
         2         Q.    And why did you say that?
         3         A.    Because it was.      It was ready -- it
         4    was hot and...
         5         Q.    Why were you carrying it hot?
         6         A.    Because I'm not going -- if I had to
         7    defend myself, I'm not going -- I don't want
         8    to waste time trying to put a round into my
         9    firearm.    I'm going to have a fi -- a round
        10    ready to go if I -- if it's needed.
        11         Q.    How many years have you been fishing?
        12               MR. FRIDAY:     Object to form.
        13               THE WITNESS:     Thirty-two.
        14    BY MR. SWITKES:
        15         Q.    And you first purchased your first
        16    gun two years ago?
        17         A.    I've been around firearms for a
        18    while, but I purchased my own personal firearm
        19    about two -- two years ago, three years ago.
        20         Q.    So of the thirty plus years you were
        21    fishing, it's only in the last two years that
        22    you've carried a gun?
        23         A.    Correct.
        24         Q.    And you were -- felt you were in
        25    danger the other 30 years?


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         1         A.    When I was almost robbed under a
         2    bridge while I was fishing, yes, that's when I
         3    decided to start open carrying, because I did
         4    not have a fishing license -- or a, sorry not
         5    a fishing license, a concealed weapon's
         6    license.
         7         Q.    Okay.    When was this incident under
         8    the bridge?
         9         A.    Probably about two months prior, a
        10    month and a half prior, two months prior-ish.
        11         Q.    To your purchasing the gun?
        12         A.    No, to the incident in Miami Beach.
        13         Q.    So the question is:       Prior to
        14    purchasing the gun two years ago for more than
        15    30 years you fished without a gun, correct?
        16         A.    Correct.
        17         Q.    Okay.    And you didn't feel vulnerable
        18    those 30 years?
        19               MR. FRIDAY:     Object to form.
        20               Go head.
        21               THE WITNESS:     I did feel vulnerable
        22         but I never -- usually while I was
        23         fishing, I never saw the need until the
        24         day I almost was robbed.
        25    BY MR. SWITKES:


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         1         Q.    Which was a couple years ago?
         2         A.    A couple years ago, yeah.
         3         Q.    Okay.    Now, did you or anybody in
         4    your group say anything about, the city is not
         5    happy that we're coming?
         6         A.    To those -- verbatim that what you
         7    just said?
         8         Q.    Not verbatim.      Approximately that or
         9    something similar to that, yes, sir.
        10         A.    The only thing that I may have said
        11    was in the -- in my video where I said -- I
        12    had mentioned the phone call that I had made
        13    to Miami, not realizing Miami Beach was
        14    different, and I had said, we'll see what --
        15    you know, we'll see what happens.
        16         Q.    Okay.    But that's not my question.
        17    Do you remember some -- saying something
        18    similar to, they are not happy we're coming?
        19         A.    I do not recall that, no, I do not.
        20         Q.    Okay.    And who did you speak to
        21    Miami?
        22         A.    Miami -- Miami Police Department.
        23         Q.    And what did you tell the Miami
        24    Police Department?
        25         A.    I asked them if they -- if they knew


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         1    about the open carry while you were fishing,
         2    hunting or camping.
         3         Q.    And what did the person you spoke to
         4    say?
         5         A.    They kind of bounced me around for a
         6    couple of officers, but they all were in
         7    agreeance that they -- you could not open
         8    carry in Florida while you're fishing, hunting
         9    or camping.
        10         Q.    Okay.    And you realize you were
        11    talking to the wrong department --
        12         A.    But this is --
        13         Q.    -- when?
        14         A.    The phone call that I had made was,
        15    I'm going to guess, about eight months prior
        16    to Miami Beach.
        17         Q.    Okay.
        18         A.    Six to eight months, somewhere in
        19    that range.
        20         Q.    Prior to the date that you came to
        21    Miami Beach, did you speak to anybody at the
        22    city of Miami Beach?
        23               MR. FRIDAY:     Object to form.
        24               THE WITNESS:     No.
        25    BY MR. SWITKES:


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         1         Q.    Did you send any communication to
         2    anybody at the city of Miami Beach?
         3               MR. FRIDAY:     Object to form, asked
         4         and answered.
         5               THE WITNESS:     Nope.
         6    BY MR. SWITKES:
         7         Q.    Did anybody in your group tell you
         8    that they had?
         9         A.    Yes.
        10         Q.    And who was that?
        11         A.    Chris Philbot -- Philpot.
        12         Q.    And when did he tell you he sent any
        13    communication?
        14         A.    It was -- it had to have been at
        15    least like a month or so.        He gave -- it was
        16    like -- I think it was three weeks to a month
        17    he had sent the email to the city attorney,
        18    chief of police and FWC.
        19         Q.    Did you ever see those emails?
        20         A.    I never saw the direct emails.          I saw
        21    the photo of the email that was sent.
        22         Q.    Where did you see the photo?
        23               MR. FRIDAY:     Object to form, asked
        24         and answered.
        25               Go ahead and answer.


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         1               THE WITNESS:     Florida Carry.
         2    BY MR. SWITKES:
         3         Q.    What do you mean Florida Carry?
         4         A.    On Florida Carry -- the Florida Carry
         5    Facebook group.
         6         Q.    Okay.    Did Mr. Philpot ever told you
         7    -- tell you that he spoke to anybody at the
         8    City of Miami Beach before June 24, 2018?
         9         A.    Other than through Facebook, that was
        10    the only way until the day of and he
        11    reverified that he had sent the letter to FWC,
        12    city attorney and FWC.
        13         Q.    Okay.    My question was:      Did he tell
        14    you he spoke to anybody --
        15         A.    Directly, no.
        16         Q.    -- at the --
        17         A.    Other than through Facebook.
        18         Q.    Did he receive any response through
        19    Facebook from anybody at the City of Miami
        20    Beach?
        21         A.    FWC was the only one that responded
        22    to the email.
        23         Q.    So the answer is no, nobody from the
        24    City of Miami Beach ever responded?
        25         A.    I don't know if there's a Miami --


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         1    Miami Beach FWC, because they're spread out
         2    through the state and they have regions, so I
         3    don't know if they're affiliated with Miami
         4    Beach or not.
         5         Q.    FWC is a state agency --
         6         A.    State agency.
         7         Q.    -- are you aware of that?
         8         A.    They have -- they have different
         9    places throughout the State of Florida.
        10         Q.    My question is, let me ask it for the
        11    last time:     Are you aware of anybody from the
        12    City of Miami Beach responding to Mr. Philpot,
        13    yes or no?
        14         A.    To my knowledge, no.
        15         Q.    Okay.    Now, in Paragraph 24 -- excuse
        16    me, 25 of your complaint, the complaint
        17    states:    All the citizens except Devine were
        18    in possession of lawfully carried firearms.
        19               Devine was not carrying?
        20         A.    Who?
        21         Q.    Sean.
        22         A.    I'm guessing his name is Sean, I
        23    don't know him by his last name.
        24         Q.    Sean Devine, yes.
        25         A.    He was not carrying.


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         1         Q.     And you said --
         2                MR. FRIDAY:    Can I seek
         3         clarification, you're looking at the
         4         complaint or the amended complaint?
         5                MR. SWITKES:    This is -- I believe
         6         this is the amended, but I'll read them
         7         just so there's no confusion.
         8                MR. FRIDAY:    Okay.
         9                MR. SWITKES:    How about that?
        10    BY MR. SWITKES:
        11         Q.     On page 6 of this complaint it says:
        12    An unknown employee of Miami Beach, who was a
        13    park ranger, approached the six fishermen.
        14                Were there six fishermen when the
        15    park ranger approached?
        16         A.     I believe it was five or six.
        17         Q.     Who wasn't there at the time the park
        18    ranger --
        19         A.     I believe it was Jonah.
        20         Q.     And approximate --
        21         A.     He showed up -- Jonah, I think his
        22    last name is Sam or West or -- Jonah West or
        23    Sam, I can't remember.        I don't know, I
        24    mostly --
        25         Q.     Jonah Weiss is the --


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         1         A.    Weiss, that's it.
         2         Q.    -- individual listed on the
         3    complaint.
         4         A.    Jonah Weiss, that's it.        I know most
         5    of them by their first name, not so much by
         6    their last names.
         7         Q.    Okay.    And when, approximately, did
         8    he show up?
         9         A.    I'd say maybe 15 to 20 minutes after
        10    the -- after the initial interaction.
        11         Q.    Okay.    Did any officer express to you
        12    or express on the date of this incident that
        13    they were operating under a city ordinance?
        14         A.    Rephrase that again.
        15         Q.    Did any officer say to you that they
        16    were there pursuant to a city ordinance?
        17         A.    No.   To me directly, no.
        18         Q.    Whether it was you to directly or to
        19    some other member of your party.
        20         A.    Yes, yes, they did.       I don't know who
        21    they were directing the question to, but it
        22    was mentioned through the body cams that I've
        23    seen and they had mentioned it.          And, once
        24    again, for what I know, that goes against the
        25    preemption law, 790.33 of the Florida


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         1    statutes, which basically says the city,
         2    county, town, cannot create their own gun
         3    laws.
         4         Q.    Okay.    But you're saying one of or
         5    more than one officer said --
         6         A.    It was -- it was definitely one
         7    officer, but I do not know who said it.
         8         Q.    And he said what?
         9         A.    That they had a sign that did not
        10    allow firearms onto that -- to that pier.
        11         Q.    Okay.    You have said in your right to
        12    supplement the response that you gave to
        13    Question Number 14 of the interrogatories:
        14    The defendants committed a battery by
        15    offensively touching and handcuffing the
        16    individual plaintiffs without a legal basis
        17    for the officer's action in number five --
        18    letter five.
        19               What do you mean by that?
        20         A.    Without a crime they have no reason
        21    to touch us.     They have -- that's battery.         If
        22    I were to touch you without your consent it's
        23    battery.
        24         Q.    So if an officer has a reasonable
        25    suspicion to detain a person with a firearm


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         1    and they touch you by putting you in
         2    handcuffs, you think that's a crime?
         3         A.    That is a crime.
         4         Q.    Okay.    You think it's a crime.
         5         A.    That is a crime.
         6         Q.    Okay.    When you were planning on
         7    coming to Miami Beach to do this demonstration
         8    on June 24, 2018, did you apply for a permit
         9    to demonstrate?
        10               MR. FRIDAY:     Object to form.
        11               THE WITNESS:     You do not need a -- a
        12         permit to assemble.
        13    BY MR. SWITKES:
        14         Q.    Did you apply for a permit to
        15    demonstrate was my question?
        16               MR. FRIDAY:     Object to form.
        17               THE WITNESS:     Don't need a permit.
        18    BY MR. SWITKES:
        19         Q.    Did you apply for a special event
        20    permit?
        21         A.    Don't need a special event permit.
        22               MR. FRIDAY:     Object to form.
        23    BY MR. SWITKES:
        24         Q.    So you're answering your question and
        25    I'm going to have you answer my question.


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         1               You can say yes, no or I don't know,
         2    and then you could an explain it, but I've now
         3    asked you twice and you have refused to answer
         4    it.
         5               Did you apply for a special event
         6    permit, yes or not?
         7               MR. FRIDAY:     Object to form.
         8               THE WITNESS:     No, we do not need a
         9          permit.
        10    BY MR. SWITKES:
        11          Q.   Did you apply for a demonstration
        12    permit, yes or no?
        13               MR. FRIDAY:     Object to form.
        14               THE WITNESS:     No, we do not need a
        15          permit under the first amendment.
        16    BY MR. SWITKES:
        17          Q.   Now, you said you took -- taken place
        18    since that date --
        19               THE COURT REPORTER:       I'm sorry, sir,
        20          start that one over again.
        21    BY MR. SWITKES:
        22          Q.   You have stated that since the
        23    incident on June 24, 2018, you have taken
        24    place in approximately more than a hundred of
        25    these since then?


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         1         A.    It's going to be --
         2               MR. FRIDAY:     Object to form.
         3               THE WITNESS:     -- broken up between
         4         with -- with a group and going out by
         5         myself.
         6    BY MR. SWITKES:
         7         Q.    Okay.    In Paragraph K you said:        The
         8    Defendant officers' actions interfered with
         9    future gatherings of Florida Carry members.
        10               You've gone on how many before Miami
        11    Beach; six?
        12         A.    Before Miami, it was about six.
        13         Q.    And you've gone on over a hundred
        14    since, correct?
        15         A.    Yes.
        16         Q.    So how has the actions of the
        17    Defendant officers interfered with further
        18    gatherings?
        19         A.    Fear for other people's safety.
        20         Q.    So you were so fearful that you only
        21    went to six in your entire life before
        22    June 24th of 2018 and because of your fear
        23    you've now taken place in over a hundred,
        24    correct?
        25               MR. FRIDAY:     Object to form.


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         1               THE WITNESS:     Yes, I have taken over
         2         a hundred but none have come back to
         3         Miami, other than with large groups of --
         4         of indiv -- like with large groups of our
         5         individuals of Florida Carry.
         6    BY MR. SWITKES:
         7         Q.    Okay.    V states:    At no time did
         8    officers have a reasonable belief or
         9    apprehension of fear for their safety.
        10               Are you telling me the officers --
        11    you understood what was in the mind of the
        12    officers at the time they approached you?
        13         A.    Yeah, because we were all just
        14    standing there minding our own business, yes.
        15         Q.    Now, you were standing there all
        16    except for one with guns, correct?
        17         A.    Correct.
        18         Q.    So how do you know what belief and
        19    apprehension the officer had about approaching
        20    five armed men on Government Cut pier that
        21    day?
        22               MR. FRIDAY:     Object to form.
        23               THE WITNESS:     We were --
        24    BY MR. SWITKES:
        25         Q.    You're not a mind reader, are you?


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         1         A.    I'm not a mind reader.
         2               MR. FRIDAY:     Object to form.
         3               THE WITNESS:     It -- it was more their
         4         --   their -- as they approached us, their
         5         demeanor, that's what -- that's what was
         6         -- that's how I took their mindset.
         7    BY MR. SWITKES:
         8         Q.    What was their demeanor?
         9         A.    As they started pushing away and
        10    telling people to go the other way, like they
        11    were ready to get into a confrontation.
        12         Q.    So if they were ready to get into
        13    confrontation, that means that they perceived
        14    you as a danger, correct, that's why they were
        15    pushing people away.
        16               MR. FRIDAY:     Object to form.
        17               THE WITNESS:     That was their
        18         perception.
        19    BY MR. SWITKES:
        20         Q.    Okay.    X:   Defendant officers used
        21    excessive force in handcuffing Plaintiff
        22    Jenkins and Taylor resulting in physical
        23    injury to them.      I want you to tell me what
        24    you -- describe how the officers placed you in
        25    handcuffs.


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         1          A.    When they approached they told us put
         2    our hands up or put -- they said, put your
         3    hands up, put your hands down.         My hands were
         4    up.    I was holding a phone, which I was on a
         5    Facebook live -- I was -- it was a Facebook
         6    live video to document what was going on.            And
         7    when the officer came up from behind, grabbed
         8    my arm, and pulled down on both my arms, and
         9    then placed me in handcuffs from that point.
        10    And that's where -- that's where the physical
        11    part of it came from, from the pulling, from
        12    pulling behind my back.
        13          Q.    He pulled your arms down and placed
        14    them behind your back and placed you in
        15    handcuffs, correct?
        16          A.    Correct.
        17          Q.    There was no further physical contact
        18    with your person, was there?
        19          A.    Other than when they -- they tried to
        20    assist me up.     And then the other contact that
        21    they had was when they unlawfully took me off
        22    the pier.
        23          Q.    So let's talk about that.       Now,
        24    you've described the physical handcuffing.
        25    Now you've said when they physically helped me


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         1    up.
         2          A.   Well, they -- because I was
         3    complaining about my shoulder and I was asking
         4    for relief and they wouldn't cuff me in the
         5    front, so I -- I asked to be placed up against
         6    the -- there's a pole that has, I believe it's
         7    an awning or some kind of little shade area,
         8    and they lifted me up and they placed me up
         9    against that -- that pole.
        10          Q.   Okay.    Do you see anything improper
        11    in the way they lifted you up?
        12          A.   Only the fact that they were pulling
        13    on my left shoulder, the shoulder that was
        14    injured.
        15          Q.   Did you ask them to help you up?
        16          A.   No.    They said they were going to get
        17    me up because they were trying to help -- I
        18    guess help me get up and relieve the stress
        19    off my shoulder.
        20          Q.   So they were trying to help you get
        21    up to release the stress from your shoulder,
        22    correct?
        23          A.   Yes.
        24               MR. FRIDAY:     Object to form.
        25               THE WITNESS:     Yes.


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         1    BY MR. SWITKES:
         2         Q.     Okay.    And then you said the next
         3    instant when they touched you was when?
         4         A.     They didn't, like, I guess, what I
         5    was saying, and they decided they wanted to
         6    take me to their car and I didn't ask to go
         7    anywhere.     They decided they'd take -- they'd
         8    take me off the pier and put me in the back of
         9    the cruiser.
        10         Q.     Okay.    Did you complain when you were
        11    on the pier?
        12         A.     Yes.
        13         Q.     What did you complain about?
        14         A.     About shoulder injury -- my shoulder
        15    injury and my shoulder starting to hurt.            And
        16    then that's when I -- after they didn't want
        17    to listen, I then asked for medical attention.
        18         Q.     And did they call for medical --
        19         A.     After.
        20         Q.     -- personnel to come to the pier?
        21         A.     I think it was after about three or
        22    four minutes, four to five minutes of me keep
        23    reiterating the same thing, saying I need --
        24    I need help for my shoulder.
        25         Q.     And thereafter they helped you up and


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         1    placed you in the back of a police car?
         2         A.    They were on their way to take me to
         3    the police car when the ambulance showed up.
         4         Q.    So they never did place you in the
         5    police car.
         6         A.    They did place me in the police car
         7    after the -- the medical people could not --
         8    they couldn't -- they weren't going to be able
         9    to help my shoulder.       And then they said they
        10    couldn't -- they said that they couldn't have
        11    him take the cuffs off.        And I said, I don't
        12    want the cuffs off, I just need it be placed
        13    around the front so that it can relieve the
        14    stress off my shoulder.
        15         Q.    And did they do that?
        16         A.    No.
        17         Q.    Never?
        18         A.    Never.
        19         Q.    Okay.    And do you understand what the
        20    protocol is for -- I asked you before, why
        21    they don't do that?
        22               MR. FRIDAY:     Object to form.
        23               THE WITNESS:     I don't know your
        24         policies.
        25    BY MR. SWITKES:


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         1         Q.    Okay.    Do you know that the policy is
         2    because officers' been murdered by subjects by
         3    strangulation when they're handcuffed in the
         4    front?
         5               MR. FRIDAY:     Object to form.
         6    BY MR. SWITKES:
         7         Q.    You're not aware of that?
         8               MR. FRIDAY:     Object to form.
         9               THE WITNESS:     If that's happened, I'm
        10         sorry it's ever happened, but I'm not a
        11         violent person, I wasn't violent that day.
        12    BY MR. SWITKES:
        13         Q.    Okay.    How soon after they summoned
        14    the officer that they did within three or four
        15    minutes of your request, did the paramedic
        16    show up?
        17         A.    I'm going to guess 10 to --
        18    10 minutes, 10, 15 minutes.
        19         Q.    Okay.    And did you say anything about
        20    that?
        21         A.    About what?     About them taking a long
        22    time?
        23         Q.    Yeah.
        24         A.    Yes, I did.
        25         Q.    What did you say?


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         1         A.     I said something to the fact that --
         2    that if it would -- would have been one of
         3    them that had been hurt they would have showed
         4    up a lot quicker.
         5         Q.     Did you say hurt or shot?
         6         A.     I said hurt.    I believe it was hurt.
         7    I did not say shot, because nobody was shot
         8    that day.
         9         Q.     Okay.   But that's not what you were
        10    talking about.
        11         A.     I said if --
        12         Q.     You were talking about you thought
        13    they were not -- the paramedics were not
        14    getting there fast enough and that you were
        15    implying that if one of the officers had been
        16    shot or hurt maybe the paramedics would have
        17    shown up faster, correct?
        18                MR. FRIDAY:    Object to form.
        19                THE WITNESS:    I did not -- I did not
        20         imply shot.     I -- I -- if -- if I -- my
        21         memory recalls, it was, if it would have
        22         been one of them hurt or something to that
        23         effect, they would have been there a lot
        24         quicker.
        25    BY MR. SWITKES:


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         1         Q.     And that's based upon what?
         2         A.     Just on -- just common knowledge, I
         3    guess you would say.
         4         Q.     Common knowledge is is that
         5    paramedics show up to the scene when someone's
         6    complaining of shoulder pain how fast?
         7                MR. FRIDAY:    Object to form.
         8                THE WITNESS:    Anywhere from six to
         9         15, 20 minutes.
        10    BY MR. SWITKES:
        11         Q.     And you said they showed how soon?
        12         A.     15 -- 15 minutes.
        13         Q.     So it was right within the timeframe
        14    you said.
        15         A.     But--
        16         Q.     Why would you have said that they are
        17    delaying it and if one of you were hurt they
        18    would have come faster, if they came within
        19    the time that you said is reasonable when they
        20    normally come?
        21         A.     I never said that was reasonable.
        22    That's -- that's -- that's a statistic, an
        23    average time of first responders responding to
        24    an incident.
        25         Q.     So you think because it was you they


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         1    should have shown up faster?
         2         A.    No, I was --
         3               MR. FRIDAY:     Object to form.
         4               THE WITNESS:     I -- I was implying
         5         that law enforcement/first responders
         6         respond to first responders a little bit
         7         quicker.
         8    BY MR. SWITKES:
         9         Q.    And you were saying that because you
        10    were in fear of the first responders again?
        11         A.    The first responders that showed up
        12    drew guns at us, so, yes, I was in fear of my
        13    life from those first responders.
        14         Q.    So you were saying to them, if it was
        15    for you it would have come faster to show your
        16    fear?
        17         A.    If they would --
        18               MR. FRIDAY:     Object to form.
        19               THE WITNESS:     If they would have had
        20         an injury, yes, I do believe that the
        21         paramedics would have showed up to assist
        22         that officer a lot quicker than the
        23         average person.
        24    BY MR. SWITKES:
        25         Q.    Weren't you talking and antagonizing


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         1    the police the entire time they were there --
         2               MR. FRIDAY:     Object to form.
         3    BY MR. SWITKES:
         4         Q.    -- despite the fact that you seemed
         5    to imply that somehow you were in fear of
         6    them?
         7               MR. FRIDAY:     Object to form.
         8               THE WITNESS:     I was in fear of them.
         9         They just -- they had just pointed guns at
        10         me.
        11    BY MR. SWITKES:
        12         Q.    We've got past that.       The question
        13    is, if you were in fear of them why were you
        14    continually antagonizing them the whole time
        15    they were there?
        16               MR. FRIDAY:     Object to form.
        17               THE WITNESS:     I was -- I was using my
        18         first amendment right.
        19    BY MR. SWITKES:
        20         Q.    You were using your first amendment
        21    right --
        22         A.    Right.
        23         Q.    -- despite the fact that you're
        24    saying you were afraid of them but you kept
        25    antagonizing them the whole time they were


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         1    there.    That doesn't sound like fear to me.
         2               MR. FRIDAY:     Object to form.
         3    BY MR. SWITKES:
         4         Q.    Does it sound like fear to you?
         5               MR. FRIDAY:     Object to form.
         6               THE WITNESS:     You can say that was me
         7         using my first amendment right.
         8    BY MR. SWITKES:
         9         Q.    Were the other members of the party
        10    talking as much as you and as antagonistic as
        11    you were to the officers?
        12               MR. FRIDAY:     Object to form.
        13    BY MR. SWITKES:
        14         Q.    Yes or no, and then you can explain.
        15               No?
        16         A.    I -- to be honest --
        17         Q.    Yes or no, and then explain.
        18         A.    Yes, I guess they -- no, they were
        19    not as loud as -- or talk as much as I did.
        20         Q.    In answer to Number 15 you say you
        21    have suffered emotional distress.          Explain the
        22    manifestation of the emotional distress that
        23    you claim you have suffered.
        24         A.    It would definitely be the two weeks
        25    of probably lack of sleep.        It just -- the


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         1    whole situation in it getting replayed in my
         2    head did not -- like I won't say -- I wasn't
         3    mentally unstable, but it was a mental thing
         4    that I -- I just couldn't back -- like I was
         5    -- I was -- I almost got shot that day and I
         6    was --
         7         Q.    And you never anticipated by going on
         8    the pier with the five other members that you
         9    would be confronted by police officers; is
        10    that what you're saying?
        11         A.    No.   Never.
        12               MR. FRIDAY:     Object to form.
        13               THE WITNESS:     I never prior to that I
        14         had never experienced anything like that,
        15         so, no, I was -- that was not my
        16         expectation of that day.
        17    BY MR. SWITKES:
        18         Q.    Your expectation was just to sit on
        19    the pier and fish and nobody would notice that
        20    the five of you had firearms at a location
        21    with tens of thousands of people going by?
        22               MR. FRIDAY:     Object to form.
        23               THE WITNESS:     That is some of the
        24         things that we do, is to educate the
        25         public and law enforcement when needed,


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         1         but our end -- end of our goal is to
         2         educate and let people know that the
         3         firearm isn't the problem.
         4    BY MR. SWITKES:
         5         Q.     Did you ever seek any psychological
         6    care --
         7         A.     No.
         8         Q.     -- after this incident?
         9         A.     No, I did not.
        10         Q.     Have you ever had any psychiatric or
        11    psychological or mental healthcare in your
        12    lifetime?
        13         A.     No.
        14         Q.     Have you ever been in an accident
        15    before the date of this incident?          An
        16    accident.
        17         A.     Like a car accident?
        18         Q.     Yeah.
        19         A.     Only one, and I think I was in my
        20    20s.
        21         Q.     And where did that accident take
        22    place?
        23         A.     South Daytona.
        24         Q.     And were you a driver?
        25         A.     Yes.


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         1         Q.    And was it a severe accident?
         2         A.    No, the brakes failed and I -- I had
         3    hit a -- a convenient store window and broke
         4    the window.
         5         Q.    Were you emotionally upset about
         6    that?
         7         A.    I was -- I was kind of shooken up by
         8    it because I had just -- it was a good friend
         9    of mine's store, so I was kind of shooken up
        10    that just broke my -- a friend or acquaintance
        11    of mine's business window.
        12         Q.    Did you lose any sleep?
        13         A.    I didn't -- I would say it was -- I
        14    lost sleep when I saw him on Christmas because
        15    I felt bad.
        16         Q.    Did you lose sleep by the fact that
        17    you had a car that brakes failed and you could
        18    have died?
        19         A.    I was moving at five miles an hour,
        20    if that.    It was -- it was kind of just a -- I
        21    was kind of bumped and rolled into it.
        22         Q.    You were you injured?
        23         A.    No, I was not.
        24         Q.    Suffer any other automobile
        25    accidents?


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         1         A.     No.
         2         Q.     Suffer any other injuries during your
         3    lifetime?
         4         A.     I had a neck injury in Costa Rica.
         5         Q.     What type of neck injury?
         6         A.     It was -- I don't know what they
         7    called it, but I just -- I got put in a neck
         8    brace for like a month.
         9         Q.     What was the nature of the injury to
        10    your neck?
        11         A.     Surfing accident.
        12         Q.     What was the nature of the injury?
        13         A.     It was a neck injury.      I don't --
        14    they spoke it in Spanish, I don't speak
        15    Spanish.
        16         Q.     I assume you came back to the United
        17    States and got care for that injury if you
        18    were immobilized for a month.
        19         A.     No.
        20         Q.     You stayed in Costa Rica?
        21         A.     Yes, I did.
        22         Q.     And did you go to a hospital?
        23         A.     Yes, I did.
        24         Q.     Did they take x-rays?
        25         A.     Yes, they did.


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         1         Q.    Did they tell you what it was?
         2         A.    The guy that was there translating,
         3    he just said it was kind of like whiplash,
         4    something to that effect.        They -- when they
         5    took the picture of my neck, the -- I guess
         6    the neck has an S-shape curve in it, and mine
         7    was almost straight as a pencil.
         8         Q.    So you had straight -- straightening
         9    of the cervical spine.
        10         A.    I couldn't -- I want to tell you but
        11    I can't because I don't --
        12         Q.    Did you see any other doctors after
        13    you went to the hospital?
        14         A.    No, I did not.
        15         Q.    Did you see any doctors when you came
        16    back to the United States?
        17         A.    No, I did not.
        18         Q.    Any other injuries, sports, slip and
        19    falls, trip and falls or otherwise?
        20         A.    I had Osgood-Schlatter disease in
        21    both my knees and that's going back to when I
        22    was a teen.
        23         Q.    You play any sports in high school?
        24         A.    Yeah, baseball, soccer, football,
        25    basketball, bowling.


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         1         Q.    Did you get injured in any of those
         2    activities?
         3         A.    Ever -- the occasional, you know,
         4    soccer ball to the face or a bruised, you
         5    know, a bruise, but nothing severe.
         6         Q.    No surgeries?
         7         A.    No surgeries.
         8         Q.    Any hospitalizations?
         9         A.    No.
        10         Q.    Who is your family physician?
        11         A.    Don't have one.
        12         Q.    When was the last time you had one?
        13         A.    Probably my teens.
        14         Q.    Who do you go to for colds and those
        15    type of things, nobody?
        16         A.    Good old Benadryl.
        17         Q.    You've been to any urgent care
        18    centers other than the two you told me about?
        19         A.    Those are gonna -- I may have been to
        20    -- I was at the emergency room for, like I
        21    said, I had a gash in my -- in my shin.
        22         Q.    How did that happen?
        23         A.    I fell fishing, I slipped on a -- a
        24    rock and fell on a rock and it gashed my shin
        25    open.


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         1         Q.    Any other hospitalizations?
         2         A.    I want to say no, not that I can
         3    recall.
         4         Q.    Were all the members of your group
         5    handcuffed?
         6         A.    I believe everybody except for Sean.
         7    And maybe -- and I want to say Jonah but I --
         8    I -- I'm not a hundred percent on that.
         9         Q.    Was Sean carrying a weapon?
        10         A.    No he was not.
        11               MR. FRIDAY:     Object to form.
        12               THE WITNESS:     No he was not.
        13    BY MR. SWITKES:
        14         Q.    And you said the other person was?
        15         A.    Jonah.
        16         Q.    Was he carrying a weapon?
        17               MR. FRIDAY:     Object to form.
        18               THE WITNESS:     Yes he was.
        19    BY MR. SWITKES:
        20         Q.    Why did you choose South Pointe Park?
        21         A.    I didn't choose South Pointe.
        22         Q.    Who did?
        23         A.    Chris.
        24         Q.    Why did he choose South Pointe Park?
        25         A.    We go -- we go across the state of


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         1    Florida and we pick random areas to go and
         2    fish and that was a pier, it was a free
         3    fishing pier, other than paying the entrance
         4    fee to get into the park.
         5         Q.    By entrance fee you mean parking fee?
         6         A.    Or parking fee, whatever.        I'm sorry
         7    about that.
         8         Q.    And when you have these
         9    demonstrations, you've now been to hundreds of
        10    them, your point is to make what point?
        11               MR. FRIDAY:     Object to form.
        12               THE WITNESS:     Educate the public
        13         about their second amendment rights, talk
        14         about, you know, pol -- political -- what
        15         they're doing politically with our
        16         firearms and the second amendment.          Just a
        17         general overview of the second amendment
        18         to anybody that has questions about why
        19         we're out there.
        20    BY MR. SWITKES:
        21         Q.    Did are participate in the
        22    demonstration at FSU?
        23               MR. FRIDAY:     Object to form.
        24               THE WITNESS:     Did I demon -- did I go
        25         to FSU to demonstrate?


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         1    BY MR. SWITKES:
         2         Q.     With Florida Carry.
         3         A.     It -- was it a gun ra -- like I'm
         4    lost on what you're --        what you're talking --
         5    I've been -- I've been to FSU but I've never
         6    been to a gun rally, other than the Rally in
         7    Tally, but that wasn't a -- that was a -- it
         8    wasn't a open carry gathering.         It was just a
         9    -- it was at the state capital, it wasn't even
        10    at FSU.
        11         Q.     You went to the Rally in Tally?
        12         A.     That's what they called it, it was
        13    called Rally in Tally, yes.
        14         Q.     And when was that, approximately?
        15         A.     I -- I don't recall.
        16         Q.     Give me your best estimate.
        17         A.     Maybe November, maybe.       Like I said,
        18    I'm just guessing --
        19         Q.     November of, what year?
        20         A.     2018.
        21         Q.     Did you go to a rally in Tampa?
        22         A.     I have been to a open-carry gathering
        23    in Tampa.
        24         Q.     When was that?
        25         A.     2019, and I want to say March, if I'm


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         1    not -- once again, there's so many videos that
         2    I have, I'm trying to guess on a month.
         3         Q.    Did you go to the rally at the
         4    University of Florida?
         5               MR. FRIDAY:     Object to form.
         6               THE WITNESS:     I've never -- never
         7         been there.
         8    BY MR. SWITKES:
         9         Q.    Did you go a rally at Daytona?
        10         A.    No.
        11               MR. FRIDAY:     Object to form.
        12               THE WITNESS:     In Daytona?
        13    BY MR. SWITKES:
        14         Q.    In Daytona.
        15         A.    No.
        16         Q.    Did you to a rally at St. Petersburg
        17    College?
        18               MR. FRIDAY:     Object to form.
        19               THE WITNESS:     No.
        20    BY MR. SWITKES:
        21         Q.    Did you go to a rally at University
        22    of North Florida?
        23               MR. FRIDAY:     Object to form.
        24               THE WITNESS:     No.
        25    BY MR. SWITKES:


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         1         Q.      Are you involved as a party in any
         2    other lawsuits with any other members of
         3    Florida Carry?
         4         A.      No.
         5         Q.      Do you know if any of the members of
         6    the demonstration in Miami Beach were at any
         7    of those rallies?
         8                 MR. FRIDAY:    Object to form.
         9                 THE WITNESS:    I cannot -- I do not
        10         know.
        11    BY MR. SWITKES:
        12         Q.      Did you ever discuss the experiences
        13    of other demonstrations with any of the
        14    members you were in Miami Beach on June 24,
        15    2018 --
        16                 MR. FRIDAY:    Object to form.
        17    BY MR. SWITKES:
        18         Q.      -- before or after that
        19    demonstration?
        20                 MR. FRIDAY:    Object to form.
        21                 THE WITNESS:    Have I ever talked to
        22         anybody about it?
        23    BY MR. SWITKES:
        24         Q.      Not anyone.    The members that were
        25    with you the day in Miami Beach.


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         1         A.    Sporadically at the beginning for the
         2    -- when the incident happened in -- for
         3    probably about the first month after it
         4    happened we -- we talked about it and then we
         5    kind of put it behind us, because we wanted to
         6    kind of -- because the more we talked about it
         7    the more it just kept bringing back all the --
         8    all the negative that we had that day.
         9         Q.    Were you searched --
        10         A.    Yes.
        11         Q.    -- by the Miami Beach police?
        12         A.    Yes, I was.
        13         Q.    When you say searched, can you
        14    describe for me what the search consisted of?
        15         A.    They -- they took my firearms, they
        16    went through my -- my backpack, after I told
        17    them that I did not give consent to any of it.
        18         Q.    Anything else?
        19         A.    Those were the only -- they searched
        20    myself, my pockets and -- and my bag.
        21         Q.    What was in your backpack?
        22         A.    Fishing gear.      Fishing gear, a fillet
        23    knife and hooks.
        24         Q.    Did they confiscate any of those
        25    temporarily?


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         1         A.    No.
         2         Q.    What was -- did you bring a cooler?
         3         A.    I did not have a cooler but I believe
         4    there was a cooler there.
         5         Q.    Okay.    Where did they place your
         6    firearm?
         7         A.    I do not know.
         8         Q.    Do you remember your conversations
         9    with the officers that you haven't told me
        10    about yet?
        11         A.    Not real -- I mean, not really.          I
        12    think I've told you about pretty much all the
        13    conversations that I had about -- with
        14    Mitchell and I believe the officer that put me
        15    in -- in his vehicle.
        16         Q.    What did you say to the officer that
        17    put you in his vehicle?
        18         A.    That I -- that I just didn't
        19    understand what was going on.         And then he
        20    was, he was -- he's the one that said
        21    something about me drinking.         And I explained
        22    to him that -- the same thing I spoke to you
        23    about, that I -- I hadn't been drinking and I
        24    quit drinking at like two, three o'clock in
        25    the morning the day before.


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         1         Q.    You told him you had five or six
         2    beers the evening before?
         3         A.    I -- I -- I said -- I mentioned -- I
         4    don't know if I mentioned how many beers or if
         5    I -- I just said I'd -- I think I remember
         6    just saying I've been drinking the night
         7    before until like two, three o'clock in the
         8    morning.
         9         Q.    Anything else that you recall?
        10         A.    Other than telling the officers not
        11    to touch my stuff, other than -- I think
        12    that's -- I think that's it.
        13         Q.    When you were looking at yourself on
        14    the video did it appear to you that you looked
        15    pretty calm?
        16         A.    No.
        17         Q.    How would you describe the way you
        18    looked?
        19         A.    Frustrated.
        20         Q.    Aggressive?
        21         A.    No, frustrated.
        22         Q.    Argumentative?
        23         A.    No.   I was trying to let them know
        24    about the law and they were argumentative
        25    towards me because they didn't want to hear


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         1    what I had to say.
         2         Q.    And did they ask you to stop talking
         3    a number of times?
         4         A.    I don't recall that.
         5               MR. FRIDAY:     Object to form.
         6    BY MR. SWITKES:
         7         Q.    You don't remember your friends
         8    telling you, leave it alone, Mr. Friday will
         9    take care of it?
        10         A.    That -- you asked if the officers --
        11         Q.    Now I'm asking you about your
        12    friends.
        13         A.    Oh, yeah.
        14         Q.    Did you perceive that as telling you
        15    to stop talking and stop --
        16         A.    No.
        17         Q.    -- aggravating the circumstance?
        18         A.    No.
        19         Q.    Why do you think they were saying
        20    that to you?
        21               MR. FRIDAY:     Object to form.
        22               THE WITNESS:     That's their right.
        23         They can say whatever they want to say.
        24    BY MR. SWITKES:
        25         Q.    Why do you think they were saying


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         1    that to you?
         2         A.    I don't know.      You have to ask them.
         3         Q.    You can't image why?
         4         A.    No.
         5               MR. FRIDAY:     Object to form.
         6    BY MR. SWITKES:
         7         Q.    Now, you said your gun was in a
         8    holster?
         9         A.    Correct.
        10         Q.    Which hip?
        11         A.    Right.     It -- it was actually more --
        12    if anything, it was more at like the
        13    two o'clock.     It wasn't so much, like, on the
        14    side of my hip at, like, three or four
        15    o'clock.    It was more at, like, two, one
        16    o'clock.
        17               So it was more in front of me than it
        18    was on the side of me.
        19         Q.    Does your holster have a clip?
        20         A.    The holster has a -- it's a Level II
        21    SERPA holster.
        22         Q.    And when did you buy that?
        23         A.    Right around the same time I
        24    purchased the firearm.
        25         Q.    Where did you purchase it?


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         1         A.    Lotus Gunworks.
         2         Q.    Do you know which officer took your
         3    gun?
         4         A.    No, I do not.
         5         Q.    What was done with your gun once it
         6    was taken from you?
         7         A.    I do not know.      They just -- they
         8    took it and they were running serial numbers,
         9    that's all I do know.       I don't know who -- who
        10    took it and how it got to where it got, but I
        11    do know they were taking photos and they were
        12    running serial numbers of firearms.
        13         Q.    Do you know who took the photos?
        14         A.    No, I do not.
        15         Q.    Do you know who ran serial numbers?
        16         A.    No, I do not.
        17         Q.    How many total officers appeared, to
        18    the best of your knowledge?
        19         A.    I believe it was twelve in total.
        20         Q.    Okay.    Do you know why in your
        21    complaint you said it was 20?
        22         A.    Well, I didn't say 20.        I don't
        23    believe I ever said 20.        I believe it was 12
        24    and then there's the chief of police -- chief
        25    of police and the city attorney.


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         1         Q.    Showed up at the scene?
         2         A.    At that scene, yes.       The chief of
         3    police did not show up.        The city attorney did
         4    not -- or the city manager or city attorney, I
         5    can't remember which one, they weren't there.
         6         Q.    Eventually approximately twenty
         7    officers would be present at the fishing venue
         8    is what's in the complaint; are you aware of
         9    that?
        10         A.    I was not aware of -- if it was 20, I
        11    thought -- I could have said it was twelve,
        12    because even in the video I say it was twelve,
        13    or 10 to 12 or something around there.
        14         Q.    When in the course of the events did
        15    Weiss show up?
        16         A.    It was 15 or so minutes after the --
        17    the initial contact.
        18         Q.    And the length of time that you were
        19    in handcuffs, your best approximation?
        20         A.    At least an hour and a half to two
        21    hours.
        22         Q.    Then again, you wouldn't know who
        23    took the handcuffs off you or put them on?
        24         A.    No.
        25         Q.    Do you know how many coolers were at


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         1    the scene?
         2         A.    I believe there was just one.
         3         Q.    And do you know whose that was?
         4         A.    I believe it was Mr. Jen -- Steven
         5    Jenkins.
         6         Q.    And do you know what was in the
         7    cooler?
         8         A.    Water, water and bait, and ice.
         9         Q.    Did the officers look in the cooler?
        10         A.    I don't know.
        11         Q.    You didn't see that?
        12         A.    I did not.
        13         Q.    Do you know if the officers took
        14    anything out of the coolers?
        15         A.    They -- I don't believe they did.
        16         Q.    Were there any fish in the coolers?
        17         A.    We never -- we never had the chance
        18    to fish.
        19         Q.    What do you mean by that?
        20         A.    We were there for about 30 minutes
        21    before we were in handcuffs for two hours.
        22         Q.    And in those 30 minutes no one ever
        23    fished?
        24         A.    I -- I -- in -- in -- in my video
        25    you'll see me actually get -- getting ready to


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         1    -- I'm like literally putting my lines
         2    together so that I could start fishing and the
         3    park ranger showed up and then about 15, 20
         4    minutes later the police showed up and we were
         5    in handcuffs from that point forward.
         6         Q.     On the other six occasions when you
         7    went on these demonstrations did anybody catch
         8    any fish?
         9                MR. FRIDAY:    Object to form.
        10                THE WITNESS:    Yes.    I -- I've -- I've
        11         caughten numerous fish, Snook, bluefish,
        12         trout.    I believe a tarpon's been caught.
        13         I believe a mutton snapper's been caught.
        14    BY MR. SWITKES:
        15         Q.     On the six prior occasions where you
        16    appeared with Florida Carry, you caught those
        17    fish?
        18         A.     I caught fish that were not with
        19    Florida Carry.
        20         Q.     Oh, I -- see, that's my not question.
        21         A.     You asked if we had caught fish and I
        22    said yes.
        23         Q.     Okay.   I want to know during any of
        24    the times when you gathered six times before
        25    June 24, 2018, in any of those occasions did


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         1    you catch fish?
         2         A.    I believe a croaker was caught.
         3         Q.    Amongst how many members?
         4         A.    Maybe six, six to ten, at most.
         5         Q.    And in how many hours on each one of
         6    those six occasions were you fishing?
         7         A.    Three to four hours per -- three to
         8    four hours and for about three -- with the
         9    Florida Carry members it was three events or
        10    three gatherings prior to June 28th.
        11               And then there were probably about
        12    three or four other ones I had done by myself
        13    where I had caughten fish.
        14         Q.    In the three or four gatherings that
        15    you had spent with other members of Florida
        16    Carry, in the three to four hours that you
        17    were present at those three to four locations,
        18    you were recall one croaker being caught by
        19    all of the participants on all of those dates,
        20    correct?
        21         A.    Correct.    That's why it's called
        22    fishing, not catching.
        23         Q.    Would you agree that the primary
        24    purpose of those gatherings was not to fish
        25    but to demonstrate?


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         1               MR. FRIDAY:     Object to form.
         2               THE WITNESS:     No.   Our main goal is
         3         to go out and fish and express our second
         4         amendment right and then education of the
         5         public is just a secondary byproduct of --
         6         of it.
         7    BY MR. SWITKES:
         8         Q.    As a lifelong fishermen, you would
         9    say -- how many fishermen were at these three
        10    or four other gatherings?
        11         A.    Anywhere from six to ten.
        12         Q.    For six to ten people fishing for
        13    three to four hours at these prior gatherings,
        14    you would admit that one croaker is a pretty
        15    meager haul for that amount of fishermen,
        16    wouldn't you?
        17               MR. FRIDAY:     Object to form.
        18               THE WITNESS:     Catching one croaker is
        19         a meager -- no.      I guess -- I don't think
        20         that's a meager, that's a -- that's --
        21         unless you're some kind of better
        22         fishermen than we are, or I am, if you can
        23         show us the way, I'm -- I'm all ears, man.
        24         I would love to see how -- if you know the
        25         secret, I would love to know it.


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                                                                      Page 196
         1    BY MR. SWITKES:
         2         Q.    When you go out fishing, how many
         3    fish do you catch approximately when you're
         4    not with Florida Carry?        Give me an average
         5    day.
         6         A.    It could be no fish.       It could be
         7    twenty fish.     It all -- it's all going to --
         8    it varies.
         9         Q.    I asked you for the average.
        10         A.    There is no average.       I can't --
        11         Q.    You can't -- you don't know what an
        12    average is?
        13         A.    I do know what an average is.
        14         Q.    Why can't you average.        If you go out
        15    regularly fishing --       and I go fishing in the
        16    Everglades and I can tell you what my average
        17    is, and it's a hell of a lot more than what
        18    you're expressing.
        19         A.    Okay.
        20         Q.    Are you telling me that on most of
        21    the occasions when you go out fishing you
        22    don't catch any fish?
        23               MR. FRIDAY:     Object to form.
        24               THE WITNESS:     Yeah, fish are caught
        25         just not all the time.


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                                                                      Page 197
         1    BY MR. SWITKES:
         2         Q.     And no one said all the time.
         3         A.     I can't give you an average when --
         4    there -- there -- there's no average.           There's
         5    no average.        It's not like golf where you have
         6    an average score that you're always going to
         7    score.    Fishing is fishing.       Some days it's
         8    zero.     Some days it's a hundred.       It varies.
         9    It's a variable, that's why it's fishing, not
        10    catching.
        11         Q.     One for ten people --
        12         A.     If you've got a better --
        13         Q.     -- on three different occasions, you
        14    think that's normal?
        15         A.     Yes.
        16         Q.     Okay.    What's the organization you
        17    belong to for fishing?
        18         A.     I don't belong to any organization.
        19         Q.     I thought you said you go in
        20    tournaments --
        21         A.     Yes, I did.    In past tense, not
        22    anymore.
        23         Q.     Okay.    What was that organization's
        24    name?
        25         A.     It's IFA.


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         1         Q.    IFA?
         2         A.    Uh-huh.    Redfit -- or IFA Kayak, it's
         3    the kayak division.
         4         Q.    And -- so they have -- did you
         5    participate in tournaments?
         6         A.    Uh-huh.
         7         Q.    Say yes or no.
         8         A.    Yes.
         9         Q.    And during those tournaments you
        10    would have zero fish a lot of the times when
        11    you were in those tournaments?
        12         A.    I -- I had been to -- I've fished, I
        13    think it was, eight to -- eight tournaments
        14    and three or four of them I caught zero fish.
        15         Q.    Is that why you stopped with those
        16    tournaments?
        17         A.    I actually placed eighth in the state
        18    of Florida.       I was ranked number eight and I
        19    did catch fish that almost got me to place.             I
        20    just missed the cutoff of placing in the money
        21    two times.
        22         Q.    In one tournament?
        23         A.    In -- I think it was two tournaments
        24    I just missed the cutoff.
        25         Q.    Okay.    How long were you on the pier


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         1    in total?
         2         A.     I'm guessing it was probably about
         3    three hours, four hours.        Because when we --
         4    I'm guessing it was around like one o'clock
         5    when he left, but I don't really recall the
         6    time, the time we left or after we got out of
         7    the cuffs.     It was -- I just know that we were
         8    there in cuffs for almost two hours, or
         9    roughly two hours.
        10         Q.     Well, I'm a little confused.        You
        11    said three to four hours --
        12         A.     Correct.
        13         Q.     -- and now you just said two hours.
        14         A.     That day that you're speaking about
        15    we were in handcuffs until -- until they
        16    closed down the pier.
        17         Q.     Okay.   My question is, what is the
        18    amount of time you were on the pier?           You've
        19    given widely different numbers now.
        20         A.     Our normal fishing --
        21         Q.     No, no, no, no.
        22         A.     On that pier we were scheduled --
        23         Q.     I don't want to know normal fishing.
        24    I asked you a very simple question, what is
        25    your best estimate about the length of time


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         1    you were on the fishing pier in Miami Beach on
         2    June 24, 2018?
         3         A.    Three -- three to four hours.
         4         Q.    So if your complaint said that you
         5    were there for approximately two hours and
         6    26 minutes --
         7         A.    That was the detainment.        We were
         8    there from nine o'clock -- 9:15-ish, that's
         9    when I got there, the park ranger showed up,
        10    30 minutes after that the police showed up, so
        11    we were already there for almost 40 minutes
        12    before the police even showed up.          Once the
        13    police showed up, we're talking about a
        14    two-hour detainment.       So, yes, it was about
        15    three hours to four hours.        I don't know --
        16    recall what time we left.        I just know we
        17    showed up, we barely got any -- we were barely
        18    fishing and then we were in handcuffs for
        19    almost -- for two hours.
        20         Q.    Were you ever told you were under
        21    arrest?
        22         A.    I asked if we were being detained and
        23    they never told us why we were being detained.
        24         Q.    Okay.    Did I -- now see if you can
        25    answer my question.


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         1         A.    Oh, yeah, no, they never said we were
         2    under arrest.
         3         Q.    Do you remember any other
         4    conversations with the officers on the pier,
         5    before I go to off the pier?
         6         A.    No.
         7         Q.    Do you remember any of the officers
         8    threatening you while you were on the pier?
         9         A.    Yes.
        10         Q.    What did they say?
        11         A.    They pointed guns at us.
        12         Q.    Okay.    I didn't ask you that.       I
        13    said --
        14         A.    You asked if they threatened us, and
        15    that was a threat.
        16         Q.    Okay.
        17         A.    With deadly force.
        18         Q.    Listen to my question, and I think
        19    they're pretty simple.        And remember at the
        20    beginning I told you, if you don't understand
        21    them ask me to rephrase to you.
        22         A.    Okay.
        23         Q.    Did any of the officers say anything
        24    that you thought was a threat?
        25         A.    No.


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         1         Q.     During the time when you were on the
         2    pier as they were standing there, do you
         3    believe the officers did anything physically
         4    threatening as you were handcuffed sitting
         5    there?
         6         A.     Physically threatening me?
         7         Q.     As the officers were standing there
         8    -- I've watched the video, I'm sure you have
         9    multiple times, weren't the officers just
        10    standing there?
        11         A.     Most of them, yes.
        12         Q.     Okay.   They weren't saying anything
        13    to you.     They weren't threatening you.        They
        14    weren't doing anything but just standing
        15    there, correct?
        16         A.     Some of them, yes.
        17         Q.     Okay.   And the other ones?
        18         A.     They were walking around trying to
        19    figure out -- trying to figure out the law.
        20         Q.     Okay.   You didn't -- you wouldn't
        21    construe that as a threat, would you?
        22         A.     They -- they could have possibly been
        23    conspiring to arrest us for something.
        24         Q.     They could have been possibly doing
        25    anything.


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         1         A.    Yeah.
         2         Q.    Did you hear anything that would
         3    indicate to you that they were conspiring in
         4    someway?
         5         A.    When they shut their body cams off,
         6    yes.
         7         Q.    And who was it that shut the body cam
         8    off?
         9         A.    I'm guessing it was one of the -- I
        10    -- I -- I honestly don't know his name.            I
        11    couldn't -- I just know that he shut off his
        12    camera and I believe he was either one of the
        13    sergeants that approached us that day.
        14         Q.    Describe him for me.
        15         A.    White male, tall, blonde hair, I
        16    believe.    I'd say medium build, too.         He's
        17    probably about 200, 225.
        18         Q.    And age, approximately?
        19         A.    Maybe in his 30s, 40s.
        20         Q.    And did he say anything to you that
        21    you recall?
        22         A.    Yeah, he was the one that asked me
        23    why I needed medical attention.
        24         Q.    And you responded?
        25         A.    Or he responded why.       And I told him


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         1    about my shoulder injury.
         2         Q.    And he said?
         3         A.    He didn't really respond but he -- I
         4    believe he did eventually get the paramedics
         5    to start coming.
         6         Q.    Okay.    Any other conversations that
         7    you recall?
         8         A.    No.
         9         Q.    Did you request the return of your
        10    gun at anytime while on the pier?
        11         A.    I definitely said that it was against
        12    my second amendment and my fourth amendment
        13    rights, which is illegal search and seizures
        14    and my firearm --
        15         Q.    Did you at any time request the gun
        16    be given back to you was the question.
        17         A.    At the end of the day or at the end
        18    when we were in the parking lot trying to get
        19    it -- going through the process to get our
        20    firearms back.
        21         Q.    Okay.    How did you get from the pier
        22    to the parking lot?
        23         A.    After I was taken out of the cruiser
        24    and walked back to -- to the pier where
        25    everybody was, that's when they took us out of


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         1    handcuffs, they told we -- they were shutting
         2    the pier down for the day, they walked us back
         3    to the cars and that's when they started
         4    returning firearms.
         5         Q.    And do you know who returned your
         6    firearm?
         7         A.    No, I do not.
         8         Q.    And what kind of car were you driving
         9    at the time?
        10         A.    I want to say a grey -- grey Ford.
        11         Q.    And you came alone, correct?
        12         A.    Correct.
        13         Q.    And you don't know who accompanied
        14    you to your car?
        15         A.    No.
        16         Q.    How was the gun returned to you?
        17         A.    All the magazines were empty and the
        18    ammo was put in, I believe, a rubber glove, if
        19    I'm not mistaken, and they were returned to --
        20    returned into my trunk.
        21         Q.    And you can't describe the officer
        22    that did that?
        23         A.    No.
        24         Q.    Did he say anything to you?
        25         A.    No.


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         1         Q.     Okay.   And then what happened after
         2    he returned your gun and the ammo to your
         3    trunk?
         4         A.     That was when we decided to -- some
         5    of us decided to stay and some decided to
         6    leave, and I decided to leave.
         7         Q.     Who decided to stay and who decided
         8    to leave?
         9         A.     I believe Jonah was the only one that
        10    stayed, but you're going to have to ask him
        11    because I don't know if he stayed that long or
        12    if he even did stay.       I just know he was
        13    talking about staying.
        14         Q.     And did you leave with anybody else?
        15         A.     Nope, I left on -- I left by myself.
        16         Q.     Okay.   Did you get your fishing gear
        17    back?
        18         A.     Yes.
        19         Q.     When did you get that?
        20         A.     While we were on the pier when they
        21    started walking -- when they closed the pier
        22    down.
        23         Q.     And did they close the pier down just
        24    for your or did they close the pier for
        25    everybody?


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         1          A.   For everybody.
         2          Q.   Okay.    Did they tell you why they
         3    were doing that?
         4          A.   No.    Other than because we were out
         5    there open carrying, I mean, that's the only
         6    -- the only reason I know that they shut the
         7    pier down.
         8          Q.   Okay.    My question was:      Did they
         9    tell you why they --
        10          A.   No.    And if they did, I don't recall
        11    it.
        12          Q.   Did you ask to return to the pier?
        13          A.   Yeah, we -- we wanted to continue to
        14    fish but they said they were shutting the pier
        15    down.
        16          Q.   You asked the officers?
        17          A.   We wanted -- yes, we told them --
        18          Q.   Not we wanted to.      I asked you, did
        19    you ask the officers?
        20          A.   It was asked as the group.
        21          Q.   Did you?
        22          A.   It didn't so much come out of my
        23    mouth, no.
        24          Q.   Okay.    Did someone else ask?
        25          A.   Yes.


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         1         Q.    Who was that?
         2         A.    I don't know.
         3         Q.    And do you know who said the pier was
         4    going to be closed?
         5         A.    It's probably going to be one of the
         6    sergeants or lieutenants or whoever showed up
         7    that day, I don't know.
         8         Q.    How often are you going fishing now,
         9    presently?
        10         A.    Recently, probably about two to three
        11    times -- more two times a week, if I'm really
        12    lucky.
        13         Q.    And what kind of fishing gear do you
        14    use?
        15         A.    Artificial, live, whatever --
        16    whatever is -- whatever gets them biting.
        17         Q.    And what kind of pole and reel do you
        18    use?
        19         A.    Most of my gear is all about seven
        20    foot -- seven-foot rods and the reels vary
        21    between 3000 series up to 6000s.
        22         Q.    What's the biggest fish you've caught
        23    in the last two years?
        24         A.    Probably about a five and a half foot
        25    tarpon.


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         1         Q.     How long did you take to get -- to
         2    bring it in?
         3         A.     Probably about 25, 30 minutes.
         4         Q.     Were you a boat or were you on --
         5         A.     I was on land.
         6         Q.     Where was that?
         7         A.     Port St. Lucie.
         8         Q.     What kind of pound string were you
         9    using?
        10         A.     They all vary.
        11         Q.     For that tarpon.     I assume it's a
        12    pretty thick line.
        13         A.     It was -- I believe it was 50-pound
        14    braid, 80-pound leader.
        15         Q.     What were you using for bait?
        16         A.     Artificial.
        17         Q.     Were you able to do that with no
        18    problem?
        19         A.     It's fishing, man, it goes up and
        20    down.     Some days you're lucky, some days
        21    you're not.     I got lucky.
        22         Q.     How much would you say that five and
        23    a half foot tarpon weighed?
        24         A.     Probably in the hundred pound, 110
        25    pound range, probably.


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         1         Q.    Didn't bother your shoulder?
         2         A.    I believe this, when I caught the
         3    tarpon, was prior to -- prior to Miami.            It
         4    was probably going back seven years, six
         5    years.
         6         Q.    I asked you if you've gone since and
         7    you told me you went since.
         8         A.    Oh, sorry, I was sorry -- I was -- I
         9    heard what's your biggest fish and that's what
        10    I thought.     That's why I talked about the
        11    five-foot.
        12         Q.    Yeah.
        13         A.    I didn't realize you were still
        14    talking about recently.
        15         Q.    Yeah.
        16         A.    So if it was just recently then it's
        17    probably going to be about a 40-inch snook.
        18         Q.    How long did it take you to take that
        19    out?
        20         A.    About, say, five minutes, six
        21    minutes.
        22         Q.    Where did you catch the snook?
        23         A.    Stuart, Florida.
        24         Q.    Did you keep it?
        25         A.    No.


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         1         Q.     You're not allowed to keep it, are
         2    you?
         3         A.     No.   It's illegal.
         4         Q.     Have you ever been the subject of a
         5    domestic violence situation?
         6         A.     Never.
         7         Q.     You ever been in the military?
         8         A.     Never.
         9         Q.     Ever been in law enforcement?
        10         A.     Never.
        11         Q.     Ever held a security job?
        12         A.     Never.
        13         Q.     Have you ever been required to have a
        14    security check?
        15         A.     Background check or security check,
        16    I'm not sure which -- what the difference
        17    would be.     Like I've -- I've had background
        18    checks on my, you know, through jobs and
        19    things of that nature, but I don't know if
        20    that's a security check.
        21         Q.     Now, you said you went back to South
        22    Pointe Pier on two occasions after June 24,
        23    2018, correct?
        24         A.     Correct.
        25         Q.     What were the reasons for the return?


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         1         A.     In October it was just a revisit to
         2    the pier, because we -- we were,
         3    unfortunately, not able to fish that day, so
         4    we went back to go fishing.         And a mutton
         5    snapper was caught that day.
         6         Q.     I'm having trouble understanding your
         7    response.     You said we went back that day --
         8         A.     On October --
         9         Q.     -- unfortunately we weren't allowed
        10    -- we weren't able to fish and we caught --
        11    and then you said you caught a fish.
        12         A.     On June 24th we were unable to fish
        13    so we went back in October to go fishing and
        14    we were able to fish and caught a mutton
        15    snapper.
        16         Q.     Okay.   And on both those times you
        17    went there for an open carry gathering,
        18    correct?
        19         A.     Yeah.   Yes.
        20         Q.     You weren't in fear to go back there
        21    again?
        22         A.     No, because they knew the law now.
        23         Q.     Okay.   You said in your answers to
        24    interrogatories in Question Number 22, I'll
        25    give you the question:        For each weapon


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         1    identified in response to Interrogatory 21,
         2    please explain how the weapon was carried on
         3    the date of the incident from the time you
         4    arrived in Miami Beach to the moment you left
         5    Miami Beach.      For all relevant time periods
         6    state whether the weapon was holstered, held
         7    in your hand, placed on a bench against a
         8    railing or otherwise.
         9               Your answer was:        I was not in
        10    possession of any weapon.          I was in possession
        11    of a holstered firearm prior to it being
        12    seized by the officers of the Miami Beach
        13    Police Department.       The only time my firearm
        14    was not on my side in my holster was after it
        15    was seized by the officers who later placed it
        16    in my vehicle unloaded and in a conti -- in a
        17    condition useless for self-defense, correct?
        18         A.    Correct.
        19         Q.    Were you afraid to be in your car
        20    without a gun on your holster on your hip?
        21         A.    Yes.
        22               MR. FRIDAY:     Object to form.
        23               THE WITNESS:     Yes.
        24    BY MR. SWITKES:
        25         Q.    Do you -- you always drive your car


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         1    with a weapon on your -- in your holster on
         2    your hip?
         3                MR. FRIDAY:    Object to form.
         4                THE WITNESS:     Yes.
         5    BY MR. SWITKES:
         6         Q.     You always do?
         7         A.     Everywhere I go, except for if I have
         8    to go into like a school, that's pretty much
         9    the only places that I'm not really allowed.
        10    Other -- like I can't go to -- to like a
        11    Carnival Cruise Line and drive my vehicle in
        12    with a firearm, I mean, other than the school,
        13    I -- I pretty much carry my firearm with me
        14    every day everywhere I go.
        15         Q.     Open carry?
        16         A.     Not openly.    Concealed.     I have a
        17    concealed weapon's license now.
        18         Q.     When -- when did you obtain that?
        19         A.     I want to say it was a few weeks
        20    after the Miami Beach incident.
        21         Q.     Did you ask for the weapon to be
        22    placed in your vehicle?
        23         A.     No, I did not.
        24         Q.     Did any members of your party who
        25    came that day to Miami Beach continue to fish


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         1    from a seawall?
         2         A.    I'm -- I'm guessing it was Jonah but
         3    I did not see him fishing off -- fishing.            I
         4    just -- he was talking about staying and I
         5    left.
         6         Q.    Did anybody make any threat to you as
         7    you were leaving?
         8         A.    No.
         9         Q.    The total time you were in handcuffs
        10    was approximately how long?
        11         A.    Right around -- it was right around
        12    two hours.
        13         Q.    So if you had one hour and 18
        14    minutes, would that be correct, or is it two
        15    hours?
        16         A.    It was roughly about two hours.          It
        17    was -- I -- I couldn't tell you because I --
        18    even with my camera shutting off I don't -- I
        19    don't know the exact time of how long we were
        20    in cuffs, I just know it was right around two
        21    hours.
        22         Q.    Who has told you your shoulder injury
        23    is permanent?
        24         A.    Permanent?
        25         Q.    Yes.


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         1         A.    That would be the urgent care.          And
         2    it's something that all I can do is try to
         3    strengthen, it's not --
         4         Q.    So what do you do to strengthen it?
         5         A.    I try to -- I basically just do
         6    lightweights, five pounds, and I usually do --
         7    I don't know what they're called, they're
         8    called butterflies, I guess, so that I can
         9    strengthen the arm or the shoulder itself.
        10         Q.    How often do you do that?
        11         A.    Probably about four times a week.
        12         Q.    Explain what you mean by butterflies.
        13         A.    If you could imagine a butterfly,
        14    just like a butterfly, like, you know, I don't
        15    know, like you're flap -- like you're flapping
        16    your wings type of -- like that, but you're
        17    with weights.
        18         Q.    With weights?
        19         A.    Yeah, like two to five pound weights
        20    and I just sit there and I lift up and -- to
        21    strengthen the -- the shoulder itself.
        22         Q.    Any other exercise you perform?
        23         A.    No.
        24         Q.    Have you had an MRI?
        25         A.    No, I have not.


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         1         Q.     So who's diagnosed any of the
         2    injuries you've had in terms of the rotator
         3    cuff or -- has anybody told you you have a
         4    tear?
         5         A.     Urgent care, and that's why they were
         6    trying to send me to an MRI.
         7         Q.     Okay.
         8         A.     But I, unfortunately, could not pay
         9    for it.
        10         Q.     Are you working presently?
        11         A.     Yes, I am.
        12         Q.     Where are you working presently?
        13         A.     Luso.
        14         Q.     And you don't have any health
        15    benefits?
        16         A.     No, I do not.
        17         Q.     When was the last time you saw any
        18    doctor relating to your shoulder?
        19         A.     It -- it was probably -- it's
        20    probably going to be right around the -- right
        21    around June, June 24, 2018.         It was a cou --
        22    like the day after.       It was either that -- I
        23    think the urgent care was closed on Sunday, so
        24    I had to go on Monday.        So the 26th, I think,
        25    is probably the last day I ever saw a doctor


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         1    about it.
         2         Q.     The 26th of?
         3         A.     Of June, 2018.
         4         Q.     2018?
         5         A.     I believe so, re -- re -- regarding
         6    my shoulder.
         7         Q.     Do you have any plans to return to
         8    any doctors?
         9         A.     If I can afford an MRI I would -- I
        10    would go probably get an MRI to see exactly
        11    where my shoulder is and how sev -- how bad or
        12    severe the injury is.
        13         Q.     The first time you injured it was --
        14         A.     My -- I believe it was --
        15                MR. FRIDAY:    Object to form.
        16    BY MR. SWITKES:
        17         Q.     Answer the question.
        18         A.     It was probably my right shoulder and
        19    I believe that was, like, going back ten
        20    years.    It goes back to the -- the disorderly
        21    conduct.
        22         Q.     And did you have it examined,
        23    x-rayed, MRI?
        24         A.     I can't recall if there was an x-ray
        25    done.     They looked at the shoulder and then


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         1    they gave me a arm sling to wear.
         2         Q.    And when you say "they," who is they?
         3         A.    The doctors.
         4         Q.    At?
         5         A.    The urgent care.      But this is in
         6    Daytona Beach -- or Ormond Beach or Daytona,
         7    one of the two.
         8         Q.    Do you have records pertaining to
         9    that so you can tell me which of the two it is
        10    or where you went?
        11         A.    Yes, if I -- once again, the -- that
        12    urgent care I believe is no longer there.
        13    That's why I can't track them down.           I tried
        14    to and I can't, I can't --
        15         Q.    Did you have any treatment for the
        16    shoulder between ten years ago and the time
        17    you were arrested or detained in Miami Beach,
        18    excuse me?
        19         A.    No.
        20         Q.    Have you been detained in any of your
        21    subsequent Florida Carry events?
        22         A.    Have I been arrested?
        23         Q.    Detained.
        24         A.    Yes.
        25         Q.    Where?


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         1         A.    Port St. Lucie.
         2         Q.    Explain to me what happened.
         3         A.    I was walking to a fishing pond, the
         4    officers didn't know the law, put me in
         5    handcuffs, kept me in handcuffs, and until
         6    their -- their supervisor showed up and told
         7    them what I was doing was lawful and then they
         8    released me.
         9         Q.    Was that a Florida Carry event?
        10         A.    No, it was not.
        11         Q.    And when did this occur?
        12         A.    2019, January 1st.
        13         Q.    How long were you in handcuffs?
        14         A.    About 20 minutes, 20, 30 minute-ish.
        15         Q.    Did it affect your arm?
        16         A.    No, it did not.
        17         Q.    You handcuffed in the back?
        18         A.    I was handcuffed in the back.
        19         Q.    Any other times when you were
        20    detained in any other event?
        21         A.    Yes -- at an event, no.        No.
        22         Q.    Or not an event.
        23         A.    Yes.
        24         Q.    When was that?
        25         A.    That was at -- in Lantana.


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         1         Q.    Approximately when?
         2         A.    Like -- I want to say July, August,
         3    maybe.
         4         Q.    Of 2019?
         5         A.    Correct.
         6         Q.    And who detained you?
         7         A.    The officer, Lantana -- Lantana
         8    Police Department, don't know the officer's
         9    name.
        10         Q.    And were you placed in handcuffs?
        11         A.    Yes.
        12         Q.    For how long?
        13         A.    For, I want to say, about 20 -- 20 to
        14    30 minutes, 20 minutes.
        15         Q.    Did it affect your shoulder?
        16         A.    It did.
        17         Q.    How did it affect your shoulder?
        18         A.    They were, once again, when I was on
        19    the ground, the pain started and then they,
        20    once again, proceeded to grab my arm and when
        21    -- when they grabbed my arm to, I guess, pull
        22    me up, they pulled on my arm and that's when
        23    they -- they injured my shoulder again.
        24         Q.    Did you see any doctors?
        25         A.    No, I did not.


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         1         Q.     Okay.   Any other time you've been
         2    detained?
         3         A.     Yes, Lake Worth.
         4         Q.     And what department detained you
         5    there?
         6         A.     I want to say it was Palm Beach
         7    County or Palm Beach Sheriff's Office.
         8         Q.     And were you arrested?
         9         A.     No.
        10         Q.     Were you put in handcuffs?
        11         A.     No.
        12         Q.     How long did they detain you?
        13         A.     Seven minutes.
        14         Q.     Was that a Florida Carry event?
        15         A.     No.
        16         Q.     And any other times you've been
        17    detained?
        18         A.     Yes, in Melbourne Beach.
        19         Q.     And what department detained you?
        20         A.     I'm guessing it's Melbourne Beach PD.
        21         Q.     And were you handcuffed?
        22         A.     No.
        23         Q.     How long were you detained?
        24         A.     15, 20 minutes.
        25         Q.     And it was a Florida Carry event?


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         1         A.    No.
         2         Q.    But you were -- you had a sidearm on
         3    you?
         4         A.    And -- and a rifle.
         5         Q.    Any other times?
         6         A.    Detained, no, not to my knowledge or
         7    not that I can remember.        I think those are
         8    pretty much it.
         9         Q.    There was what?
        10         A.    I think those were -- that was pretty
        11    much all the detainments that I've had.            I've
        12    had other police interactions where they've
        13    been respectful and talked to me and then they
        14    went about their day.
        15         Q.    Where else did you have police
        16    interaction?
        17         A.    Riviera Beach.
        18         Q.    Approximately when?
        19         A.    May, maybe.
        20         Q.    May of '19?
        21         A.    Yeah, yes.
        22         Q.    And were you with a Florida Carry
        23    event?
        24         A.    No.
        25         Q.    And what was the interaction?


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         1         A.    It was -- actually that was a Florida
         2    Carry gathering and they just showed up while
         3    we were fishing, we were getting ready to
         4    fish.
         5         Q.    And?
         6         A.    Nothing, they just sat there and
         7    watched us for two hours, three hours.
         8         Q.    The police watched you the whole
         9    time?
        10         A.    Yeah.
        11         Q.    Why do you think did they that?
        12         A.    To give the public the mind of
        13    safety.
        14         Q.    Why would the public fear you?
        15               MR. FRIDAY:     Object to form.
        16               THE WITNESS:     I don't -- I don't know
        17         why they would.      They -- they -- I don't
        18         know why.
        19    BY MR. SWITKES:
        20         Q.    How many Florida Carry members were
        21    there?
        22         A.    I believe it was 10 to 12, maybe.
        23         Q.    Any other similar incidents?
        24         A.    Fort Pierce.
        25         Q.    When?


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         1         A.     What was that?
         2         Q.     When?
         3         A.     There's multiple days starting in
         4    2018.     I -- once again, I don't -- I couldn't
         5    tell you exactly what months.         I've been to
         6    Fort Pierce probably about close to a dozen
         7    times.
         8         Q.     And how many of those dozen times
         9    were there police interaction with you?
        10         A.     Three.
        11         Q.     Start with the first one, what
        12    happened?
        13         A.     Nothing.   It was actually a Florida
        14    Carry sanc -- Florida Carry gathering and the
        15    police were notified, they showed up, and the
        16    same flyer that we had at Miami Beach is the
        17    same flyer that we got from Fort Pierce.
        18         Q.     And what did the police do when they
        19    arrived?
        20         A.     They just sat around handing out the
        21    Florida statute to the public and answered the
        22    questions if people -- or if people walked up
        23    and asked how we could carry, the police were
        24    there just to kinda reaffirm that we were
        25    allowed to do that.


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         1         Q.     And they stayed the whole time you
         2    were there?
         3         A.     They stayed for, I believe, about two
         4    hours.    They weren't there the whole four --
         5    four hours that we were there that day.            Or if
         6    they were still there, we didn't see them.
         7         Q.     And you would say they stayed around
         8    to assure the public again?
         9         A.     Yes, yes.
        10         Q.     Okay.   And then the next time -- when
        11    was that?
        12         A.     I was by myself.
        13         Q.     When was the first time you just
        14    discussed, when in time frame, date, month?
        15         A.     2018 and I -- I really don't know.          I
        16    honestly --
        17         Q.     What part of the year?       Beginning of
        18    the year?
        19         A.     I'll say the end of the year.
        20    There's so many of them that I couldn't -- I
        21    can't be really specific.
        22         Q.     Okay.   And the second time, there's
        23    three, so go through all three.          Second time?
        24         A.     And then there was a couple in 2019.
        25         Q.     A couple in 2019?


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         1         A.    Uh-huh, two.
         2         Q.    And was it a Florida Carry event?
         3         A.    No, it was by myself.
         4         Q.    And police arrived?
         5         A.    Correct.
         6         Q.    And what happened when the police
         7    arrived?
         8         A.    Just verified that I was fishing and
         9    they went about their day.
        10         Q.    Did they stay while you fished?
        11         A.    No, they did not.
        12         Q.    How about the third time?
        13         A.    Same thing, showed up, made sure I
        14    was fishing, and from what I saw, they left.
        15    They may have been in the parking lot but to
        16    my knowledge, they left.
        17         Q.    Any other police interactions that
        18    you recall?
        19         A.    That's all I can -- that's all I can
        20    think of right now.
        21         Q.    When you say the police stayed to
        22    assure the public, you understand people are
        23    some -- some people are concerned when they
        24    see groups of men and women gathering with
        25    guns?


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         1               MR. FRIDAY:     Object to form.
         2               THE WITNESS:     I can't help other
         3         people's feelings.
         4    BY MR. SWITKES:
         5         Q.    I didn't ask you whether you can help
         6    other people's feelings.
         7         A.    Okay.
         8         Q.    The question was:      Do you understand
         9    how some people might be concerned when they
        10    see a gathering of people with guns?
        11               MR. FRIDAY:     Object to form.
        12               THE WITNESS:     No.
        13               MR. SWITKES:     Let's take a short
        14         recess, I'm not too much longer.
        15               THE VIDEOGRAPHER:      Okay.    Off the
        16         record at 1:30.
        17               (A recess was taken.)
        18               THE VIDEOGRAPHER:      We're back on the
        19         record at 2:01.
        20               MR. ROSENWALD:      Good afternoon.
        21               My name is Rob Rosenwald, I represent
        22         the City of Miami Beach and I just have a
        23         few additional questions for you.
        24                     CROSS-EXAMINATION
        25    BY MR. ROSENWALD:


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         1         Q.    First, you testified that Christopher
         2    Philpot had sent a letter to the City of Miami
         3    Beach city attorney, chief of police, and then
         4    to the Fish and Wildlife Commission; is that
         5    correct?
         6         A.    Uh-huh.    Yes, it was -- it was sent
         7    to the city attorney -- I believe the city
         8    attorney, chief of police and FWC.
         9         Q.    Are you aware that that letter
        10    contained -- I'm sorry, that email contains
        11    the letter that you're referring to in a
        12    format that was unopenable?
        13         A.    I have no -- no clue.
        14         Q.    Did Christopher Philpot ever tell you
        15    that he had trouble sending his email to City
        16    of Miami Beach representatives?
        17         A.    Not -- me directly, no, he's never
        18    said anything that he had trouble.          He's --
        19    all he stated was that there was an email sent
        20    to the three people or three organizations,
        21    the chief, city attorney and FWC.
        22         Q.    You said he didn't say anything to
        23    you directly, have you heard him say anything
        24    to that effect to anyone?
        25         A.    Never.


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         1         Q.    Have you seen his emails to the City
         2    of Miami Beach wherein he states that he had
         3    trouble sending the letter in an openable
         4    format?
         5         A.    No.
         6         Q.    Did you have alcohol with you on the
         7    pier on the day that you were doing your
         8    demonstration and then you had your
         9    interaction with the Miami Beach police?
        10               MR. FRIDAY:     Object to form.
        11               THE WITNESS:     No.
        12    BY MR. ROSENWALD:
        13         Q.    I'm sorry, you can answer.
        14         A.    No.
        15         Q.    No alcohol.     The -- have you ever
        16    been adjudged mentally incompetent?
        17         A.    No.
        18         Q.    Have you ever been addicted to the
        19    use of narcotics?
        20               MR. FRIDAY:     Object to form.
        21               THE WITNESS:     No.
        22    BY MR. ROSENWALD:
        23         Q.    Have you ever been addicted to the
        24    use of any drug?
        25               MR. FRIDAY:     Object to form.


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         1               THE WITNESS:     No.
         2    BY MR. ROSENWALD:
         3         Q.    Are you a habitual or chronic
         4    alcoholic?
         5         A.    Do I drink beer, yes; but am I an
         6    alcoholic, I don't think so.
         7         Q.    Now, let me ask you a slightly
         8    different question.
         9               Did you present any evidence to any
        10    Miami Beach police officer on the date of your
        11    demonstration, on the date that you interacted
        12    with them, that you had never been adjudged
        13    mentally incompetent?
        14               MR. FRIDAY:     Object to form.
        15               THE WITNESS:     I'm sorry, can you re--
        16         restate that.
        17    BY MR. ROSENWALD:
        18         Q.    Did you present any evidence to any
        19    Miami Beach police officer that you had never
        20    been adjudged mentally incompetent?
        21               MR. FRIDAY:     Object to form.
        22               You can answer.
        23               THE WITNESS:     No.
        24    BY MR. ROSENWALD:
        25         Q.    Did you present any evidence to any


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         1    officer of the City of Miami Beach that you
         2    were not addicted to the use of narcotic --
         3    narcotics or any similar drug?
         4         A.    No.
         5               MR. FRIDAY:     Object to form.
         6    BY MR. ROSENWALD:
         7         Q.    Did you present any evidence on that
         8    day or at any time to any Miami Beach police
         9    officer that you were not a habitual or
        10    chronic alcoholic?
        11               MR. FRIDAY:     Object to form.
        12               THE WITNESS:     The only thing -- no,
        13         the only thing I did say is that I had
        14         been drinking the night before.
        15    BY MR. ROSENWALD:
        16         Q.    Did you present any evidence to any
        17    Miami Beach police officer on that day
        18    establishing that you were not using your
        19    weapons or firearms in violation of Section
        20    790.07 to 790.115 --
        21               MR. FRIDAY:     Object to form.
        22    BY MR. ROSENWALD:
        23         Q.    -- or 790.145 to 790.19 --
        24               MR. FRIDAY:     Object to --
        25    BY MR. ROSENWALD:


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         1         Q.    -- or 790.22 to 790.24?
         2               MR. FRIDAY:     Object to form.
         3               THE WITNESS:     No.
         4    BY MR. ROSENWALD:
         5         Q.    When you were on the pier fishing on
         6    the day that you interacted with the police,
         7    where on the pier were you located?
         8         A.    I was next to the -- the little
         9    awning.    I guess there's only one awning out
        10    there.    And we were mostly underneath that
        11    where the -- the bench is.        And I was, I'm
        12    going to say, the further -- I was the first
        13    person west as -- if they're coming up the
        14    walkway, I was the furthest west away from --
        15    I was closest to the entrance of that
        16    boardwalk or that -- the coming up onto the
        17    pier.
        18         Q.    And you say there's only one awning
        19    on the pier.
        20         A.    I believe so, yes.
        21         Q.    If the -- if you could just describe
        22    the pier in length, like how long is the pier?
        23         A.    Probably close to maybe two to 300
        24    yards.
        25         Q.    And where in relation, in yards from


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         1    the beginning to the end, were you?
         2         A.    We were probably about 150 to 200
         3    yards.    We were -- we weren't all the way at
         4    the end but we were more than -- we were about
         5    halfway onto that pier underneath that awning.
         6               MR. ROSENWALD:      I don't have anything
         7         further.
         8                    REDIRECT EXAMINATION
         9    BY MR. SWITKES:
        10         Q.    Were you under the awning during the
        11    time you expended on the beach?
        12         A.    At one point we were underneath the
        13    awning as I was gearing up my line to start
        14    fishing I was underneath the awning.
        15    Periodically we would just, like, you know,
        16    within the twenty minutes or so as we were
        17    waiting for law enforcement, because we knew
        18    they were coming, we may have stepped
        19    underneath it, but we were -- most of the time
        20    we were up against the railing.
        21         Q.    So you weren't in the shade?
        22         A.    We were a little bit -- we'd hop back
        23    and forth because it was hot that day.
        24               We would -- if we got hot we would
        25    kind of sit under the awning while our fishing


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         1    poles were waiting to get bit.
         2         Q.    After the police arrived were you
         3    under the awning?
         4         A.    I was not under the awning.
         5         Q.    Okay.    Mr. City Attorney asked you a
         6    question about drinking beer and are you an
         7    alcoholic, you said, I don't believe I'm a
         8    alcoholic.
         9         A.    I like -- I drink beer.
        10         Q.    Well, I understand that, but there's
        11    a very big difference between being an
        12    alcoholic and drinking beer.         How much beer do
        13    you drink on an average day?
        14               MR. FRIDAY:     Object to form.      Do not
        15         answer that.
        16               MR. SWITKES:     You got to be kidding
        17         me, Counsel.     You're instructing him not
        18         to answer under what theory?
        19               MR. FRIDAY:     Unless there is some
        20         suggestion that he is an alcoholic --
        21               MR. SWITKES:     There is a suggestion
        22         on the record between the questions.
        23         You're going to really instruct him not to
        24         answer that question?
        25               MR. FRIDAY:     I believe the statute


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         1         actually has at least one definition where
         2         there's a presumption of alcoholism under
         3         the statute.
         4                MR. SWITKES:    Counsel, are you going
         5         to cite a privilege that there is not to
         6         answer that question, because I'm aware of
         7         some privileges but not one pertaining to
         8         that question.
         9                MR. FRIDAY:    I'm going to object to
        10         the form and I'll allow him to answer.
        11                MR. SWITKES:    Oh, that's --
        12                THE WITNESS:    Restate the question,
        13         please.
        14    BY MR. SWITKES:
        15         Q.     How much beer do you drink on a daily
        16    basis?
        17         A.     Between four and five, six beers,
        18    four to six beers a day.
        19         Q.     Every day.
        20         A.     Not every day but in general most of
        21    the time.      If I do drink beer it's four to six
        22    beers a day or in that -- for that day or
        23    whatever.
        24         Q.     Have you ever been treated for
        25    alcohol intoxication?


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         1         A.     No, never.
         2         Q.     Have you been arrested for DUI?
         3         A.     No.
         4         Q.     Ever had any incidents relating to
         5    alcohol where you were drunk and did something
         6    you were ashamed of?
         7         A.     Never ashamed of, but --
         8         Q.     Or embarrassed about.
         9         A.     Never.     I had the incident, like I --
        10    I was telling you, where I was almost hit by a
        11    taxi driver, he attacked me, I defended
        12    myself, but I ended up going to jail because I
        13    had been drinking that day.
        14         Q.     Had been drinking or were drunk?
        15         A.     I was -- I was -- I was probably --
        16    they didn't breathalyze me so I can't say if I
        17    was legally drunk, but I had been drinking.
        18         Q.     How many beers did you consume, to
        19    the best of your recollection?
        20         A.     Right around the same amount, four to
        21    six beers.     I was hanging out with my friends
        22    at a bar.
        23         Q.     And do you -- how tall are you?
        24         A.     Six-one.
        25         Q.     How much do you weigh?


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         1         A.    About -- about 158 pounds.
         2         Q.    And you've been that weight
         3    approximately in your adult life?
         4         A.    For most of it.      It goes up and down.
         5    I gain ten pounds, 15 pounds, lose 10 pounds
         6    here and there.      It goes up and down.
         7         Q.    And you've never been treated for
         8    alcoholism?
         9         A.    Never.
        10         Q.    What's the longest time you've gone
        11    through without drinking alcohol?
        12         A.    A -- a week.
        13         Q.    Did you consume any water while you
        14    were on the pier?
        15         A.    I did ask for water and was denied.
        16         Q.    So you didn't have any water on the
        17    time --
        18         A.    We had water in the cooler but we --
        19    I asked for it and nobody wanted to give us a
        20    bottle of water.
        21         Q.    So in answer to my question --
        22         A.    No.
        23         Q.    -- you didn't have any water while
        24    you were on the pier?
        25         A.    No, I was not -- I asked for water


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         1    and was not given it.
         2         Q.    Did you have any water before the
         3    officers arrived?
         4         A.    Yes, I did.
         5         Q.    How much water did you consume?
         6         A.    I had a -- I don't know how many
         7    ounces that is, like a bottle of water like
         8    that, 16 to 20 ounces.
         9         Q.    Okay.    What did you eat that day?
        10         A.    I had a Pop-Tart before I left when I
        11    woke up.    That was my breakfast.
        12               MR. SWITKES:     Okay.    I have no
        13         further questions.
        14               Read or waive?
        15                    RECROSS EXAMINATION
        16    BY MR. ROSENWALD:
        17         Q.    I have a few.
        18               Have you ever been to an AA meeting?
        19         A.    Never.
        20         Q.    Have you ever been to an NA meeting?
        21         A.    Never.
        22         Q.    Were you, as part of your drug
        23    arrests, ever placed into a drug court program
        24    or a rehabilitation program as a result of the
        25    diversion programs that you said you entered?


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         1         A.    The one when I was 18, no, it was
         2    just court appointed where you go -- you see a
         3    -- what do they -- what do they call that?
         4         Q.    A counselor?
         5         A.    Not a counselor.      Your -- he's your
         6    officer while -- not on parole but -- oh, your
         7    probation officer.
         8         Q.    Right.
         9         A.    That's the only -- I had a probation
        10    officer and one of the other marijuana things
        11    they sent you to a -- it was a one-day class
        12    and it was like wrapped into between anger
        13    management and drug counseling type stuff, but
        14    it wasn't like a drug -- like it wasn't like
        15    an NA meeting type of thing.         It was more of
        16    like sit down, this is how you might be able
        17    to control this, and it -- it was mixed
        18    between anger and drug-related stuff.
        19         Q.    And that was a one-day course?
        20         A.    That was a one-day -- I believe it
        21    was a one-day or two-day course, at most.
        22         Q.    How long did the days last?
        23         A.    They were -- I believe they were six
        24    hours.
        25         Q.    And I thought you had said that you


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         1    were put into diversion both times you were
         2    arrested for drugs, did I misunderstand?
         3         A.    No, the first time -- the first one,
         4    the one that I went through the -- it was
         5    pretrial intervention, that one was -- I did
         6    that by itself.
         7               And then the other ones, it was two
         8    other separate marijuana charges, and both of
         9    them were just, you know, I went and pled no
        10    contest, court costs.       But the first time -- I
        11    think it was the first marijuana charge, they
        12    sent me to that class and I still paid court
        13    cost and things of that nature.
        14         Q.    So it was just the first one that you
        15    went into diversion --
        16         A.    Correct.
        17         Q.    -- and then the next two you just
        18    pled no contest?
        19         A.    Yes.
        20               MR. ROSENWALD:      Got it.    Okay.
        21               I don't have anything further.
        22               MR. SWITKES:     Nothing further.
        23               MR. FRIDAY:     We read.
        24               THE VIDEOGRAPHER:      Okay.
        25               Off the record at 2:14.


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         1                              CERTIFICATE
         2    STATE OF FLORIDA:
                         : SS.
         3    COUNTY OF BROWARD:
         4          I, SONNIA MARTINEZ, COURT REPORTER AND
              NOTARY PUBLIC, IN AND FOR THE STATE OF FLORIDA
         5    AT LARGE, DO HEREBY CERTIFY THAT MICHAEL
              TAYLOR WAS BY ME FIRST DULY SWORN TO TESTIFY
         6    THE WHOLE TRUTH; THAT I WAS AUTHORIZED TO AND
              DID REPORT SAID DEPOSITION IN STENOTYPE; THAT
         7    A FOREGOING PAGES, NUMBERED FROM 1 TO 243,
              INCLUSIVE, ARE A TRUE AND CORRECT TRANSCRIPT
         8    OF MY SHORTHAND NOTES OF SAID DEPOSITION.
         9             I FURTHER CERTIFY THAT SAID
              DEPOSITION WAS TAKEN AT THE TIME AND PLACE
        10    HEREINABOVE SET FORTH AND THAT THE TAKING OF
              SAID DEPOSITION WAS COMMENCED AND COMPLETED AS
        11    HEREINABOVE SET OUT.
        12             I FURTHER CERTIFY THAT I AM NOT AN
              ATTORNEY OR COUNSEL OF ANY OF THE PARTIES, NOR
        13    AM I A RELATIVE OR EMPLOYEE OF ANY ATTORNEY OR
              COUNSEL OF ANY PARTY CONNECTED WITH THE
        14    ACTION, NOR AM I FINANCIALLY INTERESTED IN THE
              ACTION.
        15
                       THE FOREGOING CERTIFICATION OF THIS
        16    TRANSCRIPT DOES NOT APPLY TO ANY REPRODUCTION
              OF THE SAME BY ANY MEANS UNLESS UNDER THE
        17    DIRECT CONTROL AND/OR DIRECTION OF THE
              CERTIFYING REPORTER.
        18
                       DATED IN MIRAMAR, BROWARD COUNTY,
        19    FLORIDA, THIS 15th DAY OF FEBRUARY, 2020.
        20
        21
        22
              -------------------------
        23    SONNIA MARTINEZ, NOTARY PUBLIC
              STATE OF FLORIDA, AT LARGE.
        24    MY COMMISSION #FF960975
              EXPIRES: 03/10/2020
        25

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         1
         2                         CERTIFICATE
         3
         4    THE STATE OF FLORIDA,
         5    COUNTY OF BROWARD.
         6
         7
         8               I hereby certify that I have read the
         9    foregoing deposition by me given, and that the
        10    statements contained herein are true and
        11    correct to the best of my knowledge and
        12    belief, with the exception of any corrections
        13    or notations made on the errata sheet, if one
        14    was executed.
        15
        16               Dated this _____ day of ___, 2020.
        17
        18
        19
        20
        21
        22                          __________________________
        23                          (Deponent's name)
        24
        25


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